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                           UNITED STATES BANKRUPTCY COURT

                           FOR THE DISTRICT OF PENNSYLVANIA

                                           ::::::::::
         IN RE:                            : Case No. 23-10764
                                           :           23-10763
         STREAM TV NETWORKS, INC.   CH: 11 :
                                           : Philadelphia, Pennsylvania
         A) Emergency Motion For Entry Of : April 14, 2023
         An Order Enforcing The Automatic : 12:42 p.m.
         Stay And For Sanctions For        :
         Willful Stay Violation Filed By   :
         Stream Tv Networks, Inc.          :
         Represented By Rafael X.          :
         Zahralddin                        :
                                           :
         . . . . . . . . . . . . . . . . .

                     BEFORE THE HONORABLE MAGDELINE D. COLEMAN
                          UNITED STATES BANKRUPTCY JUDGE

        APPEARANCES:

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    1                                 APRIL 14, 2023

    2               THE COURT:    All right.          So this is the matter of

    3   Stream TV Networks and Technovative Media, Inc.                  There are two

    4   matters presently scheduled before the Court today.                  One is the

    5   Debtor's emergency motion for issuing an order enforcing the

    6   stay for other turnover and sanctions.                   And there is an

    7   emergency motion to dismiss the Hawk Investment Holdings, to

    8   dismiss this debt as paid or convert, or in the alternative, to

    9   appoint a Chapter 11 Trustee.

   10               So let's start first with entering appearance for the

   11   attorneys who are going to participate in the two matters.

   12   Let's start first with the attorneys who are going to

   13   participate in the Debtor's motion with respect to the stay and

   14   turnover.    Counsel for the Debtor?

   15               MR. ALEXANDER:      Good morning, Your Honor.            Or good

   16   afternoon, now.    Vincent Alexander, A-L-E-X-A-N-D-E-R.                   And

   17   also Rafael Zahralddin, it's Z-A-H-R-A-L-D-D-I-N, of Lewis

   18   Brisbois Bisgaard & Smith on behalf of the Debtors.                   And that's

   19   the counsels who will be speaking today.

   20               THE COURT:    Okay.      Counsel for any Respondent?

   21               MR. MAZZA:    Good afternoon, Your Honor.              This is Jim

   22   Mazza, M-A-Z-Z-A, from Skadden Arps.                  I represent SeeCubic.

   23               THE COURT:    Okay.      Is there anyone else who is

   24   participating in the argument?

   25               MR. LARKIN:    Good afternoon, Your Honor --


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    1               THE COURT:    Hello?

    2               MR. LARKIN:    Good afternoon, Your Honor.              This is Joe

    3   Larkin, also from Skadden Arps.              My partner, Mr. Mazza, will be

    4   handling the argument for SeeCubic.                 I just wanted to let Your

    5   Honor know that Mr. Mazza's pro hac motion was filed, and it's

    6   at docket 108 through 112.

    7               THE COURT:    And when was that filed, counsel?

    8               MR. LARKIN:    Your Honor, it was filed yesterday.

    9               THE COURT:    Oh, okay.          And do you think I need --

   10   well, I'll figure it out.         Not where I want to be.           Okay.      I

   11   want to be there.      Okay.    So it was filed at 108 through 112,

   12   you said?

   13               MR. LARKIN:    That's correct.               Mr. Mazza --

   14               THE COURT:    I see --

   15               MR. LARKIN:    Mr. Mazza --

   16               THE COURT:    I see a motion -- uh-huh?

   17               MR. LARKIN:    Mr. Mazza's pro hac motion is at docket

   18   112, Your Honor.

   19               THE COURT:    Okay.      So you filed several pro hac

   20   motions yesterday, starting at 108 through 112.                  And Mr.

   21   Mazza's is actually number 112; is that correct?

   22               MR. LARKIN:    That's correct, Your Honor.              That's

   23   correct.    Correct.

   24               THE COURT:    All right.          And counsel, do you believe I

   25   need to enter an order before Mr. Mazza leads the arguments


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    1   today?

    2              MR. LARKIN:     I do not, Your Honor.                 I was just

    3   letting you know that we filed it.

    4              THE COURT:     Okay.      Okay.        Well, let me get the

    5   appearance of everyone else and see if anybody else thinks to

    6   the contrary.

    7              Who else is here with respect to the motion

    8   for -- all the Debtor's motion speaking of order for violation

    9   of the stay and turnover?

   10              MR. CALLAHAN:      Your Honor, Kevin Callahan and John

   11   Schanne on behalf of the United States Trustees.

   12              THE COURT:     Okay.

   13              MR. CALLAHAN:      We're actually here on both matters.

   14              THE COURT:     Okay.      Trustee.          Anyone else?     Okay.   And

   15   does anybody take any position with respect to whether I need

   16   to sign those pro hac -- Mr. Mazza's motion to appear pro hac

   17   vice before he can appear?

   18              MR. ROTHMAN:     Your Honor, I apologize.                 I was

   19   expecting one of my partners to speak up.                      This is Aaron

   20   Rothman at K&L Gates on behalf of Hawk.                    My partner Steve

   21   Caponi is on the line as well.

   22              THE COURT:     Okay.      I’m sorry, could you state your

   23   name again for the record, sir?

   24              MR. ROTHMAN:     Aaron -- sorry.                Sorry, Your Honor.

   25   Aaron Rothman, R-O-T-H-M-A-N.


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    1              THE COURT:     And who do you represent?                Hawk?

    2              MR. ROTHMAN:     Hawk.        Yep.       And my partner Mr. Caponi

    3   is on --

    4              THE COURT:     And who else is with you?

    5              MR. ROTHMAN:     Steve Caponi and Margaret Westbrook.

    6              THE COURT:     Okay.      Anyone else here on any of these

    7   matters?

    8              We have 35 people, so there are other people just

    9   observing?

   10              MR. ALEXANDER:       Your Honor, this is Vincent

   11   Alexander.     Would you like us to name all counsel even if

   12   they're not going to be speaking today?

   13              THE COURT:     You know what?              I think since we're not

   14   in court, it probably makes sense.                And I will just note that

   15   these are the attorneys who will be arguing with respect to the

   16   motions.     And then, I'm going to put present.                 And then you

   17   could -- people could tell me who else is present. I mean, in

   18   open court, you typically don't do it.                   But it was just because

   19   we're on the telephone, it would be good to know exactly who's

   20   here.

   21              MR. ALEXANDER:       Your Honor, on behalf of the Debtor,

   22   we also have Bennett Fisher, F-I-S-H-E-R.

   23              THE COURT:     And he is?

   24              MR. ALEXANDER:       He's counsel at Lewis Brisbois.

   25              THE COURT:     Counsel, okay.              Okay.    Who else?   Anyone


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    1   else?

    2              MR. ALEXANDER:       Rafael, do we have any other

    3   attorneys?    Do we have any other attorneys on?

    4              MR. ZAHRALDDIN:        Yes, Your Honor.             I believe Karen

    5   Poppel is also on the line.          She's an associate with us here at

    6   Lewis Brisbois Bisgaard & Smith.              And it's P-O-P-P-E-L, Karen

    7   Poppel.

    8              THE COURT:    Okay.       For the Debtor.

    9              MR. ZAHRALDDIN:        I believe that's it for the Debtors,

   10   Your Honor.

   11              MR. ALEXANDER:       For the counsel, at least.

   12              THE COURT:    Okay.       Anyone else?

   13              MR. ALEXANDER:       Your Honor, we also have

   14   representatives of the Debtor on.

   15              THE COURT:    Wait a minute.               Let's --

   16              MR. ALEXANDER:       Would you like them, as well?

   17              THE COURT:    Yes.

   18              MR. ALEXANDER:       We have Mathu Rajan, it's R-A-J-A-N.

   19   He's the CEO of the Debtors.

   20              THE COURT:    Okay.       Anybody else representing the

   21   Debtor?   Is there counsel and --

   22              MR. ZAHRALDDIN:        Yes, Your Honor.

   23              MR. ALEXANDER:       We do.

   24              MR. ZAHRALDDIN:        Dan --

   25              MR. ALEXANDER:       Dan --


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    1               MR. ZAHRALDDIN:        Dan Rink is also in-house counsel

    2   for the Debtor.     He is on the line.               And that's R-I-N-K.    And

    3   Mr. Bud Robertson, also an employee of the Debtor, is on the

    4   line.     And I believe -- I don't recognize this name, so I'll

    5   have to confirm.       But someone identified themselves as Sarah

    6   Brewer (phonetic), perhaps, and indicated that they were an

    7   employee of the Debtor.        But they can confirm their status.

    8               MS. BREWER:     Yes, that's correct.

    9               MR. ZAHRALDDIN:        Okay.

   10               THE COURT:    Apparently, I was disconnected.             So where

   11   I stopped at was I was asking was there anyone other than Mr.

   12   Mazza and Mr. Larkin here for SeeCubic?

   13               MR. ZAHRALDDIN:        Okay.       And Your Honor, I think

   14   we -- did you hear us provide the names of the employees and

   15   representatives from the Debtor that were here?                 Or were you

   16   off the line?

   17               THE COURT:    Yes.

   18               MR. ZAHRALDDIN:        Okay.

   19               THE COURT:    No, I heard Mr. Fisher and Ms. Poppel and

   20   Mr. Rajan.    Hello?

   21               Counsel, I also didn't give my typical instructions,

   22   which are could you please keep your telephone on mute until

   23   you speak, and that when you do speak, that you first state

   24   your name for the record.          I would ask that you not interrupt

   25   anyone.    And everyone will get an opportunity to speak.                  And I


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    1   would also ask that you keep your telephone on mute until you

    2   do speak.

    3               Okay.   So I did hear the representatives of the

    4   Debtor.    And I was asking were there anyone else other than Mr.

    5   Mazza and Mr. Larkin for SeeCubic?

    6               MS. BRUMME:    Yes, Your Honor.                This is Marley Ann

    7   Brumme, B-R-U-M-M-E.      And also with me is Eben Colby.

    8               THE COURT:    And your relationship to SeeCubic?

    9               MS. BRUMME:    We are both -- yes, we are both counsel

   10   at Skadden.

   11               THE COURT:    Okay.      Anyone else here?            Okay.    Mr.

   12   Callahan, I'm assuming it's just you and Mr. Schanne, and

   13   there's no one else for Hawk except Mr. Rothman, Caponi, and

   14   Ms. Westbrook.      Anyone else?       Hello?         Oh, come on.

   15               MR. ALEXANDER:      We can hear you, Your Honor.

   16               MR. MAZZA:    We hear you, Your Honor.

   17               THE COURT:    Oh, good.          I'm like, come on, don't tell

   18   me I'm going to just keep getting disconnected.

   19               All right.    So there's no one else for anyone

   20   appearing who has not been named in connection with these two

   21   matters?

   22               MR. ALEXANDER:      Your Honor, there's two more.

   23               MR. RILEY:    Judge, Leo Riley, an employee of

   24   SeeCubic, Inc.

   25               THE COURT:    I'm sorry, who else?


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    1              MR. RILEY:     Leo Riley, an employee of SeeCubic, Inc.

    2              THE COURT:     Okay.      Anyone else?

    3              MR. MAZZA:     Yes, Your Honor.

    4              MR. ALEXANDER:       There's also two employees of the

    5   Debtor.

    6              THE COURT:     Okay.      Wait a minute.

    7              MR. ALEXANDER:       Suby Joseph.

    8              THE COURT:     For the Debtor?

    9              MR. ALEXANDER:       Yeah.        Two more employees, Your

   10   Honor.    I apologize.    Suby Joseph.            It's S-U-B-Y, J-O-S-E-P-H.

   11   And Amanda Gonzalez, A-M-A-N-D-A, G-O-N-Z-A-L-E-Z.

   12              THE COURT:     Okay.      Anyone else?               Anyone else?

   13   Because I heard -- the last I heard other than -- was for --

   14              MR. DEMARCO:     Yes, Your Honor.                   I apologize.    I've

   15   been trying to wait my turn to introduce myself.                       My name is

   16   Andrew DeMarco.    I am counsel for Creditor Rembrandt 3D.

   17   That's D-E-M-A-R-C-O.      I also have with me a fact witness,

   18   Chris Michaelson (phonetic), the president and CEO, Steven

   19   Blumenthal (phonetic), and the in-house counsel Neil Wallace

   20   (phonetic), for Rembrandt.          They are also on the line.

   21              THE COURT:     Am I the only one who's getting

   22   disconnected, John?

   23              COURT REPORTER:        Yes, apparently.

   24              THE COURT:     Apparently.           So now I have computer

   25   issues and phone issues today.             Great.        If we get disconnected


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    1   again, I'm going to try to move to a different office and see

    2   if the works.       Hopefully, I won't get disconnected again.

    3               Okay.    I think where we left off was that we had the

    4   appearance of all counsel and all persons who are present in

    5   connection with the two matters.

    6               Okay.     And so the first -- I think, have the parties

    7   discussed exactly what it is or how they would like to proceed

    8   today?     I know there have been numerous telephone calls to my

    9   JA and my courtroom deputy regarding amending orders or

   10   whatever it is the parties were looking for.                    So let me lay

   11   this out before I have any questions.

   12               Typically, on an emergency motion, I'm going to hear

   13   arguments, but I am not going to take evidence.                   I typically

   14   will hear the arguments and come to some sort of -- figure out

   15   where there are -- what the actual disputes are.                    And then, if

   16   we need an evidentiary hearing, then I schedule the evidentiary

   17   hearing.

   18               So I'm not sure if the parties were unclear whether

   19   there was going to be an evidentiary hearing today.                   That is

   20   not going to happen.       Because clearly, I would need more than

   21   this afternoon to hear evidence in connection with just one of

   22   these motions.

   23               So with respect to the motion for relief, we can

   24   start with that and then we can have some discussion and figure

   25   out exactly where we're going with respect to, one, whether we


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    1   need an evidentiary hearing.           Based on my review of those

    2   pleadings, I am going to assume that we do.                    And two, what were

    3   the parties expecting in terms of getting that evidentiary

    4   hearing.   Okay.   We're going to start with the motion for the

    5   alleged violation of the stay and for turnover.

    6              Counsel for Debtor?

    7              MR. ALEXANDER:       Good afternoon again, Your Honor.

    8   Vincent Alexander on behalf of the Debtors.

    9              THE COURT:    Okay.

   10              MR. ALEXANDER:       Your Honor, may I proceed?

   11              THE COURT:    Yes, you may.

   12              MR. ALEXANDER:       Thank you, Your Honor.              The Debtors

   13   filed these cases on March 15th.              So we haven't even been in

   14   these cases a full month yet.            And immediately upon the filing

   15   of these cases, the Debtors were met with resistance from

   16   various parties, including Hawk Investment Holdings, SLS

   17   Holdings, SeeCubic, Inc., and various of their representatives,

   18   including Shad Stastney, regarding the Debtors' ability to

   19   regain possession of their property of the estate and also

   20   operate in these bankruptcy cases.

   21              And so we filed an emergency motion for violations of

   22   the automatic stay.     Initially, with regards to one specific

   23   piece of estate property, and that's an optical bonding

   24   machine.   Before I get into that, though, I think it makes

   25   sense, Your Honor, since you really haven't had a full hearing,


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    1   to kind of tell you what the Debtor does so you can see why

    2   this bonding equipment is important to the Debtor's operations.

    3              Stream was founded in -- would that be helpful to

    4   Your Honor?

    5              THE COURT:    Yes.       And counsel, it would also be

    6   helpful if you'd give me some background because we have been

    7   trying to, you know, based on the charts and the various

    8   information in the motions, piece together who the various

    9   entities are, their relationship.               Because I didn't get that at

   10   the first hearing.

   11              So if you, in the process of telling me the

   12   information about Stream, to the extent relevant, how the

   13   various players are involved in this matter.                   Okay?

   14              MR. ALEXANDER:       Absolutely, Your Honor.            I can do

   15   that as we go through the process.

   16              THE COURT:    Okay.

   17              MR. ALEXANDER:       But Stream -- and as soon as I touch

   18   on one of the entities, I'll tell you who they are and --

   19              THE COURT:    Okay.

   20              MR. ALEXANDER:       -- if you have any follow-up, I'd be

   21   glad to add additional color and background as necessary.

   22              THE COURT:    Okay.       Okay.

   23              MR. ALEXANDER:       But Stream was founded in 2009 to

   24   develop technology allowing consumers to view 3D content

   25   without the need to wear glasses or goggles, right?                    So


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    1   typically, when you see people utilizing 3D technology, they

    2   have some type of viewer on, whether it's basic glasses or more

    3   advanced type of goggles.

    4              What was done, what the Debtors were doing, is they

    5   trademarked what they called their Ultra-D technology.                    And

    6   this is a proprietary combination of hardware and software that

    7   creates a, you know, as noted by the Debtor's principal, Mr.

    8   Rajan, in various declarations, it creates a natural,

    9   comfortable, and immersive glasses-free 3D viewing experience.

   10              And so their goal --

   11              THE COURT:    And what's it called again, counsel?

   12              MR. ALEXANDER:       Ultra-D.

   13              THE COURT:    What's the trademark?                 Ultra?

   14              MR. ALEXANDER:       Hyphen, D.            Capital D.

   15              THE COURT:    Okay.       Okay.

   16              MR. ALEXANDER:       And so as a technology itself, the

   17   Ultra-D can be applied to panels, you know, of nearly any type

   18   and size, and it's compatible with touchscreen features as

   19   well.   So ultimately, what this means is that consumers are

   20   going to be able to experience this technology on any device,

   21   whether it's a television, a tablet, a smartphone, portable

   22   game player, a laptop, you know, computers, you name it.

   23              To the extent there's a panel or a type of screen,

   24   you could apply this technology to it.                   And as of the end of

   25   last year, the Debtor and various of its subsidiaries have been


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    1   granted 128 patents in 13 patent families.

    2              So as part of this process of taking this Ultra-D

    3   technology and applying it to these panels, the Debtors

    4   commissioned to manufacture a specialized optical bonding

    5   equipment which would manufacture video panels utilizing the

    6   Ultra-D technology.     If you want to think about this, what the

    7   machine does is it glues a 3D lens to a video panel.                        And you

    8   know, this particular -- and that is the large machine that the

    9   Debtors purchased and had built customized for them to bring

   10   this technology to various panels.

   11              Currently, this particular machine, this bonding

   12   equipment is located in a warehouse in China.                      There's no

   13   dispute that the Debtor is the entity that bought this

   14   equipment and there should be no dispute that the Debtor owns

   15   this equipment and has title to this equipment.

   16              But this equipment, in its current form, it needs to

   17   be reassembled.     It's currently in parts.                   But it was

   18   previously put together and it was calibrated and optimized so

   19   that the Debtor was achieving a high-yield rate of production

   20   of 65-inch video panels.        And there were some of these panels

   21   that were manufactured and, you know, were sold onto the market

   22   in terms of that.

   23              This machine is integral to the Debtor's ability to

   24   operate, to be successful in this Chapter 11 case, and various

   25   parties have been preventing the Debtor from obtaining this


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    1   equipment.    When we first filed the case, the Debtor had been

    2   in year-long litigation with various entities that loaned the

    3   Debtor money.    One of those entities was SLS Holdings and the

    4   other was Hawk Investment Holdings.

    5              You know, you'll hear lots of, you know, argument

    6   about what the basis of that litigation was.                      But essentially,

    7   the litigation started when there were alleged defaults under

    8   various loan documents with the parties.                       And then, the SLS and

    9   Hawk entities ultimately entered into an agreement, which is

   10   called the omnibus agreement, which stripped Stream of all of

   11   its assets.     Essentially, it transferred it to a new entity,

   12   which is called SeeCubic, Inc.

   13              And you're going to hear multiple SeeCubic entities.

   14   But SeeCubic, Inc., is an entity that was created by SLS and

   15   Hawk to take the Debtor's assets.               There was litigation over

   16   the validity of that agreement.              And ultimately, in the

   17   Delaware Chancery Court, the court ruled -- it entered a

   18   preliminary injunction, you know, holding that that agreement

   19   was effective, even though Stream argued that it was

   20   ineffective because it required the vote of its Class B

   21   shareholders before it could be effective, which it did not

   22   get.   And Class B is for the most part controlled by Mr. Rajan.

   23              However, they proceeded to transfer the assets

   24   pursuant to that agreement.          There was a bankruptcy that the

   25   Debtor filed, Stream, originally in Delaware.                      And that was


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    1   ultimately dismissed.      And one of the primary reasons if not

    2   the sole reason it was dismissed is because the bankruptcy

    3   court held that the Chancery --

    4              THE COURT:    Hello?        Turn your phone on mute, whoever

    5   is talking.    Hello?   Turn your phone down.                   Do we know who's

    6   talking, that we can mute them?

    7              COURT REPORTER:        I just muted him.

    8              THE COURT:    Thank you.

    9              MR. ALEXANDER:       The bankruptcy court ultimately

   10   upheld -- or dismissed it primarily because it said that

   11   agreement was valid and there was a transfer of the assets and

   12   the Debtors didn't have any assets.                 But to the extent that

   13   issue got resolved, then maybe another bankruptcy would be

   14   appropriate.

   15              Fast forward a couple years.                  That makes its way

   16   through the appellate courts in Delaware.                      And ultimately, the

   17   Delaware Supreme Court, in a 5-0 opinion, determined that that

   18   preliminary injunction and the final injunction and declaratory

   19   judgment with respect to that omnibus agreement should not have

   20   been entered because the Class B shareholder never voted to

   21   approve that, and therefore, it violated Stream's charter in

   22   order to authorize the transfer of the Debtor's assets.

   23              So that went back down.              It was supposed to go back

   24   down to the Chancery Court with all of the Debtor's assets

   25   going back to Stream from this entity SeeCubic that was


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    1   created.     Because SeeCubic, as soon as they got that ruling

    2   from the Chancery Court, they went and started taking all of

    3   Stream's assets under, you know, the protection -- supposed

    4   protection of this order and this agreement.

    5              But that agreement ended up being void.                    So they were

    6   required to return all of the assets back to the Debtor.                        And

    7   they never did that.     You know, to this day, we're still

    8   missing assets that were taken that were not returned.

    9              With respect to the bonding equipment itself, what

   10   they ultimately did is they tried to transfer it to other

   11   entities to keep it out of the Debtor's possession.                      Right?

   12   They recognized that it was owned by the Debtor, but they made

   13   it seem as if they put it in another entity's hands because

   14   they were afraid of what might happen to it.

   15              But that's not the issue.                The issue is who should

   16   have possession, you know, of this bonding equipment.                      And the

   17   Debtor is the entity that should have possession of the bonding

   18   equipment.     It's integral to its reorganization.                   It's one of

   19   the key pieces of technology that allows the Debtor to produce

   20   these screens or these panels.

   21              And so we filed it on an emergency basis because once

   22   the Debtor gets this equipment, you know, there's going to be a

   23   ramp up period where they need to reassemble the equipment and

   24   they need to get the line up and running.                      And then, they can

   25   start fulfilling orders for customers.


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    1              Since they've been in this case, the Debtors, they've

    2   already had deals with various customers in which they have

    3   purchase orders for an excess of $100 million.                 And so if the

    4   Debtor can get through this bankruptcy case, it's going to need

    5   this optical bonding equipment in order to do that.

    6              And once that happens, you know, what will take place

    7   is the Debtor will be able to satisfy any claims that these

    8   Creditors had or have.      You know, there's going to be disputes

    9   as to the amounts of the claims.              And then specific -- and also

   10   disputes with respect to whether any portion or all of the Hawk

   11   Investment Holding claim, you know, was converted to equity.

   12              But those issues don't need to be resolved right now

   13   and those claims will be dealt with as part of the claims

   14   process and in the Debtor's plan.               But in order to get to that

   15   point, the Debtor needs to get started because there's going to

   16   be an approximately 60-day period for it to reassemble this

   17   equipment and get everything up and running.

   18              During that time period, it will be able to send

   19   some, I guess, initial product to some of its ultimate end

   20   users.   But in order to get the mass production, you know, it's

   21   going to take, you know, that full 60 to 90 days to do.                So

   22   every day the Debtor does not have the equipment, it pushes us

   23   further behind in terms of being able to fulfill the

   24   obligations in this bankruptcy case.

   25              And so we've seen arguments from the other side that


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    1   this isn't an emergency because the Debtor has not had its

    2   equipment.     But that misses the point.                The Debtor needs the

    3   equipment and must have the equipment in order to be successful

    4   in the case.     There's no reason for the Debtor not to have this

    5   equipment and it should have been turned over immediately upon

    6   the bankruptcy filing.

    7              And in fact, in one of the actions that was pending,

    8   there was a receiver pendent lite that was appointed over

    9   Technovative.     His name was Mr. Ian Liston.                 And upon the

   10   filing, Debtor's counsel reached out to Mr. Liston.                    And he

   11   said, well, here's the location of the bonding equipment.                       You

   12   know, you guys are in control now, you know, go get it.

   13              But when we attempted to get it, and as we outline in

   14   our motion, the landlord indicated that various parties,

   15   through counsel, said that the equipment couldn't be released

   16   for the Debtor.     And when we dug a little deeper to figure out,

   17   you know, who was making these claims and preventing the

   18   release, we find out that the lease of the building is in the

   19   name of SeeCubic, B.V., which is a subsidiary of the Debtors.

   20   And the lease was executed by a Patrick Thune.                    But Mr. Thune,

   21   in collaboration with Mr. Shad Stastney, who's a representative

   22   of SeeCubic, have indicated that they're not going to allow

   23   Debtors to get the bonding equipment.

   24              And so there's no basis at all for them to not allow

   25   the Debtors access to the bonding equipment.                    You know, once


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    1   the Debtors have the bonding equipment, they're going to set it

    2   up in a facility, start doing the test runs, and get it fully

    3   operational so that they can go ahead and move forward with the

    4   production.

    5              You know, the Debtors, based on their discussions

    6   with various other end users, have been told that once they

    7   actually get possession of the bonding equipment, there's going

    8   to be more orders to come.          So you have these Creditors on the

    9   one hand who are fighting the Debtors from getting their

   10   assets, but the reason they're fighting them is because they

   11   want to keep the assets for themselves and strip the Debtor of

   12   all of its value and leave all of the Creditors and the Debtor

   13   -- other Creditors and the Debtor holding the bag.

   14              But that's not how the bankruptcy process works.             The

   15   Debtors are fiduciaries for all parties, and their goal is to

   16   come up with a plan.     And that's what the Debtors are doing

   17   here, to come up with a plan to treat all Creditor claims.              And

   18   they believe that once they get the equipment, they'll be on

   19   the path to doing that.

   20              You know, we've already filed redacted versions of

   21   certain of the purchase orders showing that this is real and

   22   the Debtor is going to be capable of -- in order for the Debtor

   23   to fulfill those, it needs the bonding equipment.              Okay?

   24              So that is what relates specifically to the bonding

   25   equipment.    And as we dug in deeper to get the bonding


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    1   equipment, Mr. Rajan actually flew over to the Netherlands.

    2   And when you talked about corporate structure and parties, Your

    3   Honor, I'm not sure how detailed you'd like me to get into the

    4   various, I guess the corporate structure.

    5              But the way it works -- and this is -- I don't know

    6   if you have access to your docket right now.                    But if you look

    7   at docket entry 48-5, that lays out the structure and the

    8   ownership from Stream TV being the parent company, owning 100

    9   percent of the shares of Technovative.                   And then, there's

   10   another entity in between called Ultra-D Ventures, C.V.                      And

   11   then --

   12              THE COURT:    Hold on, counsel.                 Hold on.   I actually

   13   have -- we have our own little chart here that --

   14              MR. ALEXANDER:       Okay.

   15              THE COURT:    -- we've got to make.                 Stream TV is the

   16   Debtor.   And then, Stream owns 100 percent of Technovative; is

   17   that correct?

   18              MR. ALEXANDER:       That is correct.

   19              THE COURT:    And then, Technovative is the 99 percent

   20   general partner of Ultra-D Ventures Curacao.                    Where is that?

   21   Am I pronouncing that right?

   22              MR. ALEXANDER:       Yes, you are.              Correct, Your Honor.

   23              THE COURT:    Well, let me -- okay.                 Is that correct?

   24              MR. ALEXANDER:       Yes, Your Honor.

   25              THE COURT:    And then, Ultra-D Ventures is 99


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    1   percent -- I don't know if they're a general partner or owner

    2   of Ultra-D Cooperative in the Netherlands.                     Is that correct?

    3              MR. ALEXANDER:       That's correct, Your Honor.               And

    4   then, if you drop down one more, you get to the SeeCubic, B.V.

    5   entity.

    6              THE COURT:    Right.        Which is 100 percent owned by the

    7   Ultra-D Cooperative, or am I wrong about that?

    8              MR. ALEXANDER:       You are right about that, Your Honor.

    9              THE COURT:    Okay.       And then, there's a SeeCubic,

   10   Limited.   That is 100 percent owned by SeeCubic, B.V.?

   11              MR. ALEXANDER:       That's not on the chart I'm looking

   12   at, Your Honor.    And for today's purposes, I don't --

   13              THE COURT:    Well, we made our own chart.                 This is my

   14   chart.

   15              MR. ALEXANDER:       Oh, okay.

   16              THE COURT:    This is my chart.

   17              MR. ALEXANDER:       Understood.

   18              THE COURT:    So let's stop with your chart.

   19              MR. ALEXANDER:       Okay.

   20              THE COURT:    We'll stop at SeeCubic, 100 percent of

   21   SeeCubic, B.V., is owned by Ultra-D Cooperative.                     I want to

   22   stop there because we were trying to figure -- believe it or

   23   not, I do read these things.           Trying to figure out who's what.

   24              Okay.   And then, we have U.S. Debtors, three Dutch

   25   entities, and then we have SeeCubic entities.                    Okay.   All


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    1   right.   And we got them color-coded, which, you know, didn't

    2   come out too well.      Okay.

    3              MR. ALEXANDER:       Yeah.

    4              THE COURT:    So --

    5              MR. ALEXANDER:       And so just so you know, the --

    6              THE COURT:    I need for the --

    7              MR. ALEXANDER:       The limited entity is not related to

    8   the Debtor that you just mentioned.

    9              THE COURT:    Which one is not related to the Debtor?

   10              MR. ALEXANDER:       You said SeeCubic, Limited.

   11              THE COURT:    Right.        That's not related to the Debtor?

   12              MR. ALEXANDER:       No.

   13              THE COURT:    Okay.        Are you using --

   14              MR. ALEXANDER:       It's my understanding -- it's my

   15   understanding that that's one of Mr. Shad Stastney, whose of

   16   SeeCubic, Inc., that's one of his U.K. entities.

   17              THE COURT:    Okay.        Okay.       And to the extent this is

   18   relevant to the matter before the Court today is what I am

   19   trying to figure out.      I don't need to know all of these

   20   different -- but only with respect -- because what the Debtor,

   21   with respect to the motion to enforce stay and direct turnover,

   22   has at least at some point -- or maybe in the opposition, some

   23   reference to these various entities.                  And I think on page 19 of

   24   the opposition, there was also a chart.                    Am I in the right one?

   25   Let me see.


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    1              There was a chart on page -- yes -- 19 that -- well,

    2   it looks better than my chart.

    3              MR. ALEXANDER:       Which --

    4              THE COURT:    Okay.

    5              MR. ALEXANDER:       Your Honor, could you -- which

    6   opposition?     Because there's been lots of oppositions and

    7   affirmative motions filed.

    8              THE COURT:    This is the Opposition --

    9              MR. ALEXANDER:       What's the docket entry number?

   10              THE COURT:    Yeah.       This is docket entry 105.

   11              MR. ALEXANDER:       Okay.

   12              THE COURT:    Which is SeeCubic's objection to the

   13   Debtor's emergency motion for entry of an order.               And on page

   14   19, there was also a chart that to some extent follows this --

   15   but had more than what at least was on mine.

   16              MR. MAZZA:    Your Honor, I'm sorry to interrupt.             This

   17   is Jim Mazza from Skadden.          And I interrupt because you're

   18   referring to the papers that we filed on behalf of SeeCubic.

   19   So in that, that chart does indicate which entities are, you

   20   know, putative Debtors and then the entities below them, which

   21   are non-Debtors, down to the entities that I believe have been

   22   framed by the putative Debtors as subject to this automatic

   23   stay dispute.     And those are color-coded in green, beginning at

   24   Cooperative.

   25              THE COURT:    Okay.       Well, mine did not color-code.          So


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    1   I have --

    2               MR. MAZZA:    Oh, I apologize.

    3               THE COURT:    No, it's not your fault.               It just didn't.

    4               MR. MAZZA:    Yeah.

    5               THE COURT:    And so there's -- yes.                I think what was

    6   missing on mine are the ones that you had in between the

    7   Technology Holdings Delaware, Media Holdings Delaware, Ultra-D

    8   Ventures C.V. Curacao is on there.                 Ultra-D Cooperative, the

    9   Netherlands is there.       And then, the Stream TV Netherlands is

   10   on there.    And the SeeCubic, B.V., the Netherlands is on your

   11   chart.   I have SeeCubic, Limited, and I also have SeeCubic

   12   India, which is not on yours.

   13               So as I said, we tried to figure this out.                 Not sure

   14   how well we did, but we tried.              So at some point, I just want

   15   the parties to at least tell me how they think they're related.

   16   The Debtors think that their -- the assets are somehow related

   17   to the Debtor.      Obviously, the opposition does not believe that

   18   they're any way related to the Debtor, but I'll hear those

   19   arguments.

   20               Okay.   So Mister -- counsel for Debtor, you can

   21   continue with respect to -- I think we have the corporate

   22   structure, at least what I need to know at the moment just from

   23   an overall basis.       I am assuming that the parties will get into

   24   more detail.    Okay?

   25               MR. ALEXANDER:       Thank you, Your Honor.            So in terms


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    1   of what was discovered after we filed the initial motion, and

    2   as you may recall, I said that there was a, you know, a

    3   receiver in place who, upon the filing of the bankruptcy,

    4   recognized that he was displaced.               And the receiver was

    5   directly controlling, you know, all of these subsidiaries

    6   through the rights of Stream and Technovative.

    7              So upon the filing, you know, all these rights vested

    8   or revested in the Debtor.          And they worked with Mr. Liston,

    9   who was the receiver.      He acknowledged that he was displaced.

   10   He began turning over information and materials regarding, you

   11   know, all of the subsidiaries, including with respect to the

   12   bonding equipment.

   13              And then, in order to continue using these management

   14   rights and operate these subsidiaries that are integral, you

   15   know, to the Debtor's business because they hold the Debtor's

   16   intellectual property, Mr. Rajan flew over to the Netherlands

   17   in order to assess the situation there, you know, from a

   18   financial standpoint, from an employee standpoint, and also

   19   determine what was going on, advise the parties of the

   20   bankruptcy, advise that he was the CEO, which he is.                 And he's

   21   the sole director of those entities.                  And that they needed to

   22   start cooperating with respect to the Debtors being able to

   23   proceed in the bankruptcy case and that Mr. Liston was no

   24   longer involved.

   25              And in fact, Mr. Liston actually sent correspondence


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    1   to SeeCubic, B.V., and Mr. Patrick Thune, who works at

    2   SeeCubic, B.V., you know, advising them that this transition

    3   was taking place.     And so there was no doubt that all of these

    4   parties, you know, had knowledge of the bankruptcy cases and

    5   that there's no dispute of the ownership.

    6              There's never at any point, you know, been any

    7   transfer of the ownership of any of these entities.                    There's

    8   been no foreclosure of stock interests.                    None of these

    9   Creditors have ever taken that step.                  And so they are still

   10   owned by the Debtors.

   11              And so what comes along with that are the rights to

   12   manage and operate these entities.                And so that's what Mr.

   13   Rajan was doing when he went over there, was to assess it, take

   14   control, and also to determine what type of funding was

   15   necessary to keep running these entities and also determine,

   16   you know, whether that lines up what the vision is going

   17   forward in terms of the Debtor's operations.

   18              And what Mister --

   19              THE COURT:    Counsel?

   20              MR. ALEXANDER:       Yes, Judge?

   21              THE COURT:    Counsel?

   22              MR. ALEXANDER:       Sure?

   23              THE COURT:    When you say these entities, specifically

   24   what entities are you referring to?

   25              MR. ALEXANDER:       SeeCubic, B.V. is the specific entity


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    1   that he went over to the Netherlands in terms of the operations

    2   of.     And that's owned by the Stream TV Network and

    3   Technovative, when you follow through the chart.

    4               THE COURT:   If I look at this chart and do a

    5   back -- okay.    There's two different -- your chart doesn't have

    6   the Delaware and the Hawk has Technology Holdings Delaware and

    7   Media Holdings.     And mine just goes straight from -- and I

    8   don't know which one is right, I just made my own chart --

    9   Stream TV to Technovative, Technovative to Ultra-D, and Ultra-D

   10   Ventures to Ultra-D Cooperative, and then Ultra-D Cooperative

   11   to SeeCubic, B.V.     So we're talking about SeeCubic, B.V. is the

   12   one in the Netherlands that you went over for?                      Mr. Rajan went

   13   over for?

   14               MR. ALEXANDER:      Yeah.        That's correct, Your Honor.

   15   Okay.     And so that entity.       And what they were met with was Mr.

   16   Patrick Thune advising them that Mr. Stastney -- remember Mr.

   17   Stastney is affiliated with SeeCubic, Inc., and those are

   18   Creditors, you know, of --

   19               THE COURT:   Now, wait a minute.                   Could you spell that

   20   for me?

   21               MR. ALEXANDER:      Stastney is S-T-A-S-T-N-E-Y.

   22               THE COURT:   I'm sorry, say that again.

   23               MR. ALEXANDER:      His first name is Shadron.                I believe

   24   I said that correctly.       It's S-H-A-D-R-O-N.                 The last name is

   25   Stastney, S-T-A-S-T-N-E-Y.


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    1              THE COURT:    And he is?           And who is he again?

    2              MR. ALEXANDER:       He's a principal at SeeCubic, Inc.

    3   And also I believe affiliated with Hawk Investment Holdings.

    4              THE COURT:    Okay.       So I think you were going --

    5              MR. ALEXANDER:       I'm sorry.            He's affiliated with SLS.

    6   I apologize.

    7              THE COURT:    With SLS.

    8              MR. ALEXANDER:       SLS Holdings.

    9              THE COURT:    Wait.       S?

   10              MR. ALEXANDER:       L-S, Holdings.

   11              THE COURT:    Okay.

   12              MR. ALEXANDER:       And those are parties, if you recall,

   13   that said the Debtor had financing arrangements with Hawk

   14   Investment Holdings and also SLS Holdings, I believe it's VI,

   15   LLC.   None of those entities, you know, loaned money to any of

   16   the subsidiary entities.        It was solely Stream TV, the Debtor.

   17              THE COURT:    Okay.

   18              MR. ALEXANDER:       And what Mr. Thune was telling Mr.

   19   Rajan is Mr. Stastney, based on his debts with the Debtors,

   20   right, so the claims that he believes he has against the

   21   Debtors, you know, he's able to direct, you know, certain

   22   actions at the subsidiaries.           And so they're trying to use

   23   their debts against the Debtors to try and impact these

   24   subsidiaries that are integral to the Debtor's reorganization

   25   process and were set up for, you know, tax and research and


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    1   design purposes.

    2              And so they're interfering with the Debtor's ability

    3   to be able to manage these entities.                  And they have no basis to

    4   do that.   You know, Mr. Rajan is the CEO.                     And again, there's

    5   been no argument or I haven't seen anything in any of the

    6   papers, you know, indicating that stock ownership was

    7   transferred away from Stream TV or Technovative with respect to

    8   any of the downstream entities.

    9              And so upon the filing, all of that ownership

   10   remained with the Debtor's estates.                 And so what these parties

   11   are trying to do is make an end run and try to go now at the

   12   other assets.    But their only basis for attempting to do that

   13   is based on their claims that they assert that they have

   14   against the Debtors.

   15              And so their actions are damaging the estates and the

   16   abilities of the Debtor to proceed and progress in this case.

   17   Because again, the SeeCubic, B.V. entity holds the R&D and

   18   certain of the intellectual property that's utilized by the

   19   Debtors to manufacture those panels that we discussed about

   20   earlier through the use of the bonding machine.

   21              So it's all interrelated in terms of the process in

   22   which the Debtors are going to be able to succeed.                      And so you

   23   have parties that have come before this Court, you know, who

   24   filed a motion to seek relief from the automatic stay to

   25   proceed with a, you know, dispute in the Chancery Court in


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    1   Delaware.     But then, they're taking the very action that they

    2   were seeking to obtain by seeking the relief.

    3               And so clearly, they know that the actions they're

    4   doing are improper and are a violation of the stay.                    And so

    5   what we're seeking from the Court with respect to that is for

    6   them to stop interfering with the Debtor's management.                    And

    7   they've even gone so far as to file a lawsuit in the

    8   Netherlands trying to strip the Debtors of their management

    9   rights with respect to SeeCubic, B.V.

   10               And so the Debtor has those rights through its

   11   ownership interests, you know, through the various

   12   subsidiaries.    And we believe that's an intentional

   13   interference with property of the estate and the Debtor's

   14   ability to manage, you know, its assets.

   15               And so we think it clearly falls within a violation

   16   of the stay.     And so the first two violations that we have are,

   17   one, with respect to the bonding equipment.                    And you know,

   18   quite frankly, I haven't seen anything filed which indicates

   19   it's not owned by the Debtors and shouldn't be in their

   20   possession.

   21               And now, we have the management rights of the

   22   subsidiaries that are being interfered with by the acts of, you

   23   know, Mr. Stastney directing people such as Patrick Thune.                      And

   24   then also, you know, the filing of the lawsuit, which was

   25   purportedly filed on behalf of SLS, Hawk, SeeCubic, Inc., and


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    1   Mr. Stastney.

    2              And so if the Debtors are going to have a chance to

    3   succeed in this case, you know, this interference has to stop.

    4   You know, these parties are looking to steal the Debtor's

    5   assets and keep them for themselves, but that's not what

    6   bankruptcy is about.      It's an equitable process in which the

    7   Debtors have a statutory right to attempt to reorganize.                     And

    8   that's what they're trying to do in this, but they need

    9   possession of all of their assets and they need the

   10   interference to cease.

   11              The third basket, in terms of the stay relief and

   12   turnover, if you recall, I previously had mentioned that

   13   omnibus agreement.      And part of that agreement and the order

   14   from the Chancery Court required certain assets -- and we list

   15   the assets in the motion, with respect to various display

   16   units, tablets, corporate laptops.                All of those ended up being

   17   turned over from Stream to SeeCubic, Inc.

   18              Once the omnibus agreement was determined to be void

   19   and improper by the Delaware Supreme Court, those assets were

   20   all supposed to come back.          The Chancery Court entered an order

   21   saying all those assets needed to come back.                   And to this day,

   22   those assets still have not been returned to the Debtor.                     And

   23   we outlined, you know, the specific assets in our -- and let me

   24   get the document entry number.             We believe it's 76, Your Honor.

   25              THE COURT:    Let me -- I don't think I've printed out


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    1   76, but let me look at -- motion for sanctions.                     Is that the

    2   original motion?

    3              MR. ALEXANDER:       Let me double check.              Maybe that's

    4   not -- it's not.     I apologize, Your Honor.                  It's not outlined.

    5   I'll get the docket entry for you that has those identified.

    6   But those are the assets that were transferred and were

    7   supposed to come back to the Debtor.

    8              THE COURT:    All right.

    9              MR. ALEXANDER:       And SeeCubic, Inc., has refused to

   10   deliver them, or alternatively, account for them in terms of

   11   what happened to them.      Because the response the Debtor had

   12   when it sought certain of these are, well, some of those aren't

   13   really property of the Debtor because maybe we made some

   14   improvements to them.      Or they were returned.

   15              But you know, we believe the code requires more than

   16   that, and it actually requires not only the return but an

   17   accounting for those assets, so.

   18              THE COURT:    Okay.       And what assets are you -- what

   19   docket entry number are you referring to?

   20              MR. ALEXANDER:       I'm scrolling through to try and find

   21   that as we talk, Your Honor.

   22              THE COURT:    Is it in your supplemental, number 90?                   I

   23   did print 90, but not -- supplemental motion for stay for

   24   turnover and sanction.

   25              MR. ALEXANDER:       It may be 76, and then, number 3.


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    1              THE COURT:    Number 3?

    2              MR. ALEXANDER:       So 76-3.

    3              THE COURT:    Okay.       Exhibit C?

    4              MR. ALEXANDER:       That's correct, Your Honor.           Where we

    5   list the other Stream assets, a list of Debtor's property, you

    6   know, in possession of SeeCubic, Inc.                  And we go through there,

    7   there's the Ultra-D -- their demonstrator samples.                  We identify

    8   the last location, you know, where they were at or where the

    9   Debtors knew they were at.          And then, we also go through and

   10   list the tablets.     To the extent that we have serial numbers,

   11   we listed the serial numbers.

   12              And so we provided as much information as possible so

   13   that there's no misunderstanding in terms of, you know, what

   14   assets are being referred to and which ones need to be turned

   15   over.   And so we've identified, you know, each of those assets

   16   and the reasons why those assets are important.

   17              You know, putting aside the business computers, which

   18   had numerous information of the Debtor's in terms of their

   19   business operations on it, which they no longer have access to,

   20   but the specific samples.         This is what the Debtors use when

   21   they go out to pitch the product and sell it to other parties.

   22              And so again, part of the equation is, is it of

   23   inconsequential value.      And certainly, these are very material

   24   and they allow the Debtors to go out and get more purchase

   25   orders with the goal in mind of being able to deal with the


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    1   debts of SLS and Hawk, you know, in this bankruptcy process.

    2              And so these are very integral to the Debtors being

    3   able to do that.     And these are samples that, you know,

    4   customers want to see.      I mean, they actually want to see the

    5   product work and how it works before they, you know, issue more

    6   purchase orders or for entities that the Debtors have not done

    7   business with in the past, new purchase orders.

    8              And so all of that property, you know, should be

    9   returned and turned back over to the Debtors so that they can

   10   utilize it as part of the process, in terms of reorganization.

   11   And so you know, most creditors that I see in bankruptcy cases,

   12   they want to get paid.      And so in order for these Creditors to

   13   get paid, you know, they need to allow the Debtors to operate

   14   and not interfere with their operations and allow them to have

   15   all of their property in their possession.

   16              It's all going to be under this Court's, you know,

   17   jurisdiction, in terms of how the Debtor operates, reporting

   18   requirements.    And so that is, you know, what we're looking to

   19   do here, is to stop the violations of the automatic stay,

   20   require property to be turned over to the Debtor.              There's no

   21   good faith basis for it not to be in the possession of the

   22   Debtors.   And this is very material to the Debtors.

   23              And you know, I just want to note in terms of the

   24   urgency with respect to the interference at SeeCubic, B.V., you

   25   know, they've filed a proceeding and they have a hearing set on


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    1   the 20th where they're trying to oust Mr. Rajan, you know, from

    2   the management of that entity.             And you know, that could be

    3   very detrimental because again, the Debtor then won't have

    4   control over its intellectual property which it utilizes in

    5   terms of creating these panels, which is has $100 million-plus

    6   in orders that it's obtained since the bankruptcy cases were

    7   filed.

    8              So we need the actions to stop.                     We need the parties

    9   to comply with what the bankruptcy code requires.                      And then,

   10   the Debtors can go ahead and proceed with the case in an

   11   orderly fashion.     And instead of focusing on, you know, where

   12   are our assets, who's interfering with it, they can actually

   13   focus on the restructuring part and making sure that Creditors

   14   in this case and their claims ultimately get satisfied as part

   15   of a plan because there should be plenty of money, based on

   16   these orders, to deal with all the claims in this bankruptcy

   17   case.

   18              But the Debtors need the breathing spell and they

   19   need to be afforded the rights under the bankruptcy code in

   20   order to do that without the violations by SLS, Hawk, SeeCubic,

   21   and Mr. Stastney, and their work essentially interfering in the

   22   operations of the Debtor's subsidiary, SeeCubic, B.V., in the

   23   Netherlands.

   24              And so Your Honor, we believe that there's an urgency

   25   in granting this relief and we would request that Your Honor


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    1   enter an order directing them to stop interfering with the

    2   Debtor's management of its subsidiaries, turn over and allow

    3   access to the bonding equipment, and also all of the other

    4   property that's listed in 76-3.

    5               THE COURT:     Okay.

    6               MR. ALEXANDER:        And if Your Honor has any questions,

    7   I'm happy to help clarify.           I know when we do this over the

    8   phone, it’s not as easy as if we're able to hand you things in

    9   person.     But I'm happy to try and point you to any other

   10   documents or follow-up on any questions that you may have.

   11               THE COURT:     Okay.      Not at this time.             I want to hear

   12   from SeeCubic.     Okay.    And you said Mr. Mazza on behalf of

   13   SeeCubic?     Or did I have that backwards?

   14               MR. MAZZA:     You are correct, Your Honor.                 This is Jim

   15   Mazza from Skadden on behalf of SeeCubic.                       And if I may

   16   proceed?

   17               THE COURT:     Yes.

   18               MR. MAZZA:     I'll respond to what Mr. Alexander went

   19   through.     And I got to say, first off, there's a long history

   20   here, and I know the Court has seen a lot of papers get filed

   21   with that history.       And I'm not going to belabor it, but -- and

   22   I think it's going to come out as more as there will actually

   23   be evidence as part of this case.

   24               But I think the axiom that an honest debtor is

   25   entitled to the benefit of the doubt does not apply here.


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    1   There is history with this being the third filing, and Mr.

    2   Alexander has an explanation as to why this was an okay filing.

    3   I'll respond to that in due course.

    4              But every one of these filings was at the eleventh

    5   hour to avoid a foreclosure.           It's a textbook bad faith use of

    6   the bankruptcy system, and I think Hawk's motion to dismiss,

    7   convert, or have a trustee appointed is actually much more

    8   relevant than the rich irony of the Debtor hauling us into

    9   court to try to have to explain ourselves when they have both

   10   the facts and the law completely wrong.                    And it should be their

   11   principal, Mr. Rajan, explaining himself as to why these cases

   12   were filed and what this is really about.

   13              The automatic stay issues, Your Honor, are actually

   14   pretty simple when you look at the law.                    And I don't think -- I

   15   know this isn't an evidentiary hearing.                    I know there seems

   16   like there was a lot of testimony from the podium from Mr.

   17   Alexander.    And what it boils down to, it's pretty simple.

   18              We're looking at a few different discrete items that

   19   they're making complaints about, the first of which is this

   20   bonding equipment.     And I think there's enough in the record

   21   that the Court can take judicial notice of to the extent

   22   there's any need for facts.          But the bottom line is there's a

   23   simple legal principal that applies here that the Supreme Court

   24   had put in a holding very recently.                 And that is the retention

   25   of estate property is not a stay violation.                    And that, we cited


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    1   in our papers, Fulton v. City of Chicago.

    2               And that's the law, period, full stop.                I've

    3   mentioned --

    4               THE COURT:   Okay.       Counsel, let me ask you -- let me

    5   ask you with respect to the Fulton decision.                   Retention.    In

    6   those cases, the -- I think it was a couple of cases -- the

    7   City of Chicago had repossessed the vehicles in question.                    So

    8   they were rightfully in possession.                 In other words, they had

    9   a -- they were holding it pursuant to, I guess, their rule,

   10   whatever.

   11               And what I'm trying to figure out in this case, what

   12   right did SeeCubic have to -- let's start with that bonding

   13   equipment first.     Under what basis did SeeCubic have -- so

   14   that's the first thing you have to establish, is that you had a

   15   right to retain it.      So what basis did SeeCubic have to be in

   16   possession of this bonding equipment?

   17               MR. MAZZA:   Your Honor, let me answer that question

   18   as to the facts as it relates to the bonding equipment that we

   19   laid out in our papers and what has been going on in the Court

   20   of Chancery.    So that bonding equipment is sitting in a

   21   warehouse in a city in China, and it's been sitting there

   22   inoperable for a long period of time.

   23               And so SeeCubic is --

   24               THE COURT:   Okay.

   25               MR. MAZZA:   SeeCubic is not doing anything to


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    1   exercise any control over that equipment.                      It just remains in

    2   the warehouse.     And so that --

    3               THE COURT:   Okay.       So why isn't it being -- no, no,

    4   no.     It's more than that.      Why isn't is being released to the

    5   Debtor?

    6               MR. MAZZA:   So and Hawk, I know, is on the phone as

    7   well.     And I think one thing that the Debtor's counsel has not

    8   conveyed to the Court are discussions where the parties have

    9   tried to figure out a way to consensually actually return the

   10   equipment to Stream under the ordinary process of dealing with

   11   adequate protection.

   12               And let me tell you, Your Honor, the discussions

   13   around that were pretty basic, asking the Debtor for proof of

   14   insurance, method by which they would move the equipment,

   15   because it's highly technical equipment, where they might

   16   actually move the equipment, as far as ultimate location.

   17   Those particular details have not been shared with either us or

   18   Hawk as part of this discussion.

   19               So really, the --

   20               THE COURT:   So counsel, let me ask you this.                  You

   21   represent SeeCubic.

   22               MR. MAZZA:   Correct.

   23               THE COURT:   What is SeeCubic's interest in this

   24   bonding equipment?

   25               MR. MAZZA:   SeeCubic's interest in the bonding


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    1   equipment, I think, Your Honor, there's a few points.                       Again,

    2   it's sitting in a warehouse in China --

    3              THE COURT:    Counsel, I get all that.

    4              MR. MAZZA:    Correct.          Right.

    5              THE COURT:    My question is what is SeeCubic's

    6   interest in the bonding equipment and what is it based on?

    7              MR. MAZZA:    So we are a secured Creditor, along with

    8   Hawk, in connection with the bonding equipment.                       And therefore,

    9   we have an interest in the Debtor providing adequate

   10   protection, which, again, we tried to resolve --

   11              THE COURT:    Okay.       So wait a minute, counsel --

   12              MR. MAZZA:    -- resolve with the Debtor.

   13              THE COURT:    Counsel.          Counsel, let me walk you

   14   through this.    So you're a secured Creditor in that you have a

   15   bonding equipment?

   16              MR. MAZZA:    Correct.

   17              THE COURT:    And when I say you, you mean SeeCubic has

   18   a security interest in the bonding equipment?

   19              MR. MAZZA:    That's right, Your Honor.                    Your Honor,

   20   this --

   21              THE COURT:    SeeCubic -- wait a minute.

   22              MR. MAZZA:    This --

   23              THE COURT:    Hold on.          Hold on.            I mean, I'm trying to

   24   get the facts, because my reading -- and that's why I'm asking

   25   questions -- is that I thought -- and there's a couple of


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    1   SeeCubics.     I thought the -- which SeeCubic are you referring

    2   to?   So maybe that makes a difference.

    3               MR. MAZZA:    Yeah.      Yeah.        Right, Your Honor.       I can

    4   see how it can get a little bit --

    5               THE COURT:    So SeeCubic.            Who has a security interest

    6   in the bonding?    SeeCubic, Inc.?

    7               MR. MAZZA:    Correct.

    8               THE COURT:    Now, I thought SeeCubic, Inc., was formed

    9   to take possession pursuant to that agreement?

   10               MR. MAZZA:    You're right, Your Honor.              It was the

   11   acquisition vehicle through the foreclosure that previously

   12   occurred.     And so --

   13               THE COURT:    So how does it have a security interest?

   14   It's actually, its interest in the bonding equipment arose

   15   pursuant to that agreement that is now void.                   At least,

   16   according to the Delaware Supreme Court, that agreement is

   17   ineffective and any transfer to SeeCubic would be ineffective.

   18               MR. MAZZA:    Right.

   19               THE COURT:    So SeeCubic's interest was pursuant to a

   20   void order.    How is it a secured Creditor?

   21               MR. MAZZA:    So let me peel it back a little bit

   22   further, Your Honor.      So Hawk is a secured Creditor of Stream.

   23   Under pledge agreements securing loans, Stream granted Hawk the

   24   right to vote all of its shares in Technovative common stock

   25   following an event of default.


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    1               After the omnibus agreement was approved, Hawk and

    2   SLS made loans to SeeCubic to help grow the business.                  And they

    3   entered into a note and purchase agreement amongst those

    4   parties, in conjunction with which Hawk and SLS --

    5               THE COURT:   What parties?              Wait a minute.   What

    6   parties?

    7               MR. MAZZA:   Hawk, SLS --

    8               THE COURT:   What parties?

    9               MR. MAZZA:   Hawk, Your Honor, and SLS, who's the

   10   first lien Creditor, and SeeCubic.                And they transferred their

   11   rights --

   12               THE COURT:   Okay.       Okay.

   13               MR. MAZZA:   And they transferred their rights as

   14   Creditors to SeeCubic, thereby consolidating those rights

   15   within a single entity.       Pursuant to that agreement, Hawk is

   16   still able to enforce and levy enforcement rights against

   17   Stream because of an agreement between SeeCubic and Hawk.                   So

   18   that's how the interplay works between the secured Creditors.

   19   And that's been already decided by the Chancery Court in a

   20   collateral estoppel opinion that was issued --

   21               THE COURT:   Okay.       And that had nothing to do with

   22   that agreement because I understand the agreement, it was

   23   pursuant to this agreement that the assets, including this

   24   bonding equipment, was transferred to SeeCubic.                 So right now,

   25   the title to this thing belongs to the -- unless you're telling


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    1   me the Debtor never had title, title and ownership remains with

    2   the Debtor.    And that according to -- so whatever the -- with

    3   respect to -- not with the rights to who had security interests

    4   or any of that other stuff.

    5               MR. MAZZA:   Right.

    6               THE COURT:   Transfer of the equipment -- talking

    7   about the bonding equipment -- to SeeCubic was undone because

    8   the court found that whatever happened with respect to that

    9   agreement was not enforceable.              And so to the extent the

   10   equipment had been transferred, it really has to go back to the

   11   Debtor.

   12               MR. MAZZA:   So --

   13               THE COURT:   So the bonding equipment -- no?              Who did

   14   it go back to?

   15               MR. MAZZA:   Sorry.         Go ahead.

   16               THE COURT:   So who did it go back to?              Who owns it

   17   right now?

   18               MR. MAZZA:   Yeah.        So Your Honor, it's property of

   19   the estate.    So the --

   20               THE COURT:   Counsel, that did not answer my question.

   21   My question is who owns -- if the transfer to SeeCubic is

   22   undone --

   23               MR. MAZZA:   Correct.

   24               THE COURT:   -- who is the owner of the bonding

   25   equipment?


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    1              MR. MAZZA:     Stream.

    2              THE COURT:     Okay.      So if Stream is the owner and no

    3   one has repossessed or foreclosed or did anything with respect

    4   to the bonding equipment -- okay?               I get you might have a

    5   security interest, and I'm not saying you don't.               And if the

    6   Delaware court already decided you did, that's fine.               But for

    7   my purposes, if you didn't foreclose, you meaning either

    8   SeeCubic, who has the rights of Hawk and SFL -- or am I

    9   pronouncing right?      Is it FSL or FLS?

   10              MR. ALEXANDER:        SLS.

   11              THE COURT:     They transferred --

   12              MR. MAZZA:     SLS, Your Honor.

   13              THE COURT:     SL what?

   14              MR. MAZZA:     SLS.

   15              THE COURT:     SLS.      That's what I thought I said.        SLF.

   16   I'm saying SFL.    SLS.    Whatever security interests that Hawk

   17   and SLS had in the bonding equipment, they transferred those

   18   rights to SeeCubic, correct?

   19              MR. MAZZA:     Correct.

   20              THE COURT:     Correct?

   21              MR. MAZZA:     Correct.         You're right.

   22              THE COURT:     And neither Hawk, SLS, or SeeCubic

   23   foreclosed on that or took possession of it, because that order

   24   was undone, correct?

   25              MR. CAPONI:     Your Honor, from Hawk's perspective,


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    1   incorrect.     But I'll let Mr. --

    2               THE COURT:    Okay.

    3               MR. CAPONI:    Only because you had mentioned Hawk.

    4               MR. MAZZA:    Yeah.

    5               THE COURT:    Well, okay.           Well, let's put it this way.

    6   Did anybody foreclose on that bonding equipment?                  Did anybody

    7   repossess the bonding equipment?

    8               MR. CAPONI:    So Your Honor, again, Steve Caponi for

    9   Hawk.    Factually, what occurred, Your Honor -- and the answer

   10   to your question is yes.        Factually, what occurred in the

   11   connection with -- the Delaware Supreme Court invalidated the

   12   omnibus agreement and directed the Court of Chancery to unwind

   13   the omnibus agreement, effectively, and move assets back to

   14   where they belong.

   15               With respect to the piece of bonding equipment, it

   16   was never, full stop, never an asset of this estate.                  It was

   17   always --

   18               THE COURT:    Wait a minute.

   19               MR. CAPONI:    Yes, Your Honor?

   20               THE COURT:    Wait a minute.              I just -- I just -- Mr.

   21   Mazza just said it's property of the estate.                   Which one is it?

   22   Who owns it?

   23               MR. CAPONI:    I can only answer for my client, Your

   24   Honor.   The piece of bonding equipment was always retained at

   25   the SeeCubic, B.V., level.          That's where the equipment was


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    1   owned.   Stream was always and remains a holding company.                    It's

    2   only asset -- it had no operations.                 Its only asset was stock

    3   in Technovative and then downstream to the SeeCubic, B.V.,

    4   level.

    5              THE COURT:    Okay.

    6              MR. CAPONI:     The way the Court of Chancery

    7   effectuated the omnibus agreement, meaning when it first

    8   ordered the omnibus agreement to be complied with, what

    9   occurred was the stock of Technovative was moved over to

   10   SeeCubic because once you took Technovative, all the operating

   11   subsidiaries fell underneath that to the really only operating

   12   subsidiary, which is SeeCubic, B.V.

   13              So fast forward --

   14              THE COURT:    Okay.       So who has --

   15              MR. CAPONI:     Fast forward --

   16              THE COURT:    Counsel, let's cut to the chase.

   17              MR. CAPONI:     Yes.

   18              THE COURT:    Who is the title owner of the bonding

   19   equipment?

   20              MR. CAPONI:     The title owner of the bonding equipment

   21   is SeeCubic, B.V., in the Netherlands.                   But Your Honor, to your

   22   point about foreclosure, after the Supreme Court set aside the

   23   omnibus agreement and it came back to the Court of Chancery,

   24   the Vice Chancellor Lassiter (phonetic), gave Stream a 10-day

   25   window to raise the funds sufficient to pay off the secured


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    1   debt before it would allow the secured Creditors to exercise

    2   their secured Creditor rights, which included foreclosure,

    3   self-help, et cetera.

    4               That 10-day window expired, Stream having done

    5   nothing.    Hawk, in the name of Hawk and SLS and SeeCubic --

    6   again, as Mr. Mazza indicated, there was a pooling of these

    7   security interests -- executed a series of documents

    8   repossessing its collateral, directing that the stock in

    9   Technovative be transferred over to SeeCubic.

   10               That triggered the 225 action.                     And the court put in

   11   place the receiver to freeze everything in place.                       The receiver

   12   was at the Technovative level and lower.                       And I think the

   13   quickest way to dispose of Your Honor's question is if you

   14   look, again, judicial notice, at what occurred in the Court of

   15   Chancery.

   16               When Stream wanted to get possession of the bonding

   17   equipment, it negotiated with the receiver, who was below

   18   Stream.     So if Stream had the bonding equipment, it would not

   19   have been negotiating with the receiver.                       It was negotiating

   20   with the receiver, vis a vis Technovative, ultimately

   21   controlled SeeCubic, B.V.

   22               THE COURT:    Okay.

   23               MR. CAPONI:    There was a motion made with the Court

   24   of Chancery where the receiver -- and the Court of Chancery

   25   authorized this, so this is like collateral estoppel here.                          The


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    1   Court of Chancery authorized the receiver to permit Stream to

    2   take possession of the bonding equipment.                      And the order is

    3   very clear, the receiver could cause SeeCubic, B.V., to turn

    4   over possession of the bonding equipment -- and SeeCubic, B.V.

    5   is a non-Debtor -- if certain conditions were made, which was

    6   Mr. Mazza indicated, proof of insurance, putting up a bond, et

    7   cetera.

    8              The Debtor never did that.                 So the state of play when

    9   this case was filed was that the bonding equipment was still

   10   resident under the ownership of SeeCubic, B.V., rights, title,

   11   and interest, subject to the secured Creditor's liens.                      There

   12   was an opportunity for the Debtor to take possession -- oh,

   13   sorry, SeeCubic, B.V., being a non-Debtor.                      The Debtor could

   14   take possession if it satisfied the court order.

   15              It never did.      So once the bankruptcy was filed, we

   16   are back to the beginning.          Stream wants an asset that the

   17   right, title, and interest resides pursuant to the Court of

   18   Chancery order on this point, at SeeCubic, B.V., subject to the

   19   foreclosure options that my client exercised as well as a

   20   secured interest.

   21              THE COURT:    Okay.       So you believe that your client

   22   actually foreclosed on the property and that it's not property

   23   of the Debtor's estate?

   24              MR. CAPONI:     Correct.          Well, it's not property of the

   25   Debtor's estate, A, because it's at the SeeCubic, B.V., level,


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    1   which is not a Debtor or even a subsidiary of a Debtor.                     It's

    2   about four steps removed.         And as the Vice Chancellor --

    3              THE COURT:    Well, but wait a minute.                 But --

    4              MR. CAPONI:     Yes, Your Honor?

    5              THE COURT:    But counsel, you would also agree -- and

    6   maybe I'm missing something -- that the SeeCubic, B.V., is

    7   owned 100 percent by Ultra-D Cooperative, which is 99 percent

    8   owned by Ultra-D Ventures, and Ultra-D Ventures is 99.9

    9   percent -- Technovative is the 99.9 percent general partner.

   10   So that any interest that these Debtors have -- or the only one

   11   I guess would be Technovative -- have is pursuant to its

   12   ownership interests in the various companies that flow down to

   13   SeeCubic, B.V.?

   14              MR. CAPONI:     Your Honor --

   15              THE COURT:    And not directly.                 And not directly.

   16              MR. CAPONI:     Yes, Your Honor.                So I do not profess to

   17   be a -- I'm a litigator, not a pure bankruptcy lawyer.                     And so

   18   I just point out that whatever the legal effect is of the

   19   Debtor not putting a subsidiary into bankruptcy is for someone

   20   else on this call to address.            I will only comment to the

   21   extent to say that the laws in the Netherlands, which is why I

   22   think there's a hearing next week.                I'm not involved in it.          I

   23   don't know much.     But the law in the Netherlands is such that

   24   the directors owe duties, I think, greater than to just their

   25   controlling stockholder.        And that is why the controlling


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    1   stockholder cannot just replace necessarily a director, which

    2   is what the Debtor is trying to do.

    3              Again, above my pay grade to a certain extent.                      But

    4   this is not -- if this was in the United States, Your Honor, in

    5   Delaware where I'm most familiar, yes, I would agree with you,

    6   a wholly owned sub of a wholly owned, you know, sub of a wholly

    7   owned sub ultimately goes back to the parent.                     That apparently

    8   is not the case --

    9              THE COURT:    Right.        And the --

   10              MR. CAPONI:     -- in the Netherlands.                 And because this

   11   is not a Debtor.

   12              THE COURT:    But it doesn't matter that it's not a

   13   Debtor.   The Debtor's interest in those entities is property of

   14   the estate.

   15              MR. CAPONI:     Yes, Your Honor.

   16              THE COURT:    You don't disagree with that?

   17              MR. CAPONI:     The Debtor does not have an interest in

   18   the assets, the specific assets, of the non-Debtor entity.

   19              THE COURT:    I get that.

   20              MR. CAPONI:     It has an interest of in the entity.

   21   Yes, I agree with you.

   22              THE COURT:    I get that, counsel.                  And that's what I'm

   23   saying, is the Debtor's interest in the subsidiaries, as I'm

   24   going to call them, is property of the estate.

   25              Now, I'm a little confused because the Debtor --


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    1   Debtor's counsel said that the Debtor had title to and

    2   purchased the bonding.      So somebody is wrong.               It can't be

    3   both.    It can't be that the Debtor purchased and had title, and

    4   your position, counsel, that in fact, the Debtor did not

    5   purchase and that title lied with SeeCubic, B.V.

    6              I don't know which one it is.                   And I guess -- I mean,

    7   I'm not going to decide that today.                 But it goes to me trying

    8   to figure out where we are and whether there's some preliminary

    9   relief that I can grant pending a full-blown evidentiary

   10   hearing.

   11              MR. CAPONI:     Your Honor?

   12              THE COURT:    But it's a --

   13              MR. CAPONI:     I agree with your -- this is not

   14   the -- will not be the first and last time there's a polar

   15   opposite view of the facts from the Debtor and the secured

   16   Creditors.    I would just say the easiest way for the Court to

   17   look at this in a preliminary level -- and again, an

   18   evidentiary hearing may be required -- is to look at the court,

   19   which, the Court can take judicial notice of there was a

   20   specific order entered in the Court of Chancery where the

   21   Debtor petitioned the receiver in order to get control of this

   22   asset.

   23              And in that proceeding and in those orders, nowhere

   24   did the Debtor argue that it had title.                    Everyone acknowledged

   25   title and possession belonged to SeeCubic, B.V.                   I understand


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    1   they're changing their tune now, and we can, you know, tease

    2   that out in the future for Your Honor.

    3              But lastly on this point, Your Honor, my clients, as

    4   the Court of Chancery noted several times, had expansive

    5   self-help rights on all of the assets, top to bottom.                      And we

    6   exercised those rights prior to this bankruptcy.                      The only

    7   reason my client was funding and managing and operating

    8   SeeCubic, B.V., the only reason we didn't take title to the

    9   stock, et cetera, was because the Court of Chancery put the

   10   receiver in place during the 225 action.                       But that occurred

   11   after we had already issued all the notices required under the

   12   various contracts to pull the trigger on our self-help rights.

   13              THE COURT:    Okay.       So that just means, as far as I'm

   14   concerned, is that if you exercised -- and when you say you,

   15   presumably, you mean SeeCubic, because what I'm hearing -- or

   16   maybe I misunderstood, was that all of the rights for your

   17   stock had been transferred to SeeCubic.                    Was that correct?

   18              MR. CAPONI:     That is correct, Your Honor.                  And the

   19   reason I refer to -- the reason everyone refers to Hawk in the

   20   shorthand for SeeCubic is that SeeCubic -- sorry, SeeCubic

   21   issued notes separately to Hawk.              Those notes are in default.

   22   And Hawk, under those notes, is the collateral agent of

   23   SeeCubic, with all of the rights to exercise all of SeeCubic's

   24   rights in Hawk's own name or in the name of SeeCubic.

   25              So with regard to the secured debt, it is not


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    1   directly owned by Hawk.       But as a result of a default under a

    2   different set of notes, for all intents and purposes, Hawk is

    3   the party exercising all of SeeCubic's rights.

    4               THE COURT:    And does SeeCubic exercise and

    5   grant -- it's going to get a little dicey, as far as I'm

    6   concerned, the -- you said SeeCubic issued notes to Hawk that

    7   it defaulted on.

    8               MR. CAPONI:    Yes.

    9               THE COURT:    And those notes to Hawk gave -- what did

   10   SeeCubic give to Hawk on those notes?                  In connection with those

   11   notes?

   12               MR. CAPONI:    Your Honor, those -- yeah.              Those notes,

   13   by virtue of those notes, Hawk was the first lien secured

   14   Creditor over all of the assets -- let me -- if I could step

   15   back for one second.      Hawk was the primary funder of Stream and

   16   had a security interest over everything at Stream.                  When Hawk

   17   contributed that debt and those rights to SeeCubic, one of the

   18   things --

   19               THE COURT:    Let me ask -- hold on a minute.

   20               MR. CAPONI:    And this is shorthand.

   21               THE COURT:    Hold on.

   22               MR. CAPONI:    Yes.

   23               THE COURT:    Hold on. Back up a minute.              You told me

   24   that Stream -- Steam, right?           The Debtor Stream was just a

   25   holding company and had no operations.                   It was just a holding


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    1   company for all these other subsidiaries.

    2              MR. CAPONI:     Correct.

    3              THE COURT:    So what did you -- what did you fund

    4   Stream TV to do?     I mean, it was a non-operating company.                    What

    5   did you loan -- you, meaning Hawk -- loan them money for?

    6              MR. CAPONI:     Well, Stream was the primary vehicle

    7   through which third parties made an -- when I refer to Stream,

    8   I'm referring -- I was referring to it as the family.                      But to

    9   be technical, the Stream entity that is the Debtor was the

   10   vehicle through which funding was raised.                      That money was then

   11   downstreamed to the operating entities.

   12              And in certain instances, Hawk -- I'm not sure about

   13   SLS, but Hawk funded directly past Stream down to the SeeCubic,

   14   B.V., level as well.     And in exchange for the totality of that

   15   funding -- there were 18 different notes -- when you wrap them

   16   all together, Hawk had a security interest with self-help

   17   rights, et cetera, over all of the assets in the Stream family,

   18   from top to bottom, from the Stream parent level to the

   19   SeeCubic, B.V., level, and had pledge rights and -- these are

   20   very voluminous documents.

   21              THE COURT:    Okay.

   22              MR. CAPONI:     But when those rights were contributed

   23   to SeeCubic, Hawk received a commensurate level of protection

   24   at the SeeCubic level, meaning if there was a default on the

   25   underlying notes or the notes between SeeCubic and Hawk, Hawk


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    1   would have the right to basically step in and be out back in

    2   position as the first lien, you know, priority secured Creditor

    3   with pledge rights and everything else.

    4               And so that's what Hawk -- what SeeCubic gave to Hawk

    5   in exchange for Hawk contributing the notes, among other

    6   things, was the right to be what is called the collateral

    7   agent.     And that is to exercise all of SeeCubic's rights under

    8   those 18 notes that I referred to a minute ago.

    9               THE COURT:    Okay.      So let's see if I understand it.

   10   Hawk and maybe SLS contributed whatever security for all of

   11   their claims against the Stream family into SeeCubic.               And in

   12   exchange for that, SeeCubic also gave notes or however it was

   13   documented where there was a default -- and I don't know who

   14   the default would be by, because you didn't tell me that.

   15   There was a default, then all the rights would then actually --

   16   I'm going to use the word revest.               That might not be the proper

   17   terminology.     But they would go back, revest back in Hawk,

   18   correct?

   19               MR. CAPONI:    Yes.      At a high level, Your Honor.        And

   20   the default was if the omnibus agreement was not fully

   21   implemented or invalidated, that triggered a default.               So when

   22   the Supreme Court -- there was a definitive default when the

   23   Supreme Court invalidated the omnibus agreement.               That then

   24   triggered Hawk's rights as collateral agent.

   25               THE COURT:    And it went back to -- I'm going to say


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    1   it went back.    So now, because that agreement is now no longer

    2   effective, all of the rights that Hawk had originally rest with

    3   Hawk as the collateral agent, correct?

    4              MR. CAPONI:     Correct.          Yes, that's -- I think that's

    5   correct.

    6              THE COURT:    So what rights if any does SeeCubic have

    7   at this point?

    8              MR. CAPONI:     Well, the rights that Hawk is

    9   exercising, those rights still belong to SeeCubic.                      We are --

   10   Hawk is just exercising them as the collateral agent.                         So under

   11   the agreement, Hawk can enforce the notes, the 18 notes, in its

   12   own name or it can enforce them in the name of SeeCubic.                           This

   13   was litigated --

   14              THE COURT:    And -- right.              And they can be enforced

   15   against the entire -- I'm going to say Stream family.                         Or

   16   whatever collateral was pledged, correct?

   17              MR. CAPONI:     Correct.

   18              THE COURT:    Okay.       And that hasn't happened yet.

   19              MR. CAPONI:     Well, it started, Your Honor, when,

   20   after the Supreme Court decision, all the various notices to

   21   exercise the pledge rights, to marshal -- there's an obligation

   22   where all they need to do is issue a marshalling directive to

   23   have all the assets put in one location.                       And that was

   24   exercised.    And so it became sort of a jump ball at that point.

   25              We exercised our secured Creditor rights to take


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    1   possession of the collateral.            The collateral always remained

    2   at SeeCubic, B.V.     That has always been the operating entity.

    3   So it didn't matter when Stream had the "assets" or when

    4   SeeCubic, Inc., got the assets, everyone kept SeeCubic, B.V. in

    5   place.   And that was the operating entity.

    6               So from my perspective, when we issued -- my client

    7   issued the marshalling directives and the pledge rights under

    8   its secured agreements, it took possession of those assets.

    9   Title, it had not taken possession of because it had not

   10   completed an Article 9 sale.           But as far as possession, 9/10ths

   11   of the law possession, those assets, including the bonding

   12   equipment, belonged to the secured Creditors.                     I know the

   13   Debtor disagrees with that, but that's our position.

   14               THE COURT:    Okay.      So your position is that title was

   15   with SeeCubic, B.V., and that the secured Creditor had

   16   exercised his right of possession.                Okay.

   17               MR. CAPONI:    Correct.

   18               THE COURT:    Okay.      And so you then would be in the

   19   same position as in Fulton County, where you -- you, meaning

   20   SeeCubic through its collateral agent, Hawk -- had possession

   21   pursuant to a secured Creditor's right.                    And therefore, you

   22   don't have to turn it over because you had a right.                     You

   23   basically were maintaining the status quo.                     Is that your

   24   position?

   25               MR. CAPONI:    Your Honor, I think that's correct.                  But


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    1   again, I would defer to Mr. Mazza on that because I am not a

    2   bankruptcy lawyer.       He is.      And I've never read that case and I

    3   suspect he has.     But from the argument I can follow, it sounds

    4   correct.

    5               MR. MAZZA:    Yeah.       Yeah.        If I can interrupt.   And

    6   thank you, Mr. Caponi, for clarifying some of the record there

    7   with respect to what happened in the Court of Chancery.                  And

    8   yeah, I agree with that position, Your Honor.

    9               THE COURT:    Okay.       Okay.        So obviously, I'm going to

   10   have to have an evidentiary hearing, because the Debtor's

   11   position is you didn't do that, and that the Debtor is the

   12   owner.     And your position is you did exercise.               And that would

   13   go to issues relating to whether there was a violation of the

   14   stay or not.     Okay?

   15               And also, that would go over to turnover actions,

   16   because turnover actions relate to certain things.                  And that

   17   would also affect whether there's a turnover action.                  But I

   18   will say, counsel, that to the extent -- and there is a

   19   distinction between, obviously, the various entities, the

   20   non-Debtor various entities and the Debtor entities.

   21               But I have to acknowledge and everybody has to

   22   recognize that part of the Debtor's assets are its interests in

   23   the companies who had interest.               It's a holding company.

   24   That's how it was described.            And that the holding company's

   25   interests, however they may flow, those interests are property


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    1   of the estate.     And to the extent they're property of the

    2   estate, they're related to -- and there may be some

    3   consequences that, you know, the stay can apply to.

    4              Yes, they're not in bankruptcy.                     But there are often

    5   third party beneficiaries -- I'm going to use third party, but

    6   that may not even be the correct -- but in my mind, that's how

    7   they work -- that there are related parties that may get to

    8   have the benefit of that because they serve to the benefit of

    9   the Debtor who is in bankruptcy.

   10              So I'm hearing two different things.                    One is that

   11   this is not the Debtor's property.                This is actually property

   12   of an entity that the Debtor, through one of its subsidiaries

   13   or part of its family, holds title to.                   That's a different

   14   issue than if the Debtor actually owns it and it belongs to the

   15   Debtor directly.     Those are all different things that I have to

   16   consider in both whether there's a violation of the stay or

   17   whether there is a turnover, whether turnover is appropriate.

   18              Okay.   I get that.         And I'm sorry, because counsel, I

   19   started -- I didn't ask any questions to Debtor's counsel

   20   because I didn't have any conflict.                 So I don't want you to

   21   think that I'm just questioning you and didn't question him.

   22   But I only had one side.        And now that I have a different side,

   23   I'm trying to parse through the difference.                      Okay?

   24              I'm sorry, counsel.           Where did I -- I think I

   25   interrupted you when I started asking, well, wait a minute, who


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    1   owns this stuff?     You can continue with your argument, Mr.

    2   Mazza.   I apologize.    Go ahead.

    3              MR. MAZZA:    No apology needed, Your Honor.

    4   Appreciate the colloquy and Mr. Caponi helping clarify some of

    5   the issues.    Hopefully, that was helpful.                    So I think we're --

    6              THE COURT:    It was very helpful.

    7              MR. MAZZA:    Where we're going next is that on Fulton,

    8   I understand what Your Honor is saying with respect to what the

    9   Supreme Court had to say there.              I think it's important in the

   10   context here to understand really, I think, how the court

   11   looked at why it came out, you know, the way it did as there

   12   not being a stay violation in that case.

   13              And that putting aside who is rightfully or not

   14   rightfully possessing the property, the bottom line is if

   15   somebody has property and a secured creditor has interest in

   16   it, what needs to happen to the secured creditor one way or the

   17   other is that it needs to get adequate protection.

   18              And where I was going, Your Honor, is that we did try

   19   to engage in a dialog on that discussion, based on pretty

   20   simple requirements to address adequate protection, just to try

   21   to reach a resolution that would be acceptable amongst the

   22   parties and clearly cut against any allegation that there's

   23   some kind of willful violation of the automatic stay.

   24              But when counsel to Debtor can't provide us with any

   25   proof of insurance, any sort of details about what they intend


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    1   to do to the property, that's pretty telling in our view as to

    2   the gamesmanship that's going on here.                   And so I think that if

    3   Your Honor is thinking of any kind of interim relief at any

    4   point in time here, that those are going to be important

    5   requirements to include with anything that might be decided to

    6   relate to the bonding equipment.              And so I really would

    7   emphasize that as part of the overall package of what we're

    8   looking at here.

    9              And moving on from the bonding equipment, there's a

   10   few things that I'll get to around sort of this urgency the

   11   Debtors have tried to create around this with purchase orders

   12   and the like.    And again, I know this isn't an evidentiary

   13   hearing, but there's been the appearance of this entity called

   14   Visual Semiconductor, Inc., which we've laid out in our papers.

   15              And this entity, apparently, is a party to these

   16   pressing purchase orders that the Debtors are --

   17              THE COURT:    What's the name again, counsel?

   18              MR. MAZZA:    Yeah.       The name --

   19              THE COURT:    Visual what?

   20              MR. MAZZA:    Semiconductor, Inc.                   It's VSI, is the

   21   acronym.

   22              THE COURT:    Okay.

   23              MR. MAZZA:    And so --

   24              THE COURT:    Yeah.       Okay.

   25              MR. MAZZA:    So this entity --


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    1              THE COURT:    Okay.       I've heard that.

    2              MR. MAZZA:    -- it is --

    3              THE COURT:    I note VSI.            Okay.          You believe this

    4   entity is what?

    5              MR. MAZZA:    Not to be confused with VTI, which was an

    6   entity from a previous bankruptcy case that was involved in

    7   running the same kind of "cherry-picking" exercise.                       And in the

    8   previous bankruptcy, when Judge Owens became wise to what was

    9   going on there, she did bar Stream from filing for bankruptcy

   10   for a year.

   11              And I know they're going to try and they have been

   12   trying to distinguish things this time because of vindication

   13   from the Delaware Supreme Court on a decision nine months ago

   14   on the omnibus agreement.         But again, that's just not the full

   15   record.   They didn't file for bankruptcy when that decision

   16   came down.

   17              No, they fought tooth and nail in litigation in the

   18   Court of Chancery for nine months to evade secured Creditors

   19   and their exercise of remedies that Mr. Caponi artfully went

   20   through as to what was happening.               And when the shoe was about

   21   to drop, they filed again.          And that's why we're here before

   22   Your Honor.

   23              And I would say that, you know, this alter ego, VSI,

   24   which is owned and operated by, our understanding is, the

   25   principal of the Debtors, Mr. Rajan.                  And they've put in a


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    1   purchase order, again, that needs to be urgently performed on

    2   that involves the production of 100,000 units on behalf of this

    3   entity.   So Stream is obligated outside of this court approval

    4   process for production of a really outlandish amount of units

    5   of these particular items.

    6              And so we have serious questions as to what's going

    7   on with that and if that was manufactured in order to try to

    8   establish that there's something going on with Creditors and

    9   trying to manufacture some claims as they relate to this

   10   alleged automatic stay violation, which again, we don't think

   11   stands up as a matter of law.

   12              THE COURT:    Counsel, I'm not sure how -- you believe

   13   that -- okay.    So this VSI is party to these purchase

   14   agreements.     And you believe that they're not real and that

   15   they're only to support claims for violation of the stay with

   16   respect to the bonding?

   17              MR. MAZZA:    Well, they've certainly created a sense

   18   of urgency around things that they want to perform on these

   19   particular orders in emergency fashion.                    And the kind of

   20   numbers that are in the orders are just not -- they're just not

   21   achievable in any sort of reality whatsoever.

   22              So we have some serious doubts about it.                  And we've

   23   been in contact with, you know, engineers regarding the same.

   24   And they've never heard of the kind of production that these

   25   really bare bones purchase orders are indicating the Debtor


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    1   would try to satisfy here.

    2              So it's a real headscratcher, Your Honor.                 And I was

    3   just putting it out there that it does bear this uncanny

    4   resemblance to what they attempted to do in the first -- one of

    5   the first bankruptcy cases that was duly dismissed for bad

    6   faith by Judge Owens.

    7              So if they're running the same scheme, which

    8   apparently, they may very well be doing here, because as we

    9   laid out in our papers, there are communications that are also

   10   been going around about the plan to scuttle the equity interest

   11   in Stream and move that all over to VIS, that again, raises

   12   serious doubts about it and we've been in contact with, you

   13   know, engineers regarding the same.                 They've never heard of the

   14   kind of -- kind of production that these really bare bones

   15   purchase orders are indicating the Debtor would -- the Debtor

   16   would try to satisfy here.

   17              So it's a real head scratcher, Your Honor.

   18              THE COURT:    Uh-huh.

   19              MR. MAZZA:    And I just put it out there that it does

   20   bare this uncanny resemblance to what they attempted to do in

   21   the first -- one of the first bankruptcy cases that was duly

   22   dismissed for bad faith by Judge Owen.                   So if they're running

   23   the same scheme, which apparently they may very well be doing

   24   here.

   25              Because as we laid out in our papers, there are


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    1   communications that are also -- been going around about the

    2   plan to scuttle the equity interest in Stream and move that all

    3   over to VSI.     That again, raises serious questions as to -- as

    4   to the good faith here.

    5              And if there wasn't the track record that is already

    6   part of previous bankruptcy cases, maybe we might not have

    7   questions.     But this is almost too coincidental, Your Honor,

    8   for us to not be asking serious questions that go to, really, I

    9   think Hawk's motion that's also on the docket today.

   10              I think turning attention to really corporate

   11   authority, and I think Your Honor focused on the right issues

   12   that we laid out in our papers about who's a debtor and who's

   13   not a debtor and whose interest is protected or not.

   14              I think though one important point that is also in

   15   Hawk's motion is that when the Technovative entity, the Debtor

   16   entity was filed, there was no corporate authority for Mr.

   17   Rajan to actually initiate a filing for that particular entity.

   18   That corporate authority was vested in the receiver under

   19   Delaware corporate law.       And so while we can't control what the

   20   receiver does, Mr. Rajan can't step in and just exercise

   21   corporate authority that did not exist.                    He was -- he was not

   22   the board.     The board was the receiver.

   23              And so that is -- that filing was clearly alterverus

   24   (phonetic), and so there's no -- there's been no authority to

   25   file that entity.     And you know, that flows down through the


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    1   structure, but again, doesn't really change the answer as it

    2   relates to the Dutch entities.             Because as we went through

    3   those entities, none of which are debtors, they don't have the

    4   automatic stay apply to them.            That's clear under the law and

    5   how 362 is written, Your Honor.

    6              If they had authority to file, and they didn't have

    7   authority to file Technovative, as I just said, then use the

    8   automatic stay if you want to put the foreign entities in the

    9   bankruptcy and then you can use the stay.                      But you can't -- you

   10   can't use the stay when it doesn't apply.

   11              Now is there a procedure, Your Honor, to extend the

   12   stay to non-debtors?     Yes, there is.               Is that procedure pretty

   13   hard to be able to satisfy?          Of course it is.              It's exceptional

   14   circumstances that need to be established to do so.                     And while

   15   the circumstances are indeed exceptional here, they're

   16   exceptional for all the wrong reasons and don't support

   17   extension of the stay to what Mr. Rajan is trying to accomplish

   18   over in the Netherlands by trying to install himself as the

   19   director in that entity.

   20              And it's a dispute that is a dispute of Dutch

   21   corporate law that would be decided under the principals of

   22   Dutch law.    So there's no impact on the Debtors.                    Mr. Rajan is

   23   not a debtor and these are -- this is property outside the

   24   estate.

   25              Because if you follow corporate form, which I know


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    1   these debtors don't have a tendency to want to follow.                   But

    2   there is a reason why corporate formalities and corporate form

    3   is followed that would apply here such that these entities

    4   should not -- not be -- this shouldn't be any kind of violation

    5   of the stay that's trumped up here.                 Again, it's all -- it's

    6   all in the auspices of trying to have their cake and eat it too

    7   such that they don't -- they can go -- go down to non-debtors.

    8   Demand assets be returned to them and then not report back to

    9   this Court because they're not operating under any supervision

   10   by this Court.

   11              And that falls into the idea that these cases really

   12   deserve to have a trustee appointed, whether that's a Chapter 7

   13   trustee or a Chapter 11 trustee, or just be dismissed outright

   14   because of the acts that have been taken here.                 But again,

   15   that's part and parcel of what the separate motion is.

   16              But to take all of that into context and to say that

   17   this amounts to violations of the automatic stay, Your Honor,

   18   is just not a proper use of the automatic stay.                 It's a

   19   weaponization of it.     We've tried to come to the table to

   20   figure things out.     They've decided they just want to litigate.

   21              So if they want to litigate, that's fine.                But they

   22   have to go to -- they have to come to Your Honor with more than

   23   emergency motions.

   24              Third Circuit law requires them to file an adversary

   25   proceeding for turnover.        We still have not seen that.             They


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    1   want to go through that, that's fine.

    2              We had a long colloquy with Your Honor about

    3   complicated issues, about the property, and what interest

    4   parties have in it.     There's a legitimate dispute.             They're

    5   trying to say, well, this is all willful violation of the

    6   automatic stay.     That's just not how it works, Your Honor.

    7   They've got to go through the proper procedure if it's indeed

    8   their property, if it's something that they're entitled to and

    9   creditors are not left out in a lurch, unprotected by a group

   10   here that their past conduct should certainly be taken into

   11   account in any decision that Your Honor is inclined to make one

   12   way or the other.

   13              So with that, Your Honor, I think that covers the

   14   points that I wanted to make, unless you have any other

   15   specific questions for me.          I'm happy to cede the podium or

   16   telephonic podium over to whoever else -- I think maybe Mr.

   17   Caponi might have something to add.                 But that's my presentation

   18   for the moment.

   19              THE COURT:    Okay.       I've got -- you've answered all my

   20   questions.    I may be a little more confused than when I

   21   started, but all right.       I may have a better understanding, but

   22   I don't have any questions at the moment.

   23              MR. MAZZA:    Thank you, Your Honor.

   24              THE COURT:    Okay.       And so is there anyone else -- I

   25   think the only opposition that was filed was by SeeCubic for


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    1   the joinder.     I think that was a -- was that a joinder from

    2   Hawk's right?     Or am I confusing the motions?

    3              MR. CAPONI:     I think that's correct, Your Honor.

    4              THE COURT:    Okay.       And --

    5              MR. MAZZA:    And Your Honor, just -- I'm sorry to

    6   interrupt.

    7              THE COURT:    No, go ahead.

    8              MR. MAZZA:    Mr. Mazza.           And we did -- the fact that

    9   you mentioned a joinder.        Hawk did join in our opposition.                   We

   10   did join in Hawk's motion as well in our opposition, not to

   11   make it more confusing than it already is.                     But just wanted to

   12   make it clear.

   13              THE COURT:    No, I know there were -- right.                  I saw

   14   those joinders.    Does anybody -- is there anything else that

   15   Hawk thinks that I need -- and I'm saying Hawk.                     I don't know

   16   if it's in its capacity for itself or it's the collateral

   17   SeeCubic, whatever.      Does Hawk have anything else other than

   18   what I already heard with respect to the ownership of the

   19   bonding and who has what with respect to why this is not a

   20   violation of the stay?

   21              MR. CAPONI:     Yes, Your Honor.                The only other thing I

   22   would add, Your Honor, is --

   23              THE COURT:    Who's here?            How's speaking?

   24              MR. CAPONI:     This is Steve Caponi, Your Honor.                   I

   25   apologize.


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    1               The only other thing that I would add is again, we

    2   took discovery in the underlying 225 action, you know, which

    3   ended about a week or two before the filing.                   So the

    4   information we have is fairly current.

    5               The -- Mr. Rajan testified, I took his deposition and

    6   the records bore this out, and they submitted some affidavits

    7   to the Court that Stream had no operations since at least 2020.

    8   Mr. Rajan testified that, again, because it was a holding

    9   company.    Not only did it not have any operations, it had no

   10   bank accounts.    He submitted an affidavit and he testified at

   11   his deposition that starting in 2020, Stream has had no bank

   12   accounts, and it had no bank accounts as to his deposition

   13   about a week or two before this case -- this Chapter was filed.

   14               So the notion that this was a company that has --

   15   sorry, not only they had no bank accounts, Your Honor.                    Had no

   16   bank accounts, had no employees, had no payroll, had no

   17   nothing.

   18               The notion that it is on the cusp of fulfilling

   19   orders for hundreds of thousands of units worth hundreds of

   20   millions of dollars is a farce.              It just is.       I mean, I could

   21   be more polite about it.        But it's the same story you've heard

   22   over and over, and they said the same thing in the Court of

   23   Chancery.    And when you ask for a purchase order, what you get

   24   is a redacted document through VSI and that's what they've done

   25   here.


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    1               So they won't tell the Court allegedly who this

    2   purchase orders from because it doesn't exist.                       And even if a

    3   purchase order existed, it was given at an entity that has no

    4   operations and no bank accounts.

    5               There's been no activity in this case.                     No first day

    6   motions.     No -- and if you start with the proposition Stream

    7   had no operating business, anything it does is outside the

    8   ordinary course.

    9               So entering into a distributorship agreement, for

   10   lack of a better term, that was disclosed last night for the

   11   first time in Mr. Rajan's affidavit, how that occurred without

   12   Court approval or notice is an anathema to me.                       How they could

   13   be entering into purchase orders when they had not entered into

   14   a purchase order with anybody for at least the prior three

   15   years.     To do so without the Court approval, again, seems to be

   16   a pretty blatant violation of the rule.

   17               So I just say when we talk about the equipment and

   18   who owns what, if you don't have a bank account for three years

   19   and you don't have any assets for three years, it's kind of

   20   hard to take the argument with a straight face that they're the

   21   direct owners of this bonding equipment or anything else for

   22   that matter.     And that's the last thing I'll say, Your Honor.

   23               THE COURT:    Counsel, you said that Mr. Rajan had

   24   testified that he had no operations since when?

   25               MR. CAPONI:    2020, Your Honor.                   When the Court of


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    1   Chancery --

    2               THE COURT:     Okay.

    3               MR. CAPONI:     -- moved the assets over to SeeCubic,

    4   Mr. Rajan testified that Stream ceased all operations, had no

    5   employees, what employees existed went to other entities, and

    6   he was -- and there were no bank accounts.

    7               Because one of the things in the 225 action, the pur

    8   -- not one of the things, the thing.                   Was did Stream convert

    9   the debt to equity and in order to do that it needed to

   10   demonstrate that it raised money, so we asked for the bank

   11   accounts.     All right.    Give us your Stream bank accounts.               And

   12   Mr. Rajan told the Court in an affidavit and me in a deposition

   13   that once the assets were moved over into SeeCubic, Stream shut

   14   down all of its bank accounts and in that day in, I think, the

   15   middle of 2020, has never had a bank account.

   16               THE COURT:     Well, counsel, I'm not quite sure that

   17   means anything.     All the assets were turned over to SeeCubic,

   18   of course they had no assets.             What are they going to have?

   19   I'm not quite sure that means anything from my perspective,

   20   because if you took all their assets, what do they have left?

   21               MR. CAPONI:     Your Honor --

   22               THE COURT:     I mean, that's a whole different issue.

   23   I'm just saying, I'm not sure what you think it will -- what

   24   that means here.     I don't know.

   25               MR. CAPONI:     If I --


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    1              THE COURT:    I mean, it may not mean anything.               I'm

    2   sorry, go ahead.

    3              MR. CAPONI:     Yeah, sure.            Your Honor, I just want to

    4   elaborate.    I'm not sure how -- that it checks a legal box.

    5   The Debtors are relying very heavily on this notion that we

    6   have this -- you know, we have these purchase orders, et

    7   cetera.    And they're trying to portray -- no, don't try.

    8   They're telling Your Honor this case was filed so that Stream

    9   could reorganize and get back in production.

   10              And my only point in raising it is, there was nothing

   11   to reorganize because the assets never got returned.                  So Stream

   12   lost its assets three years ago.              Lost its bank account.        Lost

   13   its employees.     Never regained them.               It may hope to get them

   14   back in the future.

   15              But the notion they can go from a zero asset, zero

   16   bank account entity to stand in front of Your Honor today and

   17   say they're on the cusp of fulfilling a $100 million order?                     I

   18   would just note for Your Honor, this company never turned a

   19   dime in revenue or profit.          Its entire lifecycle lived off of

   20   debt.

   21              And we would love to see them to have this purchase

   22   order.    We would love to see $100 million come in, but they

   23   make the same promise over and over.

   24              And I'm only just pointing out, Your Honor, you have

   25   to learn how to walk before you can, you know, crawl before you


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    1   can walk and walk before you can run.                  The testimony is on the

    2   eve of this bankruptcy, this was an infant in the cradle at

    3   best.     So the notion that they can now run a marathon if you

    4   just give them bonding equipment is a fallacy.                      That was my

    5   point in raising it.

    6               THE COURT:   Right.        But counsel, you also have to --

    7   also admit that on the cusp of bankruptcy, they didn't have any

    8   assets.     They had all gone to SeeCubic.                 So how could they

    9   crawl, walk, or do anything if they didn't have their assets?

   10               So from my perspective is once they got it at the --

   11   at least on the eve of bankruptcy, a portion had been returned,

   12   perhaps not to them but to their subsidiary because that

   13   agreement was undone.      So we're talking about a different

   14   point, different company in terms of what I would be looking

   15   at.

   16               Clearly, if they didn't have their assets, they

   17   weren't doing anything.       But once they were returned, they

   18   weren't the same company in terms of what they were, a company

   19   with mounts something being returned as to a company where

   20   everything -- all assets had been taken.                       I can't look at that

   21   and say, well, they're trying to run now.                      I don't know what

   22   they're trying to -- maybe they are trying to rub because even

   23   though the assets were returned, they may still be crawling.                       I

   24   don't know.

   25               But I'm just saying it just doesn't mean what you


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    1   think it might mean to this Court, the fact that they didn't

    2   have anything because they had been foreclosed upon, so that's

    3   the only point I'm making.

    4              MR. CAPONI:     Your Honor, if I could just clarify one

    5   point, Your Honor, the assets have never been returned.                    The

    6   assets all -- the operating assets all were at the Technovative

    7   level or below.     And those assets never went back -- they went

    8   from SeeCubic, Inc to the receiver and they were held by the

    9   receiver prior to the bankruptcy.

   10              So those assets -- Stream came into the bankruptcy an

   11   assetless company with the hope of getting its assets back.

   12   That's just my only clarification.

   13              THE COURT:    Well, wait a minute --

   14              MR. CAPONI:     Your other points are well taken.

   15              THE COURT:    Wait a minute.               My point is that when the

   16   -- and maybe I'm misunderstanding.                When they Delaware Supreme

   17   Court undid whatever it undid, who then had titles to whatever

   18   these assets -- I know they weren't in your position.                    If they

   19   weren't owned by Stream.        It was going to be Technovative or

   20   one of the other companies.          And the receiver was only for

   21   Technovative.     Technovative.

   22              So when that was undone, undone meaning SeeCubic

   23   couldn't -- didn't have -- couldn't have taken these assets,

   24   that they went back to Technovative, right.                    And at the time,

   25   immediately prior to bankruptcy, those assets were in control


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    1   by the receiver.     And once the bankruptcy was filed, they were

    2   no longer controlled by the receiver, but now controlled by

    3   Technovative.    That's my -- how I look at this.

    4              MR. CAPONI:     Your Honor, you are correct, the way --

    5   so you are correct that the assets -- the title -- as a result

    6   of the supreme court decision, title to the assets always

    7   resided with the non -- the predecessor to SeeCubic, and then

    8   the Court of Chancery was tasked with physical possession going

    9   back in an orderly fashion.

   10              That physical possession going back is what I was

   11   referring to, never occurred.            It went -- they stayed at the

   12   entity levels and the receiver took possession of Technovative

   13   and everything -- and everything below Technovative by virtue

   14   of Technovative -- everything being wholly owned.

   15              So yes, Your Honor is correct that as of the -- the

   16   day -- the minute before the bankruptcy filing, Stream had no

   17   assets.   As a result of the bankruptcy filing, the receiver is

   18   out of the way and you could argue that Stream has, you know,

   19   assets again.

   20              THE COURT:    So Stream doesn't have anything,

   21   Technovative has it.     All that Stream has is its interest in

   22   Technovative.

   23              MR. CAPONI:     Correct.

   24              THE COURT:    The assets, whatever they are that the

   25   trust -- that the receiver was in charge of remain with the


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    1   receiver.    And now, once the receiver is no longer in place,

    2   then they belong to whoever.           In this case it would be either

    3   -- you were saying SeeCubic, B.V. with the receiver was in

    4   control over is no longer in control and the receiver's no

    5   longer in control, then whoever was in control before the

    6   receiver was appointed remains in control.

    7               MR. CAPONI:    Yeah, so now -- yes.

    8               THE COURT:    And you guys want to challenge that in

    9   the Netherlands, which is a whole different issue because I

   10   have to find out what in counsel you acknowledge that you can

   11   in fact defend the stay of third parties -- I'm going to call

   12   them third parties to the extent that it's an extraordinary

   13   relief, but it has been done.            I'm not saying that I would do

   14   that.

   15               But I have -- counsel, I think I've told you that and

   16   this is my apologizing.       I had a couple emergency -- I have

   17   some emergencies.     I'm going to try to see if someone else can

   18   take care of my 3 o'clock responsibility.                      I've got about -- is

   19   that 2:58?    I've got about seven minutes to get someone.

   20               I'm going to put everybody on hold.                   Do not hang up.

   21   And I will see if I can get someone to cover for me and then we

   22   can just continue without any interruption, okay.                     Hold on one

   23   second.

   24               MR. CAPONI:    Thank you, Your Honor.

   25               THE COURT:    All right.          Now, how do I do this?


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    1              Okay.   Counsel, we can continue.                     I think where we

    2   left was Mr. Mazza was -- or maybe it was Mr. Caponi was

    3   discussing their position with respect to the custom of the

    4   deposition testimony of Mr. Rajan and what that meant with

    5   respect to the alleged violation of the stay, and what assets,

    6   and actually some other points that Mr. Caponi was trying to

    7   make.

    8              Is there anything else that we need with respect to

    9   the parties in opposition to the motion for relief from stay?

   10   Anybody else?

   11              MR. DEMARCO:     Yes, Your Honor.                   This is Andrew

   12   Demarco from Devlin Law Firm regarding Rembrandt 3D.                       We filed

   13   an objection in this matter, this was DI 103.                       We have concerns

   14   regarding our license to our intellectual property among the

   15   creditors.    We also seek --

   16              THE COURT:     Wait a minute.              Wait a minute.       Wait a

   17   minute, counsel.

   18              MR. DEMARCO:     Absolutely.

   19              THE COURT:     You filed an objection -- you filed an

   20   objection to the motion for relief you're saying?                       I mean, the

   21   motion for violation -- alleged violation of the stay?

   22              MR. DEMARCO:     We -- it is -- Rembrandt's position is

   23   we do not wish any relief of the stay.

   24              THE COURT:     Okay.      Wait a minute.               You filed a -- you

   25   filed -- where's your filing at, counsel?


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    1              MR. DEMARCO:     It is docket entry 103, Your Honor.

    2              THE COURT:     Oh, so yours was an objection to the

    3   motion to dismiss.

    4              MR. DEMARCO:     I apologize, Your Honor.

    5              THE COURT:     That's okay.            I see it.        I see it.       So

    6   right now, we're just looking at the motion for alleged

    7   violation of the stay, but we'll get to the other stuff.                           I'm

    8   just trying to keep --

    9              MR. DEMARCO:     I apologize.

   10              THE COURT:     That's all right, counsel, because other

   11   counsel actually sort of talked about                  it already, so that's no

   12   -- not -- I get it, because they did kind -- two counsel did --

   13   did discuss briefly the motion to dismiss in connection with

   14   the motion for a finding of a violation.                       So I'll get to that.

   15              MR. DEMARCO:     Absolutely.

   16              THE COURT:     I just want to try to wrap up that.

   17              MR. DEMARCO:     That's okay, Your Honor.                  I'm happy to

   18   sit back -- I'm happy to sit back and wait.

   19              THE COURT:     All right.          Thank you, counsel.

   20              Okay.   So are there any other oppositions, anyone who

   21   wishes to set forth their opposition to the Debtor's request

   22   for a finding that there is -- there was a violation of the

   23   stay and that there is a need for turnover and for -- and they

   24   were also asking for sanctions, I guess.                       All right.   Anybody

   25   else?


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    1              All right.    Hearing no response, I'm going to let --

    2   is there a brief response -- brief, counsel, from debtors with

    3   respect to -- I really need some clarification on this

    4   ownership issue of this bonding equipment.

    5              MR. ALEXANDER:       Thank you, Your Honor.                 Vincent

    6   Alexander on behalf of the Debtor.                Can you hear me fine, Your

    7   Honor?

    8              THE COURT:    Yes, I can.

    9              MR. ALEXANDER:       Okay.        I just wanted to clarify a

   10   couple points and it relates to the ownership of the bonding

   11   equipment.

   12              First, we attached to our motion the actual purchase

   13   contract which shows that the purchase was in the name of

   14   Stream.   So Stream is the entity that purchased the equipment.

   15   There have been no --

   16              THE COURT:    Okay.       Wait a minute, counsel.                Wait a

   17   minute.   Where is that at?         You said you guys filed a motion,

   18   then you filed your supplemental motion.                       Is it in the original

   19   -- attachment to your original motion?

   20              MR. ALEXANDER:       Yes, Your Honor.

   21              THE COURT:    Okay.

   22              MR. ALEXANDER:       That docket entry 49-1.

   23              THE COURT:    Yeah, okay.            49-1.          Exhibit 1.   Okay.

   24   Purchase agreement.     Okay.       The sales agreement between Stream

   25   TV and I'm not even going to try to pronounce this name.


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    1              MR. ALEXANDER:       Your Honor --

    2              COURT REPORTER:        This is the Court Recorder.                The

    3   Judge got disconnected briefly.              She'll be back in a moment.

    4              THE COURT:    Counsel, I'm back.                    I guess I have to

    5   have two disconnects before the phone will continue.                       We're

    6   going to follow a pattern here.              I have no clue what that's all

    7   about.

    8              So there's a sales agreement between Stream and the

    9   seller which is in Nagano, Japan.               I don't even know if I'm

   10   pronouncing it correct, for delivery in China from what I can

   11   gather.   And that, counsel, you believe is the stay of

   12   agreement for this bonding equipment?

   13              MR. ALEXANDER:       That's correct, Your Honor.                 And the

   14   purchaser of the equipment was Stream TV Networks, Inc, who is

   15   the Debtor in this bankruptcy case.

   16              THE COURT:    Well, there's a little dispute because

   17   the -- the -- SeeCubic says that it was actually owned by

   18   SeeCubic, B.V.    I don't know if there's some other documents

   19   after this, but I know --

   20              MR. ALEXANDER:       They don't have any --

   21              THE COURT:    What, counsel?

   22              MR. ALEXANDER:       They don't have any documents

   23   demonstrating -- they don't have any documents demonstrating

   24   that, Your Honor.     There are no documents demonstrating the

   25   transfer that they had from Stream TV Networks to SeeCubic B.V.


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    1   That's not a disputed issue.

    2               THE COURT:    Well, they believe it's disputed.              I

    3   guess I have to figure out how --

    4               MR. ALEXANDER:       Well, you can believe a lot, but that

    5   doesn't mean it's actually disputed.                   So that's one of the

    6   things that they say a lot of things in terms of counsel for

    7   Hawk and SeeCubic.       But when you actually look at the

    8   underlying facts, it just doesn't bear out.

    9               And that also goes to the point of when you ask about

   10   foreclosure and repossession, to be clear, there has been no

   11   foreclosure completed by Hawk or SeeCubic with respect to any

   12   assets of --

   13               THE COURT:    So counsel, they -- I think they

   14   acknowledged that there's been no completed foreclosure.

   15               MR. ALEXANDER:       And there's --

   16               THE COURT:    I think what they said is that they sent

   17   notices that under the terms of their documents that

   18   constituted foreclosing.         I'm assuming they did it under -- I'm

   19   not going to assume anything.             They believe they had security

   20   interests and that they executed and foreclosed pursuant to

   21   whatever those rights were as a secured creditor.

   22               I was going to say I'm assuming they did use CC

   23   remedies.    But I don't know.          I could be totally wrong.         But

   24   that's --

   25               MR. ALEXANDER:       But no, I understand.           But they never


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    1   had possession of the, you know, at the time this happened,

    2   they didn't have possession.           And I think Mr. Caponi even said

    3   they demanded the share certificates but they never received

    4   them.

    5              So they never had possession of the assets and they

    6   certainly today don't have possession of the bonding equipment,

    7   but they're interfering with the Debtor's interest in the

    8   bonding equipment.     It seems almost as if they're arguing on

    9   behalf of SeeCubic B.V., but neither of them represent SeeCubic

   10   B.V. with respect to the bonding equipment.                    That's a

   11   subsidiary of the Debtor.         So it seems a little disingenuous to

   12   argue that somehow they have possession, you know, of the

   13   equipment.

   14              So it's not like how the supreme court case in which

   15   they're citing.    There's no paths of retention because there

   16   was no -- A, there was no foreclosure process, there was no

   17   repossession, and they're not actually in possession.                      But

   18   they're interfering with the Debtor's possession and that's the

   19   exact point, is that they're interfering with the Debtor's

   20   possession of that bonding equipment, which is integral to the

   21   reorganization process.

   22              And I know Your Honor picked up on the fact that

   23   there were no operations while they didn't have the assets, so

   24   I'm not going to discuss that.             But prior to that point, they

   25   did have contracts and they did have revenue with companies


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    1   like Bosh and Google.      So you know, there were instances when

    2   they did sell 5,000 units, and so it's not as if this entity

    3   never sold.    I mean, it has product it did ship out and it

    4   wants to get back to that, but it needs possession of its

    5   assets in order to do so.         So you know, this is not --

    6              THE COURT:    And when you say -- so who so counsel?

    7   Which entity did this --

    8              MR. ALEXANDER:       Stream -- Stream TV Networks, Your

    9   Honor, the Debtor.

   10              THE COURT:    Okay.       Okay.        So what I'm trying to

   11   figure out is the bonding equipment is actually in possession

   12   of a third party?

   13              MR. ALEXANDER:       That's correct.

   14              MR. MAZZA:    You're right, Your Honor.             Correct.

   15              THE COURT:    So it's in possession of a third party

   16   who is willing to turn it over under what conditions?

   17              MR. ALEXANDER:       The condition for turnover, Your

   18   Honor, is that Patrick Soon (phonetic) at SeeCubic B.V., who is

   19   the -- who leased the space.           Apparently, he leased the space

   20   once SeeCubic entities directed the transfer of the property

   21   during the time in which the omnibus agreement was in effect,

   22   for him to authorize it.        And he's refused to authorize it

   23   because Mr. Stastny on behalf of the secured entities has said

   24   don't release it to them because it's not their property.

   25              THE COURT:    So who's property is it?


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    1               MR. ALEXANDER:      It's the Debtor's property.

    2               THE COURT:   They sent a purchase agreement.

    3               MR. ALEXANDER:      Correct, Your Honor.

    4               THE COURT:   Okay.       So basically a third party has it

    5   and someone's told the third party -- and the third party is

    6   basically to be indemnified and said you guys figure this out.

    7   I'm not turning this over to that.                If there's a problem, I'm

    8   stuck with it.    I get that.

    9               And now if the lease by -- who was the original party

   10   to the lease?

   11               MR. ALEXANDER:      Well, Your Honor, if you recall, the

   12   length the omnibus agreement was in effect, SeeCubic took

   13   control of the Debtor's assets, including the downstream

   14   entities, which would include SeeCubic B.V.                    And once they took

   15   control, they had SeeCubic B.V. enter into a contract with

   16   entity which moved the equipment from the prior location that

   17   it was being housed to this new location.

   18               THE COURT:   But under the terms of the -- that

   19   agreement is not affective anymore.

   20               MR. ALEXANDER:      I understand, which is why the

   21   Debtor --

   22               THE COURT:   How do you unwind this?                So how do you un

   23   -- so what was supposed to happen when this -- the assets were

   24   given to -- I'm going to say given, because I'm not -- well,

   25   transferred to SeeCubic.        One the Delaware Court said this is


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    1   not effective because the Class B didn't sign, we have to

    2   unwind.     Because that's basically what they were saying, unwind

    3   it, okay.

    4               What did the parties -- what did unwind mean?               Undo?

    5   What do you think it meant?

    6               MR. ALEXANDER:      Well, Your Honor, SeeCubic B.V. was

    7   not a party to that agreement, so the assets should have

    8   gone --

    9               THE COURT:   I mean, not SeeCubic -- right.

   10               MR. ALEXANDER:      No, no.         Understood.    I'm talking

   11   about the supreme court in that litigation, so.

   12               THE COURT:   Right.        SeeCubic Inc.

   13               MR. ALEXANDER:      The supreme court --

   14               THE COURT:   Right, right.

   15               MR. ALEXANDER:      But the Supreme Court said the assets

   16   are supposed to go back to Stream.                It's clear that the omnibus

   17   agreement was of no effect and that it should be unwound.                   And

   18   then there's a Delaware Chancery Court order after that that

   19   says the assets are supposed to go back to Stream.                It says

   20   Stream should be entitled to have its assets so that it has the

   21   opportunity to repay its creditors.                 That is the -- they were

   22   supposed to go back to Stream.

   23               MR. MAZZA:   Your Honor, if I may just interrupt for a

   24   second.     The -- there was an order entered by the chancery

   25   court that said if Stream wanted to get back the bonding


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    1   equipment, it had to post a bond.               So that was how the state of

    2   play had been set up after the supreme court issued its opinion

    3   last summer, invalidating the omnibus agreement.

    4               As you can imagine, the chancery court -- there were

    5   practical issues in unwinding -- unscrambling the egg.               And so

    6   it took, you know, quite some time to figure out how to do

    7   that.   Mr. Caponi had explained that the stock was essentially

    8   given back to Stream and Technovative so that they could have

    9   control again.    And then the judge -- chancellor put in place

   10   an injunction for Hawk to be able to exercise its remedies for

   11   ten days.    And then when that expired, Hawk exercised its

   12   remedies and that got the parties into this 225 action that was

   13   near completion in the chancery court right before the filing

   14   here.

   15               So for counsel of the Debtor to say that this is all

   16   supposed to be returned, the chancery court was dealing with

   17   this all on remand and had a receiver in there to deal with all

   18   the practical issues around it, who incidentally put a bonding

   19   -- who recommended to the vice chancellor to put a bonding

   20   order in place, which the vice chancellor thought was a good

   21   idea, which would resemble any kind of adequate protection that

   22   might happen in a bankruptcy court if this were to be turned

   23   over.   And so that's where we are.

   24               THE COURT:   Yes.       And now we're in bankruptcy.

   25   Receiver no longer in effect.            What does that -- first of all,


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    1   in bankruptcy, you're going to have to have insurance.                    That's

    2   just a given.    You can't be in bankruptcy and not ensure the

    3   assets of the estate.

    4              Assuming that the bonding -- based on that purchase

    5   agreement, and counsel, you're going to have to -- I haven't

    6   seen anything from the other side to the contrary.                    Because you

    7   said it was owned by SeeCubic B.V.                The only document I've had

    8   so far, and maybe you do have some and you're going to point

    9   them out to me. The purchase agreement was with Stream.                     And so

   10   if the purchase agreement was with Stream, I'm not quite sure

   11   absent some record or document how ownership went to SeeCubic.

   12   Okay?   So as far as I am concerned unless you want to show me

   13   something to the contrary.          That would be assets of -- the lack

   14   asset of the Debtor -- of Stream TV.

   15              And so my question then becomes, okay.                   If it's the

   16   property of the Debtor, then yes, if you executed on it and it

   17   your properly executed then you don't have to turn it over as

   18   to the turnover action.       But if you didn't properly execute on

   19   it, you may have two things you're facing.                     Yes, you may have a

   20   turnover action, but if you haven't properly exercised control,

   21   you're violating the stay.

   22              So the fact that on their -- on the Supreme Court

   23   decision a turnover action is required, that's if you are

   24   lawfully -- and you didn't use the word lawfully in possession

   25   but you were in possession and you were maintaining the status


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    1   quo, then obviously, you didn't violate the stay.                     But if

    2   you're not in possession and you don't have a right to be in

    3   possession, you're not maintaining the status quo.                     You're

    4   violating the stay.

    5              I don't know which one of it is.                    I don't, you know,

    6   I see documents that say they own it.                  And you're saying that

    7   even if they own it, we executed against it so we're properly

    8   exercising control over it.          But it's with a third party.

    9              So my question is did you send something to the third

   10   party saying we have control over this.                    This is ours.   That's

   11   really where this is going to go because it's no different if

   12   something was with a bailiff that they have that you have to

   13   send something to them saying, hey, this is mine.                     Don't give

   14   it to anybody else.      I don't know if you did or did not do

   15   that.

   16              And if you didn't do that, it seems to me on a high

   17   level looking at this, you don't have a right to do anything

   18   with this thing yet.     And if you don't, whether they file a

   19   turnover action or not, there's some issues about whether

   20   that's a violation of the stay.              I don't know.         I don't know.

   21   I don't have a record.

   22              And I'm -- obviously we need an evidentiary record.

   23   I'm not going to sit here and say, oh, I find it without a

   24   record.   But I'm just saying just from discussion with counsel,

   25   logically for me, is that I see a purchase agreement and the


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    1   only evidence I have is this purchase agreement which is

    2   between Stream and the seller from Japan who I'm not going to

    3   try to pronounce, for the bonding equipment.

    4              I don't have anything saying that it went to this --

    5   now, maybe Stream sent it to SeeCubic B.V.                     I don't know how it

    6   got to SeeCubic B.V.     And what I'm hearing is that before

    7   SeeCubic Inc took over, there was a lease between someone else

    8   and a storage unit and it got transferred to a different one

    9   under a lease that I don't know is valid or invalid or I don't

   10   know what it means because SeeCubic Inc -- what is it, who

   11   everything was transferred to, one says that omnibus agreement

   12   was void or invalid, never had a right to do anything.

   13              So you know, it gets a little complicated for me.

   14   I'm trying to unwind     what does the unwinding mean.                 And so

   15   that's on a high level for me is what does that mean as an

   16   initial -- initial matter.

   17              I get the concern about insurance.                   That's a

   18   requirement.    So whether the chancery court ordered it, you

   19   have to insure assets in bankruptcy.                  So that's nonnegotiable.

   20              The other issue that I think I heard was, well we

   21   want to know how they're moving equipment, who's working on it,

   22   and all that other stuff.         As a secured creditor, we have that

   23   right to ask for that.      That has nothing to do with whether you

   24   exercised your rights.      It has to do with whether the

   25   collateral securing your loan is going to be protected.                    That


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    1   has nothing to do with this claims about violating a stay or

    2   any of that stuff.      That is just simple bankruptcy requirements

    3   and issues.    So even if you tell us to turn it -- to release it

    4   to them, that they don't have to insure this.                    They should be

    5   insuring it no matter where it is because it's an asset of the

    6   estate, and so that's how I'm looking at this.

    7              Counsel, is there anything that you have for me that

    8   -- all I have is this purchase agreement that shows it was

    9   owned by SeeCubic CV?      I think that's who you said owned it?

   10              MR. CAPONI:     Yes, Your Honor.                Steve Caponi again.

   11   Do I have anything?      No, that's what discovery is for.                We

   12   don't control -- we don't have access to the records of

   13   SeeCubic B.V. other than --

   14              THE COURT:    Well, then on what basis then are you

   15   asserting that they're the owner?

   16              MR. CAPONI:     Because during the course of the --

   17              THE COURT:     You're telling me -- okay.

   18              MR. CAPONI:     During the course of the 225 action and

   19   the receivership, Your Honor, we had multiple discussions with

   20   the receiver, and if you recall, there was a motion practice

   21   over who should take possession of the equipment.                    And it was

   22   all parties to the receiver who had access to the company and

   23   the individuals, as well as Stream, all acknowledged that the

   24   equipment belonged to SeeCubic B.V.

   25              And that's why the court entered -- the Court of


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    1   Chancery entered a specific order after the receiver

    2   recommended that it was appropriate for Stream to get access to

    3   it if it complied with certain requirements, including posting

    4   a -- I think it was a three or four-million-dollar bond, that

    5   it got transferred.

    6              So we litigated this issue.                 Stream never once said

    7   this belongs to me.      Everyone acknowledged it was in possession

    8   of SeeCubic B.V.     My client never controlled SeeCubic B.V.

    9              THE COURT:    In possession doesn't mean --

   10              MR. CAPONI:     Sorry, owned by.

   11              THE COURT:    Counsel, in the --

   12              MR. CAPONI:     Owned by, Your Honor.

   13              THE COURT:    Right.

   14              MR. CAPONI:     Owned by SeeCubic B.V.

   15              THE COURT:    Everybody acknowledged -- there's some

   16   document that says we acknowledge that it's owned by SeeCubic

   17   B.V. or it's in possession of SeeCubic B.V.?                   Two separate

   18   issues.

   19              MR. CAPONI:     Owned, Your Honor, and again, this is

   20   why, you know, an evidentiary hearing -- there are a lot of

   21   complicated issues.      There are very divergent views as to the

   22   history.   It's a long history.            You're looking at a purchase

   23   order from almost a decade ago.              Two bankruptcies, you know, an

   24   omnibus agreement, and multiple defaults of secured debt, you

   25   know, and many years of operating this company, a lot has


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    1   changed.

    2              Title of this as our understanding and my belief is

    3   with SeeCubic B.V.      We get some targeted discovery from

    4   SeeCubic B.V. and the Debtors, we'll prove it at an evidentiary

    5   hearing.     And Your Honor will find out as between these two

    6   parties whether there's a real purchase order or a fake order

    7   or whether they're, you know, who owns this or who doesn't.

    8              THE COURT:    Well, you mean you think that -- you

    9   believe that this -- that what's presented here is a fake

   10   purchase order?

   11              MR. CAPONI:     The purchase order?                 Yeah, Your Honor.

   12   We absolutely believe that there is no legitimate third party

   13   that ordered $100 and some million worth of TVs.

   14              THE COURT:    No, no, no, no.               No, no, no, no, counsel.

   15   I'm talking about this sales agreement.

   16              MR. CAPONI:     No, no, the sales agreement.

   17              THE COURT:    Yes.

   18              MR. CAPONI:     No, no, I'm not contesting the sales

   19   agreement, but it's from 2015.             A lot has transpired since then

   20   and we don't -- we -- it is my understanding and I believe

   21   Stream conceded this point, we were told this by the receiver

   22   that -- exactly how or when or why, I don't have the answer

   23   because it was never in dispute, that SeeCubic B.V. owns this

   24   equipment.     That's why SeeCubic B.V. has been paying for it and

   25   paying the rent on it and renting the warehouse.                     No one


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    1   contested that.    It wasn't until they filed this motion a

    2   couple days ago that I've heard a different story.                      So I can't,

    3   you know --

    4              THE COURT:    But counsel, you were also -- but my

    5   concern also was that there was an original lease between

    6   somebody and someone, and then that equipment -- maybe that's -

    7   - maybe that's wrong, that the equipment was moved to a

    8   different location under a different lease by SeeCubic B.V.,

    9   right?   Or was it SeeCubic Inc?             Who has the current lease?

   10              MR. CAPONI:     It's -- well, so make sure I'm

   11   understanding your question, Your Honor.                       The equipment is

   12   owned.   It is put in a warehouse and that space is leased.                       And

   13   there was a -- SeeCubic B.V. had the original warehouse and I

   14   believe a few months ago the owner of that warehouse was

   15   converting the building or something, and SeeCubic B.V. leased

   16   new space and moved the equipment into the new space.

   17              THE COURT:    Okay.

   18              MR. CAPONI:     So if you're referring to real property

   19   lease, that was SeeCubic B.V.

   20              THE COURT:    SeeCubic B.V. is the party to the lease.

   21   Okay.    And the Debtor has an interest in -- the Debtor has an

   22   interest -- at least Technovative has an interest in SeeCubic

   23   B.V., right?

   24              MR. CAPONI:     Indirectly, yes.

   25              THE COURT:    What do you mean indirectly?                   Don't they


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    1   own the party that -- the general partner who owns the interest

    2   in the Netherlands entity that owns SeeCubic, do they not own

    3   the interest in all those things?               So yes, they're not

    4   directly, but the own the -- they're the -- 99 percent .9,

    5   they're respectively the owners of the company who -- they're

    6   the owners of the --

    7              MR. CAPONI:     Of course, Your Honor.              I just meant to

    8   insinuate --

    9              THE COURT:    Right.

   10              MR. CAPONI:     -- they were not the direct owner, but

   11   there are some levels in between.

   12              THE COURT:    Right.

   13              MR. CAPONI:     I don't recall how many, but yes,

   14   ownership wise, they eventually get there.

   15              THE COURT:    All right.           So what I'm trying to

   16   understand is Technovative owns through its ownership interest

   17   or the ownership interest of the ownership interest is saying

   18   that we -- that some -- that they directed someone to allow the

   19   property to be returned to or released to Stream.                  And so what

   20   they're saying is that our interest in this interest in this

   21   interest, we -- is being interfered with and we have an

   22   interest in that asset through these other parties, and that

   23   someone's directing the -- someone's directing SeeCubic B.V.

   24   not to release it to Stream.           Isn't that sort of what I'm

   25   hearing?


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    1              MR. CAPONI:     So Your Honor, yeah.                 That's -- that is

    2   what the Debtor's position is.             My client, to be clear, Hawk,

    3   is   not instructing anybody to do or not do anything.                      We're

    4   here because we were accused of hiding this equipment and we're

    5   not and -- yeah.     Go ahead, Your Honor.                 Sorry.

    6              THE COURT:    So why isn't somebody just finding --

    7   what's the problem?      Let's cut to the chase, why isn't it being

    8   given to Stream?

    9              Okay.   I get the insurance issue.                   I get the

   10   insurance.    They have to insure it.               As a secured creditor with

   11   a security interest, you want something in addition, correct?

   12              MR. CAPONI:     Yes, we want adequate protection.                    Yes.

   13              THE COURT:    Okay.       And adequate protection means that

   14   you believe you have possession of it and because you have

   15   possession, it shouldn't go back to them.                      But I don't get how

   16   the secure creditor who doesn't have possession because it's

   17   with a third party and you don't control SeeCubic B.V., how you

   18   get to say anything.     You can always ask for adequate

   19   protection.

   20              MR. CAPONI:     Your Honor --

   21              THE COURT:    But I'm not quite sure how you get

   22   through all of that.

   23              MR. CAPONI:     Yeah, I -- Your Honor, I think maybe --

   24   maybe everyone got the cart before the horse on this one.

   25              THE COURT:    Yes, you did.


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    1               MR. CAPONI:    Okay.       Let me -- let me step back for a

    2   second.     SeeCubic B.V., as far as I'm -- my client Hawk and I

    3   am concerned, SeeCubic B.V. -- why is SeeCubic B.V. not turning

    4   anything over?    SeeCubic B.V. is the operating entity where

    5   these employees reside and this is where they get their

    6   paychecks and this is their future.                 They absolutely detest Mr.

    7   Rajan, and don't trust him. They've been burned by him. They --

    8               THE COURT:    What does that have to do with anything?

    9   I mean --

   10               MR. CAPONI:    It has to do with your question.               Why

   11   are they not turning it over?            And why are they taking steps in

   12   there?    Because they feel like their company's being fleeced by

   13   this guy, not at my client's direction.                    They're human beings

   14   with their own brains and they're in an entity.                    We're being

   15   accused by the Debtor of orchestrating that.

   16               What I'm saying is I'm not orchestrating it.                 You

   17   asked me why they're doing it.             I told you why they're doing

   18   it.   Whether there's legal color to do that, that's I guess for

   19   the Netherlands court and this Court to concern.                    I can only

   20   tell you as a secured creditor, I'm not telling them to do it.

   21   I'm not violating any stay for a whole host of reasons.                    And if

   22   at some point that entity is told to turn it over, we want that

   23   turnover to be -- only occur after we're, you know, we have

   24   adequate protection.

   25               I'm only responding -- this is not a turn -- as Mr.


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    1   Mazza indicated, this is not a turnover motion.                      This isn't an

    2   adversary proceeding where the Debtor --

    3              THE COURT:    Even if it is an -- even if it is or is

    4   not an adversary, you're not in possession so I'm not quite

    5   sure whether there's a motion, an adversary or whatever.                         Yes,

    6   on the 7001 turnover or adversary matter.                      It doesn't matter

    7   because you're not in possession.

    8              MR. CAPONI:     Your Honor, I don't know why we're here.

    9   We're not in possession.        I don't -- my client does not have

   10   it.   It's not sitting on the Debtor's assets, but the Debtor

   11   filed a motion accusing my client of interfering with its

   12   assets.   So the Court's point --

   13              THE COURT:    Because they believe --

   14              MR. CAPONI:     You're right.

   15              THE COURT:    Yeah.       That's because they believe --

   16   whether you deny it or not, they believe that you are

   17   orchestrating this.

   18              MR. CAPONI:     Your Honor --

   19              THE COURT:    That's how I'm seeing it.                  Now, I don't

   20   know who is or isn't.      You're saying you don't have -- your

   21   client is not involved in this at all.                   This is solely at

   22   SeeCubic's direction and then you mentioned some names.                      I

   23   don't know who these people are, I mean, and nobody's -- I

   24   heard Mr. Stastney?      Who's he?

   25              MR. CAPONI:     Stastney.          Mr. Stastney was the


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    1   individual who used to be at Stream and then ran SeeCubic, Inc.

    2   And Your Honor, I've had -- I, my firm, has had zero

    3   communication with the individuals at SeeCubic B.V. to ask them

    4   why they are doing or not doing what they're doing and I guess

    5   discovery will bear that out as well, but it's not at my

    6   client's direction.

    7               THE COURT:    Okay.      But Mr. Stastney, did -- was part

    8   of SeeCubic Inc who everything was transferred to, correct?

    9               MR. CAPONI:    Correct.          And I should also mention, he

   10   is, I believe, a director -- he is the director of SeeCubic

   11   B.V. as well.    So I think one of the issues that the employees

   12   of SeeCubic B.V. has is that Mathu Rajan proports to be the

   13   director, but in the registry over there, which is the official

   14   document, it's Mr. Stastney so they're questioning who they're

   15   supposed to take direction from and I think that's the purpose

   16   of the proceeding over there.            But I'm not involved in it.

   17   That's just my understanding.

   18               THE COURT:    And who filed the proceedings in the

   19   Netherlands?

   20               MR. CAPONI:    I don't know if Mr. Mazza knows.            I do

   21   not know.

   22               THE COURT:    Well, who filed the --

   23               MR. MAZZA:    Yeah, this is Mr. Mazza.             It is the -- it

   24   was the law firm Brisbois who brought a summary proceeding in

   25   connection with the --


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    1               THE COURT:   On whose behalf?                Who all --

    2               MR. MAZZA:   If you give me a --

    3               THE COURT:   Yeah, you go ahead and I'm going to --

    4   I'm going to do something in a minute.                   We'll get to that.

    5               MR. ALEXANDER:      Your Honor, this is Vincent Alexander

    6   on behalf of the Debtors.         In terms of the lawsuit, I believe

    7   what you're referencing is at docket entry                     90-1.

    8               COURT REPORTER:       I think the Court dropped off for a

    9   minute.

   10               MR. ALEXANDER:      Okay.

   11               THE COURT:   Hello?        Counsel?

   12               MR. ALEXANDER:      Your Honor, this is Vincent

   13   Alexander, counsel for the Debtors.                 The lawsuit, it's -- we

   14   filed it.    It's docket entry 90-1.              And parties to that lawsuit

   15   are Mr. Stastney, SOS Holdings 6, LLC, Hawk Investment Holdings

   16   Limited, SeeCubic, Inc, and then some of the Stream

   17   subsidiaries that are directly and indirectly controlled by the

   18   Debtors.

   19               So for counsel to sit here and say that their clients

   20   aren't involved, it just doesn't bear out by the document that

   21   they actually filed.

   22               MR. MAZZA:   Your Honor, it -- Jim Mazza, here.                   So

   23   just to be more precise, the Dutch entities that their party

   24   would be the Alterate Coopertif (phonetic), if you have the

   25   chart handy, Stream TV International B.V., and SeeCubic B.V.


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    1   So all are non-debtor entities.              Just the --

    2              THE COURT:    Counsel, I didn't ask if they were

    3   debtors.   I asked who -- because counsel said we aren't

    4   involved in that.     We don't know anything.                  This is Mr.

    5   Stastney and SeeCubic B.V. filing in the Netherlands.                    And now

    6   I'm hearing that it's more than that.                  So of your clients all

    7   so whoever involved in the litigation in the Netherlands?                      Yes

    8   or no?

    9              MR. CAPONI:     Your Honor, this is Steve Caponi again.

   10   I will take counsel's word.          It was not my understanding that

   11   Hawk was involved in the Netherlands litigation.                    I thought it

   12   was actually filed by the employees, but again, I'm not

   13   involved in it.     My client had no involvement in telling them

   14   not to turn over the equipment.              If it was named as a defendant

   15   in a proceeding, news to me, but okay.

   16              THE COURT:    You didn't say this -- counsel, are they

   17   defendants?     Plaintiffs?     I mean, if they're defendants,

   18   they're defendants.      I asked who brought it.                 What is this at?

   19              MR. MAZZA:    I think that --

   20              MR. ALEXANDER:       Your Honor, they're plaintiffs.                It's

   21   documented in 90-1.

   22              THE COURT:    You know what?               Where's the -- where's

   23   the document.     Just point me to the document.

   24              MR. ALEXANDER:       90-1.

   25              THE COURT:    90 -- oh, that's the Exhibit --


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    1   translated.    Is that what we're talking about?

    2              MR. ALEXANDER:       That's correct, Your Honor.          And

    3   that's the matter that they're trying to set for hearing -- or

    4   is set for hearing on the 20th.              And if you look on the first

    5   page, with regards to plaintiffs, if you look at 4 through 7,

    6   SeeCubic Inc is in 4, Hawk is in 5, SLS is in 6, and Mr.

    7   Stastney, individual is in 7, and they're all the plaintiffs.

    8              MR. CAPONI:     I stand corrected.

    9              THE COURT:    Okay, so the -- yeah, I mean, so --

   10              MR. CAPONI:     I was unaware, Your Honor.

   11              THE COURT:    Okay.

   12              MR. CAPONI:     But a document is a document.            That's

   13   why I deferred to --

   14              THE COURT:    Right.

   15              MR. CAPONI:     When you asked me, I said I'd defer to

   16   Mr. Mazza because I wasn't sure, and now we have the answer.

   17              THE COURT:    Yes.       So all of these entities that are

   18   over here in bankruptcy saying that whatever's going on with

   19   these companies that the Debtor clearly sees is a holding

   20   company for all of these companies.                 Nobody's disputing that.

   21   Nobody's disputing that the Debtor's interest in these holding

   22   companies may be something that it needs to -- assuming, and

   23   I'm not making any finding.          Assuming that the Debtor gets the

   24   opportunity to reorganize, the Debtor's clearly saying we need

   25   these entities.


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    1              Someone's filing in the Netherlands some issues with

    2   respect to these debtor's interest in these exact properties

    3   that the Debtor has an interest in.                 And I know it's against

    4   Mr. Rajan, I think is what I can gather is that to a point

    5   somebody else as they're attorney, and they want -- what do

    6   they want to do?     And then they talk about Ultra-D Cooperative

    7   UA having a principle business in somewhere as purportedly

    8   represented by Mr. Rajan.         Okay.

    9              So what are they -- what are they trying to do?                    The

   10   court issues --

   11              MR. MAZZA:    If I may, Your Honor.                 So the issue --

   12              THE COURT:    Who's speaking?

   13              MR. MAZZA:    It's Mr. Mazza again, Your Honor.

   14              THE COURT:    Uh-huh.

   15              MR. MAZZA:    So the issue is it's an issue of

   16   compliance with Dutch corporate law and determination as to who

   17   are the -- who is the board at these non-debtor entities.                     And

   18   there have been issues with regard to legal notice and the like

   19   that would be applicable under Dutch law that the parties don't

   20   believe have been complied with.

   21              And so really what this particular proceeding was

   22   brought to do was to implement a status quo so that parties

   23   could figure out where to go from here.

   24              What Mr. Rajan has done is held himself out through

   25   what we're advised by Dutch counsel have not been acts that


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    1   have complied with Dutch law at these non-debtor subsidiaries

    2   and therefore there's a dispute as to whether he -- as an

    3   individual, has the control to hold himself out as such.

    4              MR. ALEXANDER:       Your Honor, this is Vincent Alexander

    5   for the Debtor.    I mean, that just really begs -- the question

    6   is what do these creditors of the Debtor, what is their

    7   interest at the downstream entities in terms of trying to

    8   impact and effect how the Debtor runs these entities and who

    9   the Debtor appoints.     I mean, it's clear that there's never

   10   been any transfer of the stock ownerships.

   11              And so upon the bankruptcy filing, all of these

   12   management and control rights belong to these debtors, whether

   13   it's Stream or Technovative, yet they're trying to usurp that

   14   process by going to the Netherlands.                  You know, these same

   15   entities that in individual are before this Court are trying to

   16   go to the Netherlands and take advantage of some proceedings

   17   over there, where they can then gain control over SeeCubic B.V.

   18              And if you recall, Your Honor, they're arguing that

   19   SeeCubic B.V. and if you recall, Your Honor, they're arguing

   20   that SeeCubic B.V. owns the bonding equipment.                   So then they're

   21   trying to seek and exert control over the bonding equipment.

   22              And so this is all an end run around the bankruptcy

   23   in terms of what they're trying to do.                   And on one hand, they

   24   claim that they have no knowledge of what's going on.                  But then

   25   when documents come out, oh, I guess that is happening.


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    1              That's the Debtor's concern is that they're trying to

    2   strip the Debtor of its management and asset rights through its

    3   subsidiaries.    And we believe that's improper and it does

    4   impact the estate, and that shouldn't go forward.

    5              MR. MAZZA:    And Your Honor, if I may just briefly.                 I

    6   think the point --

    7              THE COURT:    Who is -- wait a minute.               State your

    8   name.

    9              MR. MAZZA:    It's Mr. Mazza.               It's Mr. Mazza again,

   10   sorry, Your Honor.      Is that it's really a question of

   11   compliance with Dutch law.          And I think the Debtor is taking a

   12   really loose view of how things work in a way that we filed --

   13   we filed for bankruptcy.        I've already gone over the argument

   14   that Mr. Rajan had no authority to file Technovative.                  And then

   15   he wants to go down the chain and assert his authority which is

   16   contested as a matter of Dutch law at a Dutch entity.

   17              There are employees down there who don't know what

   18   their fiduciary duties are because of the issues around --

   19              THE COURT:    Well, as to the employees, their

   20   fiduciary duty is to the company.

   21              MR. MAZZA:    Right, right.

   22              THE COURT:    So now you're stating that Mr. Rajan has

   23   asserted that he's in charge.            Somebody else claims that

   24   they're in charge.      And this all needs to be cleared up because

   25   what?


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    1              MR. MAZZA:    It needs to be cleared up so -- it needs

    2   to be cleared up --

    3              THE COURT:    But that's to whose benefit?                   To whose

    4   benefit?     Because I'm not understanding why Hawk or any of the

    5   other parties -- what's their interest in this?                      What is the

    6   interest of Hawk Investments, SLS Holdings, what is it to them

    7   who controls SeeCubic B.V.?

    8              MR. MAZZA:    I'm sorry, Your Honor.                   Could you repeat

    9   the question?

   10              THE COURT:    What is it -- what is Hawk and SLS

   11   Holdings, what is their interest as to who controls B.V. --

   12   SeeCubic B.V.?     I guess it's current shareholders.

   13              MR. MAZZA:    Well, as secured -- right.                   As secured

   14   creditors in the structure, Your Honor.

   15              THE COURT:    Okay.       So secured creditors -- I don't

   16   know Dutch law.     So secured creditors can there file to have

   17   someone determine who's in charge?                Could you do that?        I guess

   18   you could in Delaware.      I don't remember Delaware law 10 to 15

   19   years ago.     I don't remember.

   20              MR. ALEXANDER:       Your Honor, Vincent Alexander on

   21   behalf of the Debtor.      To be clear, they're not secured

   22   creditors of SeeCubic B.V.          They're creditors of --

   23              THE COURT:    They claim that they are.

   24              MR. ALEXANDER:       No, they don't.                They don't claim

   25   that they are.     Their agreements are with Stream.                   That's who


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    1   their agreements are with.          They're agreements are with Stream.

    2               THE COURT:   Yeah, but counsel, but they said Stream

    3   assigned their interest in, I guess, including SeeCubic B.V.

    4   for security for the loans to Stream.

    5               MR. ALEXANDER:      No, I don't think any interest -- no,

    6   no interests were ever assigned.              I mean, you're saying there

    7   were pledge agreements as part of some of the instruments, but

    8   they can't effectuate those post-petition.

    9               THE COURT:   So are they or are they not creditors of

   10   SeeCubic B.V.

   11               MR. ALEXANDER:      They are not creditors of SeeCubic.

   12   They are not creditors of SeeCubic B.V.                    I haven't seen any

   13   filing in which they said SeeCubic B.V. owes them any dollar

   14   amount.

   15               THE COURT:   Mr. Mazza, are you saying you're a

   16   secured creditor?     How are you a secured creditor?

   17               MR. MAZZA:   I need to -- Your Honor, we need to take

   18   a look at the security documents as to how far down the pledges

   19   go.     I think, though, the point is --

   20               THE COURT:   What's the pledge?

   21               MR. MAZZA:   I'm sorry, Your Honor?

   22               THE COURT:   And the pledge agreement was a pledge of

   23   what?

   24               MR. MAZZA:   It would have been shares of various

   25   entities in the structure.          And I think the open question is


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    1   how far down does the share pledge go, so I don't know the

    2   answer to that off the top of my head.

    3              THE COURT:    So then what basis are you asserting that

    4   you're a creditor if your only interest that you know of is

    5   that Stream pledge is -- if ownership                  interest in SeeCubic

    6   B.V.    That doesn't make you a creditor.                  It just makes you a

    7   possible shareholder or interest or whatever it is that -- that

    8   Stream TV has when Stream TV currently owns.

    9              MR. MAZZA:    Right.

   10              THE COURT:    And if you haven't foreclosed on that

   11   interest, I don't know what your interest is.

   12              MR. MAZZA:    You're -- yeah.

   13              THE COURT:    This boggles me.                Everything about this

   14   case.    And I'm not pointing at any one of you, but you know,

   15   none of this makes -- is adding up.                 It isn't good for anybody,

   16   okay.    Because I have questions about all of the parties, all

   17   of them.

   18              And so I'm not understanding if you are not a secured

   19   creditor in the sense that you haven't loaned money to SeeCubic

   20   B.V.    They haven't put up their assets.                  What the heck are you

   21   guys doing in the Netherlands?

   22              MR. MAZZA:    Your Honor, and I'm sorry to complicate

   23   this even further.      But yes, there have been loans made to

   24   SeeCubic B.V. to fund that entity so there is a direct credit

   25   relationship.    So I know this isn't an evidentiary hearing and


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    1   there's a lot of complicated facts here, but there are direct

    2   credit relationships that relate to B.V. given the funding that

    3   has been made to B.V. during the course of its operations by

    4   Hawk --

    5              THE COURT:    You have loans and security agreements

    6   with SeeCubic B.V. is what you're telling me?

    7              MR. CAPONI:     Correct.          Correct, Your Honor.

    8              MR. MAZZA:    I can tell you there's loans and go

    9   ahead, Mr. Caponi.

   10              MR. CAPONI:     Your Honor, I don't get -- to Mr.

   11   Mazza's point, I don't have -- there's 20 some security

   12   agreements.    Most -- during -- some of the 18 original notes

   13   the money went directly to B.V., but more recently when the

   14   case was back in the Court of Chancery and the receiver was

   15   appointed, SeeCubic, Hawk, et cetera, funded the approximately

   16   $1 million a month cash burn rate at SeeCubic B.V. directly

   17   with -- from -- to SeeCubic B.V. with the receiver and there

   18   were lines of credit.      I just don't know all the terms of

   19   those.    But they were heavily secured, et cetera, et cetera.

   20   It was effectively like a dip financing.

   21              MR. ALEXANDER:       Your Honor, this is Vincent Alexander

   22   for the Debtors.     That was part --

   23              THE COURT:    Wait a minute.

   24              MR. ALEXANDER:       That was part of the receivership.

   25              THE COURT:    Right.        So the receiver, on behalf of


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    1   SeeCubic B.V., entered into some transactions where there was

    2   money and a security interest granted.

    3              MR. CAPONI:     It was court approved, Your Honor, yes.

    4   It wasn't some sort of, you know, secretive transaction.

    5              THE COURT:    Okay.

    6              MR. CAPONI:     The stream was for their --

    7              THE COURT:    Counsel, I wasn't even suggesting it was

    8   secretive.

    9              MR. CAPONI:     No, I think the other side is.       Your

   10   Honor, honestly, Stream is -- I mean, Stream is well aware of

   11   this.   It was -- it was -- they were -- it was a multi-party

   12   negotiated funding agreement where everyone signed off on it.

   13   So it's -- I just don't happen to have all the terms, but

   14   everyone's aware of it.

   15              MR. ALEXANDER:       Your Honor, this is Vincent

   16   Alexander.    Just to be clear, I wasn't trying to indicate that

   17   I was not aware and the Debtors aren't aware that there was

   18   some funding as part of the receivership, that some of these

   19   entities may have done.       Which particular one, I don't know.       I

   20   personally haven't seen a security agreement in terms of that

   21   funding that occurred.

   22              But again, that's not -- they're acting based on what

   23   they believe are their rights as secured creditors and the

   24   secured documents with respect to the Debtors in terms of being

   25   able to control management.          That's what they're acting --


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    1   they're not acting on behalf of anything that happened in terms

    2   of funding as part of the receivership.                    I mean, so there's a

    3   clear distinction about what they're trying to do.                    So that's

    4   -- that's irrelevant to what they're attempting to do.

    5              MR. CAPONI:     Your Honor, again, this is Steve Caponi.

    6   I'm not intimately familiar with the ins and outs of the

    7   pleading in the Netherlands, so I'm not going to proport

    8   otherwise.    I just want to correct counsel's statement.

    9              My client is seeking to enforce all of its rights

   10   however acquired, and that includes its secure creditor rights

   11   at the stream level as well as the, you know, millions of

   12   dollars that was more recently funded and is secured directly

   13   against the assets at the B.V. level.                  My client is not proud.

   14   It will enforce its rights in whichever manner it can, but it's

   15   enforcing all of them.

   16              THE COURT:    But counsel, what I'm trying to figure

   17   out how is bringing an action to have Mister -- and determine

   18   that Mr. Rajan is not in charge of SeeCubic B.V. an exercise of

   19   its rights in its collateral?            That's all I'm trying to figure

   20   out.

   21              MR. CAPONI:     Yeah, Your Honor --

   22              THE COURT:    Because I'm reading this and that's what

   23   this thing is trying to do.

   24              MR. CAPONI:     Unfortunately, Your Honor, I can't shed

   25   any light because I have no insights of -- never read the


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    1   pleadings, not been involved in it.                 I was just responding to

    2   -- it is not simply -- whatever Hawk's doing or SeeCubic,

    3   whatever's going on in the Netherlands, there are direct

    4   fundings as well as the legacy fundings, I'll call it, or the

    5   18 plus, 20 plus loans, so.

    6              THE COURT:    Yeah, so these pleadings have nothing to

    7   do with the funding.     They're not trying to foreclose on

    8   collateral.    What it relates to is whether Mr. Rajan has the

    9   authority to be in charge of this company, and I'm not quite

   10   seeing how that's an exercise against collateral.                 How that's a

   11   foreclosure on collateral.          I don't know.

   12              MR. CAPONI:     I would need to consult with Dutch

   13   counsel, Your Honor, because I don't know either.                 All I know

   14   is -- all I know is that there's an action in the Netherlands

   15   under Dutch law, and that's where my knowledge ends and we

   16   would need to get some, you know, understanding from Dutch law

   17   experts as to the nature of the action and the questions that

   18   Your Honor has.

   19              MR. MAZZA:    And if I may, Your Honor, Mr. Mazza

   20   again.   So on the pledges, there is a -- and we can file a

   21   supplement with the Court to provide additional information.

   22   So there is a pledge and escrow agreement that is in favor of

   23   SLS, the party -- secured creditor, by the Debtors Stream and

   24   Technovative Technology Holdings, Delaware LLC, Ultra-D

   25   Ventures CV, and down the chain to Ultra-D Cooperative.


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    1              The share pledges are 65 percent of the equity

    2   interest in Technoventures B.V. and 65 percent of the equity

    3   interest in SeeCubic B.V.

    4              THE COURT:    Okay, counsel.               And you believe that --

    5   I'm not understanding the relevance.                  Hello?

    6              MR. MAZZA:    I apologize, Your Honor.              There was

    7   background noise.     Do you mind repeating that?

    8              THE COURT:    I said, I didn't -- I'm not understanding

    9   the relevance to my question of what you just said, that there

   10   was a pledge of certain interest in SeeCubic B.V.

   11              MR. MAZZA:    Yeah, so to close the loop on that, Your

   12   Honor.   The issue regarding the contested governance down there

   13   is the exercise of the pledge as it relates to those non-debtor

   14   entities that is before the issue of contested governance

   15   that's in the Netherlands.

   16              THE COURT:    I get that, but you're saying based on

   17   the pledge, your clients have a right to do that because the

   18   interest was pledged?

   19              MR. MAZZA:    I apologize, Your Honor.              The issue --

   20   there's a pledge down there.

   21              THE COURT:    Okay.

   22              MR. MAZZA:    So let's take a step back.              The issue

   23   before that is the status quo was that Mr. Stastney was a

   24   director down there and that's what's dispute as a matter of

   25   Dutch law as to whether Mr. Rajan has taken the steps in order


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    1   to be able to take that claim as the director down at those

    2   entities.

    3               The pledge is in there.             It's not been exercised on

    4   as far as I know.

    5               THE COURT:   Right.

    6               MR. MAZZA:    But it is a non-debtor entity.                 So sorry

    7   for the long-winded clarification, but that -- those are the

    8   facts and happy to --

    9               THE COURT:   But counsel --

   10               MR. MAZZA:   Sure.

   11               THE COURT:   But counsel, I'm not understanding -- you

   12   only have a pledge.      You haven't foreclosed on the interest.

   13   At what -- what basis, when I have a debtor here who clearly

   14   has an interest in these entities and now their interest in the

   15   -- in management or whatever it is that's going on is now being

   16   callused somewhere else.        Because it clearly says -- and not

   17   only that, they specifically talk about Stream's demand that

   18   the bonding equipment be turned over to them.                     They're opposing

   19   that.

   20               How are they going to go to Dutch court and oppose

   21   something that's before me?          I'm leading this.             I got a problem

   22   with that.    That's what they're saying that Mr. Rajan's trying

   23   to take our assets and turn it over and he shouldn't be and we

   24   want you to stop him.      No, no, no, no, no.                 You're not going

   25   over there with that claim.          That claim is here.


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    1              Now, at the end of the day, I may say, okay.

    2   Somebody needs to figure out who has control of this, but it's

    3   not now.   Not when it's before me.               I have to first figure out

    4   who owns this thing.     Now, at the end of the day I say that

    5   SeeCubic owns it and somebody needs to figure out what to tell

    6   SeeCubic to do, we'll get there, but we're not there yet.

    7              Now, I don't appreciate people going to another

    8   jurisdiction and to get another court to decide that they own

    9   it and that nothing should happen and no direction should be

   10   made with respect to the turnover or release of that equipment.

   11   Because that's exactly what you guys have asked for.                    I'm

   12   reading it and I don't appreciate that.                    That's not going to

   13   happen.

   14              Now, if you guys want to go over there and fight

   15   about who's in charge, but I'm reading this and that's not all

   16   you're trying to do.

   17              MR. MAZZA:    So, Your Honor --

   18              THE COURT:    It says Mathu Rajan attempts to dispose

   19   of a value asset of Dutch SeeCubic operation.                    He wants them to

   20   turn over that bonding equipment, which is the exact issue

   21   before me as to who owns it.

   22              And so it's not a matter of whether Mr. Rajan is

   23   going to tell somebody to turn it over.                    I get to decide who

   24   owns it and then if I say it belongs to Stream, what in the

   25   world is going to happen in the Netherlands if they say, oh,


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    1   no.   We decided it belongs to SeeCubic.                   You can't do that.    We

    2   can't have two conflicting decisions.

    3              MR. MAZZA:    Mr. Mazza, again, Your Honor.                 Your

    4   Honor, completely understand, I think the issue around who owns

    5   it does need to be decided and I think there's confusion on

    6   that point.    Is it the B.V.?         Is it Stream?           I believe there's

    7   a letter from Mr. Rajan saying it's both Stream and B.V.s.

    8              And I think to just deescalate the allegations around

    9   stay violations, that Your Honor hit the nail on the head as to

   10   how this all can be dealt with through insurance and telling

   11   people where this equipment would otherwise go and we'd be sort

   12   of done with it.

   13              I think that Your Honor also hit the nail on the head

   14   as to the corporate law dispute.              That is what it is over in

   15   the Netherlands, and to the extent that that doesn't deal with

   16   issues around the bonding equipment which can be dealt with in

   17   a commercial fashion as already stated by Your Honor, then I

   18   think we can save a lot of people a lot of time around here.

   19              THE COURT:    And who was this?                 Wait, who was that,

   20   that proposed that?

   21              MR. MAZZA:    It was Mr. Mazza again.

   22              THE COURT:    Okay.       All right.

   23              MR. MAZZA:    And that's what, Your Honor, we proposed

   24   previously, so.

   25              THE COURT:    Okay.


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    1              MR. CAPONI:     Steve Caponi, again, for Hawk.            Just to

    2   chime in on what Mr. Mazza just said, and this gets to the

    3   motion we're eventually going to get to I hope about the

    4   dismissal.    I think regardless of who -- I mean, let's assume

    5   -- we know at the start of this bankruptcy, this asset was

    6   sitting at the SeeCubic B.V. level and it was being used and

    7   housed there.    That's the ordinary course, let's just call it.

    8              The problem we have with this case is there is no --

    9   the Debtors are not doing anything that you normally see.                  No

   10   first filed -- no first day motions, no bank accounts, no dip

   11   financing, no anything.

   12              If this were proceeding in the ordinary course, a lot

   13   of these issues would be addressed.                 But the Debtor, rather

   14   than teeing them up the way a debtor normally does, so for here

   15   example, Mr. Rajan versus -- rather than flying to the

   16   Netherlands and trying to get -- just take the equipment out,

   17   should have come to Your Honor and said I want to do something

   18   out of the ordinary course.          I want to take a valuable piece of

   19   equipment.    I want to move it from one subsidiary and I want to

   20   move it to the ownership of a different, and we would hash out

   21   adequate assurance and all those kind of issues.

   22              The reason this case is such a mess is because the

   23   Debtor's not doing any of the normal step one, step two, step

   24   three processes.     Rather it's, you know, it's reorganizing by

   25   chaos.


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    1               And I'm happy -- from my client's perspective, Hawk,

    2   I can represent to Your Honor, if we're going to tackle the

    3   ownership and adequate assurances in front of Your Honor, we're

    4   happy to do it.    If it's going to be a smash and grab in the

    5   Netherland because that's where Mr. Rajan's doing, then we'll

    6   have to do it there.

    7               I mean, we want to bring order to this and we think,

    8   you know, dismissal or trustee does that, and we can get to

    9   that.   But Your Honor, I understand your frustration, but I

   10   think it really needs to be directed at the Debtor before it

   11   starts taking extraordinary actions, which this clearly is.

   12               Why isn't it before Your Honor on a proper motion so

   13   that all the stakeholders can be heard in an orderly fashion?

   14   That's what we really were advocating for.

   15               MR. ALEXANDER:      Your Honor, Vincent Alexander on

   16   behalf of the Debtors.       I can briefly respond to that.

   17               THE COURT:   Yes.

   18               MR. ALEXANDER:      The Debtor would love to have the

   19   opportunity to not deal with these other issues and focus on

   20   what Mr. Caponi described as normal debtor operations.

   21   However, since the petitions were filed, we've been met with

   22   immediate resistance from each of the creditors with respect to

   23   the simplest things of the Debtor even having access to its own

   24   property.

   25               Also, they talk about how -- it sounds like they're


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    1   trying to parse out, you know, management and equipment.                     But

    2   the only way you get through the management is through the

    3   Debtor's management rights going down.                   You can't cut through

    4   the chain.    So by doing anything with regards to management in

    5   the Netherlands, they're impacting the Debtor's rights here in

    6   the United States, and that's exactly what they're trying to do

    7   is impact the Debtor's rights.

    8              The Debtors want to propose a plan and have a plan

    9   that they're going to propose that's going to take care of the

   10   secured creditor's claims.          But in order to do that they do

   11   need their assets in order to do that.

   12              You know, this isn't a bankruptcy -- I don't know the

   13   word is ambush -- or chaos, I think is the word.                   We would like

   14   a controlled process.      But you can't hold the Debtor hostage

   15   for its assets and then say, we'll give you your assets if you

   16   give us something.     Right, that's not the way it works.                The

   17   Debtor's entitled to its assets and issues of adequate

   18   protection or anything else are dealt with in due course.                     But

   19   you can't tell the Debtor, you know, you need to take care of

   20   all of these issues but then they don't have the ability or the

   21   assets to do that.

   22              So we agree.     We should be able to work out some type

   23   of arrangement or agreement with regards to the equipment.                     But

   24   we don't think any of this usage of the equipment would be

   25   outside the ordinary course because it's outside the ordinary


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    1   course of the business and this is the business of the Debtor.

    2              So we can work out bankruptcy specific issues, but we

    3   need our assets in order to do that and we need the

    4   interference to stop.      And so that's what the Debtor would

    5   like.    And if we can get that, then we'll be able to proceed on

    6   a path here in this case in terms of all the parties working

    7   together to have a successful outcome.

    8              Because at the end of the day, that bonding

    9   equipment, I don't know how they used the words take or -- it

   10   would be under the control and the supervision of this Court.

   11              So unless they -- the creditors don't respect what

   12   this Court's capabilities are to do to the Debtor if the Debtor

   13   doesn't comply with its requirements, then there should be no

   14   issue.    It's not as if the Debtor was taking equipment and

   15   transferring it to some entity that the Debtor didn't have

   16   control over.    No, the Debtor said this is my property, which

   17   means it's property of the estate, which means it's under the

   18   supervision of this Court.

   19              We want everything to be under the supervision of

   20   this Court so that we can move on a path forward to get the

   21   issues resolved.     But we can't keep having all of these, you

   22   know, offramp litigations and disputes.                    Everything should be

   23   in the bankruptcy court.

   24              MR. CAPONI:     Your Honor, again, Steve Caponi --

   25              MR. MAZZA:    Your Honor --


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    1              THE COURT:    If you would --

    2              MR. CAPONI:     If I could just briefly respond.

    3              THE COURT:    Wait a minute.               I have a question.

    4   Counsel, you would agree that with respect to the issue of

    5   management of these companies, that this -- I don't think that

    6   -- well, even assuming I had the ability to address that

    7   because it's property that a debtor has, that there's a

    8   different company of companies that the Debtors --

    9              MR. ALEXANDER:       Your Honor, are you still there?

   10              MR. CAPONI:     May have dropped again.

   11              MR. ALEXANDER:       Okay.

   12              Is Your Honor back?

   13              COURT REPORTER:        No, she's not back on yet.

   14              MR. ALEXANDER:       Okay.

   15              COURT REPORTER:        That was her disconnecting.

   16              MR. ALEXANDER:       Oh.

   17              MR. CAPONI:     I think she said she has to do it twice

   18   now, right?

   19              COURT REPORTER:        Yeah.

   20              MR. ALEXANDER:       Yes.

   21              COURT REPORTER:        There's a delay, apparently.

   22              THE COURT:    Well, counsel, that was -- that was hang

   23   up number two, so I guess we're good for the rest of the day,

   24   I'm hoping.

   25              Did everybody hear what I was saying before I got


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    1   disconnected?

    2              MR. ALEXANDER:       Your Honor, I think -- this is

    3   Vincent Alexander for the Debtor.               The last thing I believe you

    4   said was counsel, you would agree regarding management, and

    5   then you cut off.

    6              THE COURT:    Right.        That regarding management, that

    7   that is the issue -- I'm not quite sure that you heard me say

    8   that even if it was something that I would have jurisdiction to

    9   decide, and I don't know if I do or I don't, it's a core I get

   10   a final decision if it's related to, I issue a report and a

   11   recommendation that goes to the district court.                   Or it's

   12   something that I say, even if I can hear it, I'm going to --

   13   which I do with a lot of things.              For instance, I may have

   14   landlord tenant issues.       I may have property disputes.                 Things

   15   that I'm capable of doing but I think it's more appropriate to

   16   be in a court that has a familiar -- that does this on a

   17   regular basis, knows what the law is as opposed to me trying to

   18   interpret the law.

   19              So and this goes to Mr. Alexander.                  Do you not think

   20   that at some point the issue of control over the subsidiaries

   21   is going to have to be -- I'm going to call them subsidiaries,

   22   because it's not -- it's a whole new company.                   I don't know

   23   what else to call them.       But of the related companies is going

   24   to have to be decided at some point?

   25              MR. ALEXANDER:       Your Honor, we believe that that is


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    1   under the jurisdiction and control of this Court because it all

    2   flows down from the right that Technovative has which is before

    3   this Court as a debtor.       And those are assets of this estate.

    4   So those management rights are assets of this estate and we do

    5   believe that the Court should do that in terms of exercising

    6   control over that.

    7              And with respect to -- you know, I believe they've

    8   hinted and alluded to -- I think they're trying to bring in the

    9   authority to file type issue.            But we'll happily address that

   10   with this Court because we believe that the caselaw supports

   11   that we have a valid filing and we can proceed with the

   12   bankruptcy case.

   13              And when you control the entity at the Technovative

   14   level, you control all the downstream entities.

   15              THE COURT:    Well, there's still some issue because at

   16   the time of the file -- well, at the time of the filing, there

   17   was a receiver who was in control, was there not?

   18              MR. ALEXANDER:       There was a receiver pendent right

   19   that was in place.

   20              THE COURT:    Uh-huh.

   21              MR. ALEXANDER:       And that --

   22              THE COURT:    But that's what I -- I guess we have

   23   different pronunciation.        I say pendant, you say pendant like -

   24   -

   25              MR. ALEXANDER:       You're much more sophisticated than I


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    1   am, Your Honor.

    2               THE COURT:   No, I don't think it has anything to do

    3   with that.    I just think it has to do with what your initial

    4   language is.    I think that that sort of colors how I pronounce

    5   words.

    6               But with that being said is that while I may have

    7   jurisdiction over the Debtor's interest and I may have the

    8   authority to decide the Debtor's interest, what I'm saying it

    9   may not be something I necessarily would want to decide and I

   10   might defer to another court to make that decision.

   11               The question is, is it now or is it later on whether

   12   I would do it at all.      Because -- so that's all I'm saying.

   13               MR. ALEXANDER:      Your Honor, I mean -- Vincent

   14   Alexander again.     I mean, in terms of that issue, I think if

   15   the authority to file issue is addressed, which is I believe a

   16   core ruling and under the jurisdiction of this Court, right, is

   17   the authority to file.

   18               THE COURT:   Definitely.            Definitely.    That wouldn't

   19   go to anybody else.

   20               MR. ALEXANDER:      Yeah.        I think once --

   21               THE COURT:   And I don't think that -- I don't think

   22   that anybody's in the Netherlands challenging whether the two

   23   companies have the right to file.               I don't think that's what's

   24   going on.

   25               What I think is going on and from what my reading of


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    1   this and it was very brief because you just pointed it out to

    2   me, but I could also read the parties various pleadings was

    3   that post-bankruptcy, when the receiver was in place was no

    4   longer in place, then who was in charge of the subsidiaries?

    5              Clearly, it would have been the -- whoever the --

    6   whoever was in charge prior to -- and I say in charge, was the

    7   person with the authority, prior to the Chancery Court's

    8   installation of the receiver pending the litigation.

    9              That -- what did that mean in terms of I don't know

   10   who was in charge.     I don't know.            And then once the receiver

   11   no longer has the authority, then that authority could go to

   12   either the party who was there or whatever process for changing

   13   that would be the appropriate way to have that done.

   14              But the relevance of that is that it's kind of at

   15   this point, these are entities that the Debtor needs to rely

   16   upon for its success, whether that's something that needs to be

   17   done now or at some point in the future, or whether it's

   18   something that gets resolved in the motion to dismiss because

   19   whether the authority -- and I don't know what the authority is

   20   because I don't know what the different articles -- whatever

   21   they're called in the Netherlands, whatever it is for formation

   22   or how you operate, any of those different things, I'm not

   23   quite sure what that means.          I just know that right now we are

   24   in a specific place, and whether you are in my court or

   25   somewhere else, whether those are issues that get immediately


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    1   addressed or not.

    2              With respect to the Netherlands, what I gathered from

    3   this summary proceeding is that the Debtor -- well, the company

    4   SeeCubic wants to prevent Mr. Rajan from directing the --

    5   whoever the representative of that company to execute the exact

    6   document that someone says they need to do here in my Court,

    7   and that Mr. Rajan is exceeding his authority.

    8              Because they have it broken down into what the court

    9   issued, the parties, the jurisdiction, the Rajan brothers

   10   leading to intervention by funders in 2020, leading up to these

   11   present invalid decisions making an attempted asset stripping.

   12   That's the one that caught my -- let's see.                    The unpaid

   13   financiers, SLS and Hawks are in the process of forcing their

   14   security issues, consistently -- consisting essentially of the

   15   ownership in the country, one in the Netherlands, and now the

   16   value is in danger of being impaired in the very future by the

   17   person who attracted the debt investment but is not repaying

   18   it.

   19              So that's sort of what they said the bottom line was,

   20   which you know, are you trying to exercise your rights in these

   21   companies?    I don't know what they're trying to do over there.

   22   But we still have a problem for this is -- it says, these

   23   failure of enforcement proceeding is initiated by the

   24   financiers to obtain the assets given as a security prompted

   25   the independent directors of Stream to enter into an amicable


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    1   settlement, the omnibus agreement.                Okay.         Well, that's no

    2   longer in effect.

    3              And it says Stream and Rajan brothers refuse to

    4   accept that control of the company lies with the financiers.

    5   Counsel, who's to tell them that?               You haven't foreclosed on

    6   your security interest in the control or any of that.                       I'm a

    7   little concerned why you would go say that and somebody would

    8   allege all of that.     That's all disputed, and you agree you

    9   haven't foreclosed on the ownership interest.

   10              So maybe you might have foreclosed on your interest

   11   in the assets, but I haven't heard anybody say that you

   12   foreclosed on the ownership interest of the Debtors and

   13   actually, they're in this Court.              I don't know how you could be

   14   in the Netherlands saying something to the contrary.                       I'm a

   15   little concerned about that.

   16              MR. MAZZA:    Your Honor, Mr. Mazza, again.                   I don't

   17   know -- I don't think that that's the -- maybe it got lost in

   18   translation or something to that effect.                       But I think the point

   19   is that the status quo was that Mr. Rajan as of the filing of

   20   these entities was not a director down properly recognized at

   21   the non-debtor Dutch subs.

   22              And so I think that the issue that may not be

   23   elegantly presented in those Dutch pleadings is that that's

   24   what's contested because the financing parties that have rights

   25   against those non-debtors is -- doesn't entitle Mr. Rajan to


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    1   come down and declare himself the sole director.

    2              So I think that's what's meant to be said and to the

    3   extent it's not said that way, then it's not, I think,

    4   elegantly presented.     But there's --

    5              THE COURT:    But you would agree that at the time of

    6   the filing, the receiver was in control of all of that.

    7              MR. MAZZA:    Correct.

    8              THE COURT:    And once he was no longer in control,

    9   what did that mean for the Debtors, the holding company,

   10   Technovative essentially is the owner of -- through its

   11   ownership of various entities actually the owner.                  You know,

   12   what does that mean in terms of how it's affecting debtors is a

   13   concern.

   14              So okay, so obviously --

   15              MR. MAZZA:    Your Honor, if I may --

   16              THE COURT:    Uh-huh.

   17              MR. MAZZA:    Right.        So and I -- I don't think -- I

   18   think that the dispute in the Netherlands is that because of

   19   the filing, that didn't meant that there was some

   20   transformation such that Mr. Rajan legitimately became a

   21   director down at the non-debtor subs.                  I think that your point

   22   -- there is no intent to quarrel with any of the Court's

   23   jurisdiction as it relates to the Debtor entities.

   24              We do think that, again, it was an alterviras

   25   (phonetic) act of Technovative and that's a separate story.


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    1   But I think Your Honor was honing in on how the issue really

    2   flagged down at the non-debtor sub.                 It's an issue of Dutch

    3   corporate law for that court's jurisdiction to decide.                  And

    4   while there may be this sort of indirect interest that rolls

    5   back up to the Debtor entities, they don't get the benefit of

    6   being able to say that I can just avoid my creditors down below

    7   that I don't file for bankruptcy, that I don't put under the

    8   supervision of the bankruptcy court in order to -- and extend

    9   the stay in that way.

   10               Again, I think Your Honor, we had a colloquy earlier

   11   about extending the stay and the like.                   And they certainly

   12   haven't done it -- done that, so.

   13               THE COURT:   Hold up.          It's not even -- it's not even

   14   -- counsel, I don't see it as both -- I also have the ability

   15   to say this is part of the Debtor's assets, they have an

   16   interest.    Don't do anything until I figure out what I want you

   17   to do with it.

   18               I'm not saying that the Dutch court may not have

   19   jurisdiction.

   20               MR. MAZZA:   Right.

   21               THE COURT:   But I clearly have jurisdiction over all

   22   of their interests, and the Debtors, through their entities,

   23   have an interest in these companies.                  So the question becomes

   24   is what happens now?

   25               Because as I said, one of the things they want to do


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    1   is to stop, and if the Court says, there.                      Make a declaration

    2   that in fact that bonding equipment belongs to SeeCubic B.V.

    3   and no turnover and I find exact opposite, now we've got a

    4   problem.   We have got a problem.

    5              MR. MAZZA:    And Your Honor, I think -- okay.                   I'm

    6   sorry.

    7              THE COURT:    Go ahead.

    8              MR. MAZZA:    I was just -- I was going to say I think

    9   that where you were honing in is that there is a commercial

   10   resolution that could be dealt with with the bonding equipment,

   11   and that would save a lot of parties a lot of time.

   12              I think there's a question of who really owns that

   13   bonding equipment, but really does it ultimately matter if we

   14   can come up with a commercial resolution as a protection of the

   15   equipment, insurance that a debtor needs that, et cetera.

   16              And so to me, to escalate this to some allegations

   17   around willful violations of the stay when we've come to the

   18   table and unfortunately, I don't think counsel has had great

   19   candor with the Court about discussions around these issues

   20   which Your Honor has again pointed out.

   21              And the last point I'll make on this Dutch subsidiary

   22   issue, Judge Silverstein, a couple days ago, had an opinion

   23   where she addressed issues regarding non-debtor subs and she

   24   found that a lawsuit against a non-debtor subsidiary does not

   25   violate the automatic stay if such lawsuit may impact the value


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    1   of the stock that the parent debtor owns as it does not alter

    2   the estates -- bankruptcy estate's rights, liabilities, options

    3   for freedom, or action, and that ownership of the outstanding

    4   stock by the parent debtor does not confer jurisdiction to the

    5   bankruptcy court.

    6              So again, Your Honor, we completely have all

    7   deference to everything that is under your jurisdiction and

    8   what you're trying to sort out in this case and we are not

    9   looking to go afoul of anything that Your Honor wants to make

   10   sure is control.     But let's take a step back as to how this all

   11   came about.

   12              We're in discussions, Mr. Rajan's headed over to the

   13   Netherlands and is trying to take control, and frankly, parties

   14   are just trying to protect their rights.                       And so any guidance

   15   from Your Honor would certainly be appreciated because these

   16   are issues that are complicated.

   17              And again, they have a commercial solution that we

   18   can deal with one way or the other.                 But this does not mean

   19   that Mr. Rajan can just throw himself around and cloak himself

   20   in the automatic stay when it simply doesn't apply.

   21              THE COURT:    Right, and I get that.                   Right.

   22              MR. ALEXANDER:       Your Honor, this is Vincent

   23   Alexander, the Debtor.      When you're done, I would like an

   24   opportunity to speak.      I don't mean to cut you off.

   25              THE COURT:    Right.        No, I just want to comment that,


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    1   right.    I don't know what rights Mr. Rajan has, doesn't have.

    2   I'm sorry.     I don't know what rights -- who has what rights

    3   with respect to the control over these companies or whether you

    4   can or cannot replace whoever was there.                       That's an issue that

    5   needs to be resolved either -- because is it the Debtor's

    6   interest that's being affected or whose interest?

    7              And I get it, I haven't read Judge Silverstein's

    8   decisions.     I don't know if they're factually the same.                    I have

    9   no idea what the soup was, what -- if they're exactly the same

   10   or whether they were trying to foreclose on something.                       I don't

   11   know.

   12              My concern with respect to that action with respect

   13   to the secured creditors, they are secured creditors, at least

   14   from what I can gather, prior to the installation of -- or the

   15   appointment rather, of the -- and from what I'm gathering, and

   16   I could have this factually incorrect, it was prior to the

   17   appointment of the receiver during the litigation.                       It does not

   18   appear that SeeCubic B.V. had any direct loans or pledges or

   19   anything with the creditors who brought the action in the

   20   Netherlands.    At least I haven't heard any.                     What I've heard is

   21   -- yes?

   22              MR. MAZZA:    Your Honor, Mr. Mazza again, and I know

   23   there's been a lot of facts.           But yes, the B.V. equity is

   24   pledged, 55 percent of it to their creditors, so.

   25              THE COURT:    Right.        But it was a pledge through who?


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    1               MR. MAZZA:   It would have been a pledge by the owner

    2   Cooperativ.

    3               THE COURT:   Okay.       But that's what I'm saying.          I --

    4   what I'm saying is that the ownership interest in that company

    5   was pledged either by Stream or by some other entity.                So and I

    6   don't know if that was prior to -- I understood that it was

    7   during the receivership that loans were made, pledges were

    8   made.     You're saying that there was loans to Cooperativ and

    9   they pledged their interest?

   10               MR. MAZZA:   Correct.          Cooperativ had pledged it's

   11   interest to SLS and Hawk.         So it's set forth in I believe, is

   12   that the collateral estoppel opinion written by Chancellor

   13   Laster.     If I can just indulge, Your Honor.

   14               "Between 2010 and 2020" -- and I'm reading from the

   15   opinion,

   16               "stream borrowed millions of dollars.              Stream's

   17               senior secure creditors SLS Holdings 4 LLC to be

   18               referred to as SLS between 2011 and 2012, Stream

   19               borrowed six million from SLS under a series of

   20               notes, the SLS notes.            Stream pledged all of its

   21               assets as security for the SLS notes and executed a

   22               security agreement that authorized SLS to levy on its

   23               assets in the event of default.

   24               "Seniors Streams junior creditors Hawk between 2010

   25               and 2020, Stream borrowed more than 50 million from


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    1               Hawk plus additional millions denominated in dollars.

    2               The loans are documented in a total of 18

    3               substantively identical notes.

    4               "In connection with the Hawk notes, Stream executed

    5               18 substantially identical security agreements,

    6               subject to the senior security interest held by SLS.

    7               Each of the Hawk security agreements granted Hawk a

    8               security interest in substantially all of Stream's

    9               assets including the company shares.                   Each of the

   10               Hawk security agreements authorized Hawk to levy on

   11               and take control of Stream's assets to satisfy Hawk

   12               if Stream defaulted.

   13               "Also in connection with the Hawk notes, Stream

   14               executed a total of 15 substantially identical pledge

   15               agreements.    Each provided if Stream defaulted on any

   16               of their Hawk notes, then Hawk could vote the company

   17               shares."

   18               Bear with me a second, just don't fail me the rest.

   19   I apologize, Your Honor.        Just one second.               The opinion's kind

   20   of lengthy.

   21               MR. ZAHRALDDIN:       Your Honor, this is Raphael

   22   Zahralddin.    Can someone identify which date of which opinion

   23   Mr. Mazza's reading from?

   24               THE COURT:    Well, I don't know if it answers my

   25   question.     My question is --


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    1              MR. MAZZA:    November 29th, 2022, is the date.

    2              MR. ZAHRALDDIN:        Thank you.

    3              THE COURT:    Okay.       So my question is did some -- an

    4   opinion on non-opinion, did Cooperativ pledge it's interest

    5   separately?

    6              MR. MAZZA:    Yes.

    7              THE COURT:    Not separately pledge it's interest in

    8   SeeCubic as security?      Not through Stream.                 Not Stream pledging

    9   its interest in Cooperativ, but Cooperativ directly itself

   10   getting a loan, or maybe Cooperativ in connection with Stream's

   11   loan pledge their its interest.              Did each entity also pledge

   12   their interest in whatever else they have?

   13              MR. MAZZA:    Yes.       That's what I'm -- I'm trying to

   14   find that specifically.       But if we could file a supplement to

   15   the Court to provide that information, again.

   16              THE COURT:    Yeah, that would be filed -- or that

   17   would be fine.

   18              MR. MAZZA:    Yeah, okay.            Your Honor.       Thank you.

   19              THE COURT:    Okay.       So I guess we've gotten through

   20   enough of -- I mean, this is colloquy.                   Can you imagine what

   21   trial's going to be like if we have to try this matter on

   22   relief from the State.

   23              So I think I sort of know where I am with that, and

   24   I'll figure out what I want to do.

   25              Let's talk about the motion to dismiss.                   Clearly,


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    1   that's going to need evidentiary hearing because I can't even

    2   do it without it.     So let's talk about that.

    3              MR. CAPONI:     Yes, this is Steve Caponi for Hawk who

    4   filed the motion.

    5              THE COURT:    Wait a minute.               Wait a minute.     Wait a

    6   minute.

    7              MR. ALEXANDER:       Mr. Caponi, I apologize.               This is

    8   Vincent Alexander.      I apologize.          I didn't mean to cut you off.

    9              THE COURT:    No, it's somebody else's fault.

   10              MR. ALEXANDER:       I had asked Your Honor if I could

   11   just clarify one point before you had moved on.                  It's Vincent

   12   Alexander on behalf of the Debtor.

   13              THE COURT:    Sure.       Okay.        What was the point?       Be

   14   fast.

   15              MR. ALEXANDER:       I'm sorry.            It was just --

   16              THE COURT:    Go ahead.

   17              MR. ALEXANDER:       A, there was just one comment made

   18   about candor to the Court, and I just want to let you know,

   19   we're just stating the facts to Your Honor and being very

   20   candid in terms of what the position is.

   21              And our whole view is that the control goes

   22   downstream.    So if you have control at the top, you have

   23   control at the bottom.      And so our position is that if the

   24   bankruptcy is authorized, the Debtors have control of all the

   25   downstream entities and there shouldn't be any proceedings


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    1   anywhere else trying to determine the control issues because it

    2   all stems from assets of the estate.

    3              So we agree that we can't have parallel proceedings,

    4   and we think this Court should decide those issues first.                     And

    5   if they want to do something in the Netherlands after this

    6   Court makes a decision, then, so be it.                    But those issues need

    7   to get decided here first.

    8              THE COURT:    Well, I'm not sure if any of it is black

    9   and white is that, because whether the Debtor has control over

   10   its interest in these various entities are governed and

   11   controlled by separate agreements, separate laws, separate

   12   everything.    So yes, I agree the Debtor has interest and that

   13   interest is property of the estate.                 But what that interest is,

   14   is to the extent somebody who's challenging is typically

   15   interest in property of the estate is determined by the

   16   bankruptcy court.

   17              And so I'm not sure and I'll take a good look at

   18   Judge Sue's (phonetic) decision.              What does that mean if a

   19   debtor has interest in a subsidiary, and there is some

   20   litigation against that subsidiary.                 There are cases clearly

   21   where the stay is put into effect to say, we're going to just

   22   put a hold on everything, until we can first get something

   23   going in the bankruptcy.        But I think as an initial matter,

   24   even before we get to any of that, if there is a motion to

   25   dismiss on the basis that this is an unauthorized filing, which


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    1   in and of itself, may take care of everything, assuming that

    2   this is -- I'm not -- I don't know if it's right or wrong.                       But

    3   let's talk about that.

    4               So I get your position, counsel.                     And I'm not -- you

    5   know, I'm not quite sure that even -- I'm not saying that

    6   you're not correct in that this is property of the estate and

    7   control lies with the Debtor.              But that control is not defined

    8   by bankruptcy law.        The interest of the Debtor in the property

    9   is not disputed.        No one's saying the Debtor through its

   10   subsidiary doesn't have an interest, but what that interest is

   11   and how you exercise that interest may be property of the

   12   estate.     And I can't recall, I probably -- I think I addressed

   13   that issue somewhere at some point.

   14               But in interpreting that, it may not be something I

   15   would want to undertake.          It would be something that I would

   16   likely defer to the Netherlands, because that is more -- for

   17   instance, if this was an issue of Pennsylvania corporate law,

   18   Jersey corporate law, even Delaware, I mean, I took the bars

   19   years ago.        I'm not saying I'm not that much of an expert, but

   20   I think I would have the wherewithal to say, okay, I can figure

   21   this out.     And I'll figure it out.               Sometimes when even when I

   22   have jurisdiction to, "figure it out" I defer to a more

   23   competent court.        So that's all I'm saying with respect to

   24   that.     Okay?     All right.

   25               MR. MAZZA:     Your Honor, Real quick.                 And I'm sorry to


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    1   belabor.   Mr. Mazza again.         And as far as what's been said in

    2   the Court around the buying equipment, the point I was making

    3   is that, as Your Honor had suggested, if we could just come up

    4   with a commercial arrangement that could be dealt with and not

    5   waste the Court's time.       So that's why I made that point is

    6   that counsel hadn't said anything about that.                    And we wish they

    7   had come to the table to be more commercial as opposed to try

    8   to come up with stay violations.

    9              And then just the last point that you raised

   10   regarding what's going on in the Netherlands, and the courts of

   11   competent jurisdictions alike, and I think this is just a

   12   preview to what you're going to hear from Mr. Caponi on the

   13   motion for alternative relief, but the 225 action was advanced

   14   to virtually the end of the line, and then this case got filed.

   15   The 225 action would have decided all these things in Vice

   16   Chancellor Laster's court.

   17              So in our view, while we've completely respected have

   18   full deference for what Your Honor has under your jurisdiction,

   19   these state law property estate issues have been really run to

   20   the ground.    And for that reason, that's going to support what

   21   Mr. Caponi is about to lay into.

   22              THE COURT:    Okay.       All right.            Mr. Caponi.

   23              MR. CAPONI:     All right, Your Honor.                I take it to

   24   heart that we've been going for quite a while here.                      And I

   25   think we've plowed a lot of ground.                 And you know,


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    1   there's -- the Debtor thinks it's a legitimate entity.                  These

    2   are organized.       We think it's a bad faith filing and an effort

    3   to avoid, you know, the creditors.                 And I don't want to belabor

    4   that point.

    5              I take Your Honor's issue regarding the need for an

    6   evidentiary hearing.      And I think, you know, rather than

    7   arguing the merits of the motion, we ought to focus on that

    8   with one exception.      And that exception, Your Honor, would be

    9   the authority to file I think it's the primary one.                  There's no

   10   evidence needs to be taken on that.                  The Court need only look

   11   at the receivership order.           Counsel, you know, we had a

   12   discussion a few minutes ago about pendente lite or lite.

   13              If you look at the face of the order itself, that is

   14   incorrect.    The Vice Chancellor's decision, which is a reason

   15   decision made it very clear that on behalf of the state of

   16   Delaware, he was reclaiming the entity, control of the entity.

   17   And he put the receiver in place to be the board of directors,

   18   not to manage assets.       So it's not a situation where you have a

   19   board of directors and then a receiver is overseeing the

   20   assets.   The board was removed and replaced with the receiver.

   21   And that's spelled out very clearly in the order.

   22              As a result, this isn't a situation where was there a

   23   constitutional infringement on the entity's right to file

   24   bankruptcy?    No.    The receiver was the board and was the only

   25   one able to do it.      Mr. Rajan was a third party, a stockholder


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    1   at best and had no authority.            So I think, Your Honor, we could

    2   tee that up, and that could be resolved on the papers that

    3   currently exist.

    4               THE COURT:    Okay.

    5               MR. CAPONI:    When you get into the -- and again, I

    6   would urge the Court to read Vice Chancellor Laster's decision.

    7   I'm a corporate law lawyer geek.              There's a huge distinction

    8   between if you look at the order, it refers to the statutory

    9   appointment of a receiver, that you would appoint for a

   10   pendente lite.

   11               And then it -- but it specifically says that under

   12   Section 141, which is the provision of 8 Del code 141, which

   13   governs the authority of a board of directors and states that

   14   all corporations are managed by the board, Vice Chancellor

   15   Laster says, I am vesting in this receiver all rights and

   16   authority that would otherwise sit with the board of directors.

   17   And I think once he did that, the only person who could file

   18   bankruptcy, speaking as the board of directors, was the

   19   receiver.    Not Mr. Rajan.       So we think as to Technovative,

   20   that's why it's a fraudulent filing.

   21               On the merits of the rest, Your Honor, I'm going to

   22   take a quick stab at just saying this is the third go around.

   23   Two bad faith -- you know, two filings that dismissed before.

   24   Each one has a pattern, on the eve of a negative decision in

   25   the Court of Chancery twice before they were dismissed.              We


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    1   think Your Honor could take judicial notice of all that, and

    2   reach the same conclusion right now.

    3               And I think that is bolstered by as I mentioned, just

    4   look at the docket.     Any credible debtor would have filed first

    5   day motions -- would have filed other motions, financing

    6   motions, would have given the Court some indication of what it

    7   is doing.    I mean, we've been here a month.                  And the only thing

    8   the Debtors have filed are sanctions motions, trying to reclaim

    9   assets, but without dealing with insurance, and all these

   10   issues that you need to do on a credible basis.

   11               So I think the lack of activity speaks for itself,

   12   combined that with the past history, I think, Your Honor, could

   13   make a decision here.      But again, if Your Honor is more

   14   comfortable with an evidentiary hearing on those aspects, and

   15   would rather talk about scheduling, I think it needs to happen

   16   faster and quicker.     And the Debtors are going to say August

   17   and we need evidence.      No, we don't.              This needs to happen now.

   18   And as I mentioned, the very first time we spoke.

   19               Now, I think this is a critical point.                 There's an

   20   operating subsidiary that has no revenue and payroll is due.

   21   My clients covered the last payroll.                  And it is shocking that

   22   the Debtors have not reached out.               The Debtors have not picked

   23   up the phone once to talk to secured creditors, my client in

   24   particular, about the assets are funding this estate.

   25               There's payroll coming due.                Everyone stops getting


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    1   paid.   Everyone walks out the door.                All the intellectual

    2   property is gone.     And there's no TVs being made and no

    3   intellectual property to monetize.                The fact that this debtor

    4   has done nothing to come before Your Honor and say this is what

    5   our plan is to pay for those people or ask my client, under

    6   what terms will you continue funding the operations is a huge

    7   red flag.    And so we don't have till August.                 I don't think we

    8   have to the end of April, before payroll's not met.

    9               THE COURT:    Well, that was -- and I'll ask this to

   10   counsel.    I wanted to know who's funding these people?                 I mean,

   11   there's no cash collateral.          Who's funding anything?           That was

   12   one of my questions.

   13               MR. CAPONI:    It's been my --

   14               THE COURT:    I wanted to know who was going to fund

   15   them?   And how was that working?

   16               MR. CAPONI:    Your Honor, as to my clients to date, we

   17   have -- we funded the last payroll and left enough money there

   18   when they filed the bankruptcy to cover the payroll.                   So in the

   19   taxes, that's presently current.              But I believe by the end of

   20   April, that situation --and now payroll's due and -- did we

   21   lose Your Honor?

   22               THE COURT:    No, no, I'm still here.

   23               MR. CAPONI:    Okay.       I heard a beep.

   24               THE COURT:    Somebody else dropped off.

   25               MR. CAPONI:    So Your Honor, there's a lot of pie in


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    1   the sky from the Debtor about they have orders and whatnot, it

    2   takes cold hard cash to fund.            There it is irresponsible at the

    3   highest order that the Debtor has not filed something with Your

    4   Honor.   Has not reached out.          Has not even initiated a

    5   discussion.     That we think is telling and explains why this is

    6   a bad faith bankruptcy.

    7              And we need to get clarity as to either they're going

    8   to fund and they've got proof of it.                  And we're not and my

    9   clients secure collateral is not going to dissipate at the end

   10   of the month.     Or they got to come to this Court and admit they

   11   can't fund and then we can all deal with the repercussions of

   12   that.    But to want to push a bad faith filing and a dismissal

   13   or trustee motion out until August, this thing is going to be

   14   off the cliff long before then.

   15              My client filed the motion it did, because it was

   16   willing to work with an independent receiver who was going to

   17   preserve the assets to fund this entity.                       My client most likely

   18   is willing to do the same again.              Is it willing to fund an

   19   entity so Mr. Rajan can run over there and download source code

   20   and move equipment?      No.    So I'll stop there.

   21              THE COURT:    Okay.       So not that any of these companies

   22   are in bankruptcy, right?

   23              MR. CAPONI:     Correct.

   24              THE COURT:    I mean, who owns the -- I'm assuming

   25   there's a patent, there's trademarks, there's something with


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    1   respect to the technology.          Who owns the technology?

    2               MR. CAPONI:    Well, Your Honor, that is what led to

    3   the first motion.     Our view is it's owned at the different

    4   levels, you know, the patents are owned by whoever they were

    5   assigned.    A lot of the intellectual property belongs to

    6   SeeCubic B.V.     Stream is of the position that if it's owned by

    7   a subsidiary, no matter how far down the line, Stream has the

    8   right to go down to that subsidiary and pluck it out and bring

    9   it up to the Stream level.

   10               THE COURT:    I don't know about --

   11               MR. CAPONI:    And that's our -- that's our, like,

   12   look, Your Honor, it's a bonding equipment issue.                 As an

   13   example, if Mr. Rajan was saying, SeeCubic B.V., I'd like you

   14   to turn the equipment on and make some panels.                 There'll be a

   15   lot less heartburn on my end, and my clients' end.                 Instead

   16   he's saying I want you, SeeCubic B.V., to give Stream the

   17   asset.    And he's been trying to do that with all the

   18   intellectual property.      So my client can't fund an entity, have

   19   the lights turned on and the heat and air conditioning so that

   20   it's comfortable and Mr. Rajan and Stream -- I'll stop accusing

   21   Mr. Rajan -- so that Stream can upstream all of the assets out

   22   of that entity.

   23               UNIDENTIFIED SPEAKER:            Your Honor --

   24               THE COURT:    Wait a minute, wait a minute, wait a

   25   minute.


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    1              UNIDENTIFIED SPEAKER:             Yes, Your Honor.       Apologies.

    2              THE COURT:    Okay.       Hold on a minute.          I will say

    3   this.   Bankruptcy is not a free for all where you get to do

    4   things because you're in bankruptcy.                  There are rules.    There

    5   are just because you're in bankruptcy and you have an interest

    6   in something doesn't give you the right to go do anything more

    7   than what rights you had in connection with that entity.

    8   Whatever those rights are, they are.                  If they are -- if you

    9   don't have them before bankruptcy, you surely didn't get them

   10   because of the bankruptcy.

   11              So whoever owns the intellectual property,

   12   whoever -- whatever they are, the ownership remains.                     So I'm

   13   not saying that who's right who's wrong, but there is to be no

   14   movement of anything with the claim that because I'm in

   15   bankruptcy, I get to do it.          If it's an asset of the two

   16   debtors, it remains their asset.              If it's an asset of their

   17   subsidiary or whoever owned it before, they continue to own it.

   18   So all of that has to be sort of sorted out.                   But what you're

   19   saying, counsel, is that the Delaware court has already decided

   20   on all of these assets?

   21              MR. CAPONI:     No, Your Honor.               I mean, on an asset-by-

   22   asset basis, no.     The Delaware court and -- when I say

   23   Delaware, the parties, it wasn't a -- it was a finding, but it

   24   was an admission by all the parties.

   25              THE COURT:    Right.


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    1               MR. CAPONI:    All of the hard assets, all the assets

    2   of value, are at the operating subsidiary level, not even at

    3   the Technovative level.       I mean, Technovative is just the choke

    4   point.     It owns the stock of the company that then owns all the

    5   operating subsidiaries.       So there are no assets really at the

    6   upper levels.

    7               But you know, Your Honor, I would be remiss if I

    8   didn't mention, the Debtor never even filed an objection to the

    9   pending motion.    So I know you're not -- I highly doubt your

   10   Court's going to grant it on that basis.                       But I will point out

   11   that there was a motion filed, a serious motion, the court set

   12   a deadline that passed and the Debtor never even responded.                          We

   13   have funding they haven't responded to.                    And we have --

   14               THE COURT:    I thought -- wait a minute, I just

   15   printed out -- I'm printing and I can't find them.                       I'm like,

   16   hold on.     I thought I had -- wait a minute.                    I thought I had

   17   docket number -- oh, they filed an objection to request for

   18   expedited consideration of the motion to dismiss.                       And they

   19   filed that I guess I preliminary the the intent -- to you

   20   know -- then they said object.             They don't think that should be

   21   different.    I guess I took that as an objection and they

   22   requested a status conference instead.

   23               MR. CAPONI: Your Honor had granted the motion to

   24   expedite and then set, I believe Wednesday night is the date to

   25   file any opposition to the motion.                And that's what I was


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    1   referring to.

    2               THE COURT:    I filed --

    3               MR. CAPONI:     That date came and went.

    4               THE COURT:     Okay.

    5               MR. ALEXANDER:       Your Honor, this is counsel for the

    6   Debtor, Vincent Alexander.           It was a request -- an objection to

    7   the request for the expedited relief.                   And that's our

    8   understanding in terms of what was being heard today was

    9   whether or not it should be heard on an expedited basis as

   10   opposed to --

   11               THE COURT:    I don't think -- let me look at the

   12   order.     Because I don't recall -- I don't recall any

   13   discussions.    I'm not going to say what happened.                  I think I

   14   may have said schedule them both for the same time.                      But I know

   15   I wasn't going to have an evidentiary hearing.                    That definitely

   16   wasn't going to happen.        What did the order say?              Did we issue

   17   an order and my courtroom deputy contacted you?

   18               MR. ALEXANDER:       Well, an order was entered, Your

   19   Honor, that set the -- today as the hearing date.                    Granted the

   20   motion to expedite, scheduled a hearing for today or a

   21   conference for today and set Wednesday as the deadline for any

   22   opposition to the substantive motion.

   23               THE COURT: More -- okay, hold on.                   What docket entry

   24   is that?    A joinder motion to relief.                 Okay.   Hearing schedule.

   25   Motion to sanction.       Motion to move -- hearing rescheduled.


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    1   Did we put an extra order in there?                 I'm just looking.

    2               Counsel, what are you referring to when I set the

    3   deadline to file a response?

    4               MR. ALEXANDER:      Your Honor, I don't have access to

    5   the docket.     I don't know if one of my colleagues on the phone

    6   does, and --

    7               THE COURT:   I'm seeing hearing reschedule as the

    8   start time.     Oh, that was for today.               Never mind.

    9               MR.ZAHRALDDIN:      Your Honor, this is Raphael

   10   Zahralddin from the Debtor.          We spoke to I believe a

   11   gentleman's name was John.          He was substituting for your deputy

   12   and --

   13          (Court and clerk confer)

   14               THE COURT:   Yeah.       Okay.        87.      There we go.    Thank

   15   you.     Thank you, Michael.      The Court hasn't reviewed the

   16   motion.     A hearing on the motion will be held on the 14th day

   17   of April.     Any responses must be filed on or before the 12th

   18   day of April.     And it usually says 5 p.m., but that's missing.

   19   So clearly,     I mean, I authorized it.                And we -- I discussed it

   20   with Mr. Barbetta (phonetic) and told him what to put in here.

   21               So clearly his response is he just didn't pick the

   22   date out.     I gave him the date.           So clearly my order granted

   23   the expedited.     I would have considered your objection.                   And it

   24   wasn't because -- I think there were numerous phone calls.                         And

   25   again, counsel, I'm going to admonish you.                     Do not call my JA


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    1   or my courtroom deputies and inundate them with phone calls

    2   about asking for status conference and issuing amended orders.

    3   Don't do that.    If I want amended order --

    4              UNIDENTIFIED SPEAKER:             Your Honor --

    5              THE COURT:    Don't do that.               I mean --

    6              UNIDENTIFIED SPEAKER:             Understood, Your Honor.

    7              THE COURT:    I mean, I said that at the last hearing.

    8   Don't do it.     You know, I don't like that they feel overwhelmed

    9   and bombarded with requests that they know I'm not going to

   10   give and I'm not going to do.            If I want to schedule the

   11   status, I know how to schedule one.                 I never -- and I'm not

   12   sure where you guys are, you know, every court practices

   13   differently.     But I never have an expedited hearing without --

   14   and particularly if it's going to be evidentiary -- without

   15   telling people ahead of time that I'm going to have it.

   16              If you look at my rule, they specifically state, if

   17   anything more than 30 minutes, we have to specifically schedule

   18   as our trial, if it's going to be a trial more than 30 minutes,

   19   I always do an -- even on an expedited basis.                  If I need -- if

   20   something is critical, where for instance, you know, something

   21   doesn't happen in the next day, that there's going to be some

   22   detriment to the Debtor, I'll have an initial hearing and do

   23   some preliminary ruling, and then have a following hearing with

   24   a final order, which you can do in connection with any type of

   25   motion.


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    1               Now, obviously, with respect to a motion to dismiss,

    2   I can't do that because I either dismiss it or don't, or I hear

    3   enough to say, you know what?            I mean, I sua sponte appointed a

    4   Chapter 11 trustee based on what I heard, but that was after

    5   evidentiary hearing.     Or I issued an order saying why I

    6   shouldn't appoint one, based on what I heard at some hearing.

    7   But I always -- I want to give people their due process rights.

    8               So unless you get an order saying we're having an

    9   evidentiary hearing, you can rest assured it's going to be what

   10   we're doing today is going over trying to figure out, you know,

   11   even if I have an evidentiary hearing, it's not going to be on

   12   the full blown because there's enough things that are clearly

   13   established, and it would only be on the disputed matter.

   14               So with respect to the motion to dismiss, what I'm

   15   hearing from counsel is this can be disposed of, from a legal

   16   perspective without any evidence.               Or when I say not any

   17   evidence, presumably, they've asked for the motion to dismiss

   18   and say, take judicial notice or attach a copy of the order and

   19   decisions from the Chancery Court, and you can -- based on

   20   this, this is the order.        Nobody's disputing that that's the

   21   order.     I'm interpreting what the order means and how it

   22   relates to authority to file and look at everybody's arguments.

   23               I would do that before I even schedule an evidentiary

   24   hearing.     Because if I find that as a matter of law it wasn't

   25   authorized, then that's it.          If I find that a matter of law was


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    1   not precluded, then we go to an evidentiary hearing on the

    2   issues of bad faith, whether it's legitimate bankruptcy

    3   purpose, all those other things.

    4              So don't do that.         Don't call.               And if I issue an

    5   order, you can rest assured that it says what it says and I

    6   know what it says.      And it means what I said.                   Okay.   Now, I

    7   forgot how we went off on that because I think I was -- there

    8   was a reference to no response filed.                  Okay.       And I did print

    9   out the objection, which I saw as an objection only to the

   10   expedited request.      But that can be addressed here, which is

   11   the Debtors don't want it to be done on an expedited basis, the

   12   relief sought, which we could address today.

   13              MR. CAPONI:     Well, Your Honor --

   14              THE COURT:    That's -- yes.               Who's speaking now?

   15              MR. CAPONI:     Sorry.        Steve Caponi again.             What you

   16   just said, one, I will make sure everyone on my end does not

   17   pester your chambers.      Two, I agree with what Your Honor just

   18   said wholeheartedly as a way to proceed.                       I think Your Honor

   19   should look at the Court of Chancery's order on whether there

   20   was an authority to file Technovative.                   It's a pure legal

   21   issue.   Read the order.      And Your Honor will either determine

   22   that the trustee has the sole authority or not.

   23              And if Your Honor agrees, that solves that problem,

   24   and if not, go to an evidentiary hearing.                       And I think our time

   25   this afternoon will be best spent on discussing a schedule for


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    1   that evidentiary hearing if it's necessary or putting in place

    2   the hearing date, so Your Honor can, you know, have time to

    3   review the current pleading on the legal issue, the parties can

    4   do whatever discovery the Debtor wants.

    5               But again, I would just say, there's no funding at

    6   the operational level.       We're teetering on the cliff.              So I

    7   would just plead for a earliest date as possible.                   And note

    8   that every day that goes by is to a detriment to my clients as

    9   a secured creditor.      And I'll pause there to see if Your Honor

   10   has any questions.

   11               THE COURT:   No, I don't have any more questions or

   12   comments at this time.

   13               Okay.   Mister -- is it counsel for the Debtors.                   Is

   14   it Mr. Alexander?

   15               MR. ALEXANDER:      Yeah, that --

   16               THE COURT:   Okay.       Go ahead, counsel.

   17               MR. MAZZA:   Just -- sorry to interrupt, Mr.

   18   Alexander.    Just on the SeeCubic side, I know we joined in the

   19   motion, so if I can just briefly --

   20               THE COURT:   Oh, I'm sorry.

   21               MR. MAZZA:    No problem.

   22               THE COURT:   I apologize.             Okay, go ahead.

   23               MR. MAZZA:   Mr. Mazza again, Your Honor, for

   24   SeeCubic.    Just real quick, I agree with everything that Mr.

   25   Caponi laid out and that set forth in the papers and this can


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    1   be dealt with in an expeditious fashion relating to the ultra

    2   vires act issue.     But one thing as it relates to this kind

    3   of -- the bankruptcy code and requirements on hearing things,

    4   we do think this is urgent to move forward as quickly as

    5   possible, obviously, in full deference to Your Honor's

    6   schedule, a lot of complicated facts here.

    7              And the outside date under 1112(b)(3) is 45 days for

    8   this kind of motion to be adjudicated.                   So and I know, again,

    9   it's very complicated, but there are issues that can be

   10   addressed, I think, in a very discreet fashion to get to a

   11   quick ruling here, Your Honor.             And given the issues that are

   12   real as to the preservation of value for the business that have

   13   been laid out in the papers and that Mr. Caponi has gone

   14   through, that is something that's going to be important to the

   15   secured creditors for there to be relief sooner rather than

   16   later.

   17              And we do think given what has been filed so far in

   18   the case, or lack thereof, as far as moving forward, in a way

   19   that these cases would actually be a legitimate bankruptcy

   20   purpose, really, this is just a rehash of litigation, in our

   21   view, and is already been set forth in Mr. Rajan's affidavit

   22   that they're just seeking essentially, to convert the debt,

   23   which they were essentially going to lose on in the 225 action

   24   fully and finally.     And only a minor issue was left to be

   25   decided on that, that this should not -- this should not


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    1   continue for much longer, given the real business exigencies

    2   here and what the bankruptcy code requires, as far as this sort

    3   of motion to be heard.

    4              But in the meantime, as it relates to the earlier

    5   motions that were before Your Honor, some maintenance of a

    6   status quo that does not allow for any situation where the

    7   assets do not get preserved, is of paramount importance, while

    8   the Court considers the issues are in front of it.                      So we'd

    9   also emphasize that as being something that needs to be done in

   10   order to protect creditors interests in this case.                      Thank you,

   11   Your Honor.

   12              THE COURT:    Okay.       Anybody else with respect to the

   13   motion -- in support of the motion to dismiss?                      Okay.

   14   Opposition to the motion to dismiss.

   15              MR. ALEXANDER:       Hi, Your Honor.                Vincent Alexander on

   16   behalf of the Debtor.      I'm not sure there is an order that

   17   you'd like me to address the issues raised, but in terms of it

   18   seems like the authority to file seems to be an issue that was

   19   prominently argued on the other side, and we believe that the

   20   case law supports that the Debtors did have the authority to

   21   file the bankruptcy when it was filed.

   22              And the case law addresses, you know, orders when

   23   receivers are acquainted in terms of, you know, from state

   24   courts, and whether or not an order that restricts the filing

   25   of a bankruptcy is enforceable.              We believe that the order that


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    1   was entered by the Chancery Court restricted the ability of

    2   anybody to file bankruptcy.          And therefore, that order is void

    3   with respect to its treatment, and how in terms of the

    4   authority to file and the authority to file bankruptcy is not

    5   vested in the receiver.       But there's nowhere in the order that

    6   says it is vested in the receiver.

    7              What the order did is it strips the Debtor Stream

    8   from its ability to file bankruptcy for Technovative, and

    9   that's an unenforceable order.             We believe the state lawyer is

   10   clear on that.    And we can certainly brief that issue for Your

   11   Honor since that is considered a legal issue.                  But we can

   12   provide all the factual support for that argument, in terms of

   13   legal support for that argument, in terms of whether or not the

   14   Delaware order was enforceable given its impact and its

   15   restriction on a fundamental right of a corporate entity, which

   16   is the ability to file bankruptcy.

   17              So we believe that that issue will be dispensed of,

   18   and in terms -- and will ultimately show that Stream had the

   19   authority to put Technovative into bankruptcy.                  And this is a

   20   lawful filing under the bankruptcy code and that the case

   21   should have and should proceed.

   22              In terms of the other arguments about funding at the

   23   lower levels, Stream was prepared to fund the lower levels.

   24   And in order to do that, that's one of the reasons why Mr.

   25   Rajan went over to the Netherlands was to again, assess the


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    1   situation and the operations in the Netherlands.               Because prior

    2   to the omnibus agreement and all the assets being transferred,

    3   over -- improperly transferred over to SeeCubic, the Debtors

    4   had no issues, you know, managing SeeCubic B.V.                What

    5   ultimately happened after they lost the management rights,

    6   which ultimately came back is SeeCubic multiplied the workforce

    7   over there, ran up the expenses, and that's not -- and that was

    8   for SeeCubic's benefit, right.

    9              So what the Debtor needs to do is reassess the

   10   situation over there.      It's prepared to fund whatever the

   11   expenses -- the necessary expenses are over there.               But when

   12   Mr. Rajan goes over there to look at the books and records and

   13   talks to people, and he's denied access to the information to

   14   which he's entitled, it's difficult to say you should be

   15   funding something, but then you're not getting the records from

   16   the entity in order to determine what the funding needs are,

   17   and that you're going to have control over the entities that

   18   you're funding.

   19              So the Debtor is prepared to do that, but it needs to

   20   know exactly what the needs are.              And it needs to stop being

   21   interfered with in terms of the management, so it can determine

   22   how much money it needs to put in to this bankruptcy case.                   And

   23   then appropriate motions will be filed with the Court.                  But at

   24   this point, we don't know what the numbers are.

   25              We've heard you know, what a number may be, but we


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    1   don't have the backup for that number.                   We don't know what all

    2   the people do that are there.            We don't know whether they're

    3   necessary to stay there in terms of the operations.                   And that's

    4   all the information that the Debtor needs in order to determine

    5   what the funding sources are in the Netherlands.                   But the

    6   Debtor is prepared to fund the Netherlands in terms of the

    7   operations.

    8              And it's also the Debtors understanding that we

    9   believe based on discussions with the receiver, that there was

   10   a delinquency in funding, possibly in excess of a million

   11   dollars by the secured creditors prior to -- and when I say the

   12   Hawk parties, you know, prior to the bankruptcy filing.                   So we

   13   don't believe under their --

   14              THE COURT:    What about -- wait a minute.                What did

   15   the receiver tell you when he set the funding?

   16              MR. ALEXANDER:       That they were -- that the Hawk

   17   parties were delinquent on their funding under a promissory

   18   note.

   19              THE COURT:    What promissory note?

   20              MR. ALEXANDER:       That they -- when they agreed to fund

   21   in the receivership to SeeCubic B.V., there was a promissory

   22   note.   That's what we talked about earlier, Your Honor, at the

   23   post-receivership funding that there was deficiencies in terms

   24   of the amounts that were supposed to be funded.

   25              THE COURT:    So there was a promissory note issued by


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    1   SeeCubic B.V. --

    2               MR. CAPONI:      Your Honor, I'd have to see.                  I think it

    3   was with the recent I have to check.

    4               MR. ALEXANDER:        That's what everybody was talking

    5   about earlier in terms of getting the actual documents.                           I

    6   don't know if --

    7               THE COURT:     Counsel, can you hold one second, please?

    8               MR. ALEXANDER:        Sure, Your Honor.

    9               THE COURT:     Counsel, can you hold one second, please?

   10               MR. ALEXANDER:        Yes, Your Honor.

   11               MR. CAPONI:      Yes, Your Honor.

   12               THE COURT:     I'm sorry, counsel.                   So hold on one

   13   second.     So page 20 of the motion to dismiss talks about the

   14   funding?     Counsel?

   15               MR. CAPONI:      Sorry, Your Honor.                  What was that

   16   question, Your Honor?        I didn't --

   17               THE COURT:      I think page 20 of your motion to dismiss

   18   talks about the funding.

   19               MR. CAPONI:      I'm turning there right now.                  Yes, Your

   20   Honor.     So just to briefly -- my client -- the promissory

   21   there was funding from SeeCubic Inc., to SeeCubic B.V. via the

   22   receiver.     The funding to cover payroll, and we covered every

   23   single payroll and covered all the taxes was, I think, a little

   24   over $3 million.        And so the notion that it was a line of

   25   credit, basically.


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    1              The receiver was able to draw down when needed and

    2   the receiver -- contrary to what was just represented, the

    3   receiver kept all the parties including Stream apprised of --

    4   there was a budget that was put together in connection with

    5   management of SeeCubic B.V.          The receiver did this with

    6   SeeCubic B.V.    It has nothing to do with SeeCubic, Inc. or Mr.

    7   Stastney or anything like that.              Everyone had that budget, and

    8   the receiver kept everybody updated.                  So Stream for many months

    9   prior to the bankruptcy was well aware of the burn rate at the

   10   B.V. level.

   11              And you know, I can understand wanting to have more

   12   information to know what your obligations are going to be going

   13   forward.   But when you take ownership of something like they

   14   have by filing this bankruptcy, you have an obligation to come

   15   up with the funding.     Stream has $3,000, allegedly in the bank

   16   account.   And the cash burn rate at SeeCubic B.V. is -- was

   17   750,000 pounds, a little over a million dollars a month.

   18              MR. ALEXANDER:       Your Honor, Vincent Alexander on

   19   behalf of the Debtor.      But that's the whole point is we should

   20   have control of it as the Debtors.                We should have access to

   21   all of that information as the Debtors of the control.                  And

   22   once we get that, we can determine what funding is appropriate

   23   and what needs are there.         So that's exactly what --

   24              THE COURT:    But counsel --

   25              MR. ALEXANDER:       -- the Debtor is trying to do.              We're


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    1   trying to get --

    2              THE COURT:    But in the meantime -- counsel, in the

    3   meantime, who's funding this?            You keep saying we need to get

    4   information.    We need to do this.             You have an idea of how much

    5   is this costing.     You think it's going to be less than a

    6   million dollars a month?

    7              MR. ALEXANDER:       Yes, Your Honor, we do.

    8              THE COURT:    What was it before?

    9              MR. ALEXANDER:       It needs to be litigated.

   10              THE COURT:    Well, how much do you think it was?

   11              MR. ALEXANDER:       Well, I can tell you --

   12              THE COURT:    Or how much do you think it's going to

   13   be?

   14              MR. ALEXANDER:       I can tell you, Your Honor, before

   15   the SeeCubic Inc. took over, once they took over, the cost

   16   tripled.

   17              THE COURT:    Okay.

   18              MR. ALEXANDER:       So when the Debtors were running it,

   19   the costs were significantly less in terms of operating               --

   20              THE COURT:    What's significant -- what is

   21   significantly less?

   22              MR. ALEXANDER:       I believe from a payroll and taxes

   23   standpoint, it was 150,000 to $200,000 a month.

   24              THE COURT:    And does the Debtor have that?

   25              MR. ALEXANDER:       The --


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    1              THE COURT:    I mean, even assuming --

    2              MR. ALEXANDER:       Yes.       The Debtor has the money to

    3   fund that.

    4              THE COURT:    Okay.       So --

    5              MR. MAZZA:    So with all due respect, Your Honor --

    6              THE COURT:    Counsel.          Counsel, you don't

    7   get -- didn't I say don't interrupt.                  You get to ask the

    8   question, but not now.

    9              MR. MAZZA:    Yes, sir.           Yes, ma'am.

   10              THE COURT:    That's not --

   11              MR. MAZZA:    I agree.          Sorry.

   12              THE COURT:    All right.           Okay.        So the Debtor believes

   13   that the Debtor can fund 150 and 250 a month.                    Okay.

   14              MR. ALEXANDER:       At least that, Your Honor.               That's

   15   what they were funding before.             But if they go in there and

   16   look, and it's the actual costs are higher, then we'll actually

   17   do that.     But they need to know what cost --

   18              THE COURT:    They need to know -- well, that's all

   19   fine and well.    But what happens if this play does get -- I

   20   mean, we're all -- you guys are all fighting in here.                     What

   21   happens if payroll is not met?             And when is payroll going to be

   22   due?

   23              MR. ALEXANDER:       I believe payroll is due the end of

   24   this month, and it's already covered some of this month.

   25              THE COURT:    And after that?


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    1               MR. ALEXANDER:       A payment needs to be made.                And if a

    2   payment is not made, then presumably some employees will not

    3   come to work.

    4               THE COURT:   So?       Do you expect they're going to work

    5   for free?    How many --

    6               MR. ALEXANDER:       Well, I mean, if they have an

    7   understanding --

    8               THE COURT:   -- or how often --

    9               MR. ALEXANDER:       If they understanding of how they're

   10   going to get paid, I believe --

   11               THE COURT:   Yes.        But they don't know -- you just

   12   said you don't know who you want to keep.                       You believe some

   13   people are unnecessary.        How do they know about -- why is my

   14   understanding I'm going to get paid if I might be the one of

   15   the ones you decide you don't need.                  So I don't know how that's

   16   going to work.    But how often --

   17               MR. ALEXANDER:       Well, they'll still get paid.               I

   18   mean, I believe that they will still need to get paid pursuant

   19   to the requirements of paying employees.

   20               THE COURT:   Well, where is Stream getting the money?

   21   You don't have any cash, and you don't -- and you're not

   22   selling.    Where's the cash coming from?

   23               MR. ALEXANDER:       The cash will come from VSI.                And

   24   we'll have a -- we should have a --

   25               THE COURT:   Who?


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    1              MR. ALEXANDER:       The entity called VSI.

    2              THE COURT:    B?     V or B?

    3              MR. ALEXANDER:       V as in Victor.

    4              THE COURT:    Um-hum.

    5              MR. ALEXANDER:       S as in Stream and I as in Igloo.

    6              THE COURT:    And is that the company that's owned by

    7   Mr. Rajan?

    8              MR. ALEXANDER:       That is a company that is

    9   predominantly owned -- that Mr. Rajan has an investment in as

   10   well.   But there are other owners of the entity.

   11              THE COURT:    And is this the same entity that has

   12   these contract with the Debtor and whoever else?

   13              MR. ALEXANDER:       It's a distributor.             It has a

   14   distributor agreement with end users.                  So they are an

   15   intermediary between the Debtor and end users of the product.

   16              THE COURT:    So they have a distribution agreement

   17   with the end users or with the Debtor?

   18              MR. ALEXANDER:       With the Debtor.

   19              THE COURT:    And when was that entered into?                   Hello?

   20              MR. ALEXANDER:       I don't -- hello.              I don't know

   21   the -- I'd have to check the date of that, Your Honor.

   22              THE COURT:    And why does the Debtor need

   23   distributors?    Why can't the Debtor just sell the --

   24              MR. ALEXANDER:       Well, the Debtor needs -- I believe

   25   the understanding of the relationship is that VSI provides


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    1   additional resources that the Debtor doesn't have in order

    2   to --

    3              THE COURT:    What additional resources?

    4              MR. ALEXANDER:       To facilitate with the end user.

    5              THE COURT:    And what are those?

    6              MR. ALEXANDER:       I believe some of it has to do with

    7   electronic capabilities in terms of what's needed.                     The chips

    8   that go into the products, they're semiconductor related issue

    9   as well.   And also VSI has relationships with certain customers

   10   that Stream did not have relationships with and then there's

   11   also relating to some expertise with lens films.                     There's

   12   hologram technology that VSI has as well.                      And so all of that

   13   is used in connection with the process.

   14              THE COURT:    How does that make them a distributor as

   15   opposed to just a simple supplier?                All right.

   16              MR. ALEXANDER:       You asked me --

   17              THE COURT:    And so -- um-hum.

   18              MR. ALEXANDER:       No, and you asked where the money

   19   would come from.     And that's where the money has come from.

   20   And it's available and we'll have the appropriate documentation

   21   on file when we know how much money we actually need to do it.

   22   But it looks like we might just have to put a dollar amount on

   23   in terms of what may be needed right now, as opposed to the

   24   full amount in terms to address the issues.

   25              THE COURT:    And so who's running SeeCubic B.V. right


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    1   now?

    2              MR. ALEXANDER:       When you say running, Your Honor, do

    3   you mean like on those grounds, like --

    4              THE COURT:    I mean, who's in charge of the day-to-day

    5   operations?

    6              MR. ALEXANDER:       Well, Mr. Rajan pursuant to the

    7   corporate records filed there, is the CEO.                     There is an

    8   individual and he's listed as the CEO in the corporate

    9   documents filed with the government.                  In terms of on the

   10   ground, like actually, in the office there, I believe an

   11   individual Patrick Thune, who we brought up earlier, has been

   12   instructing some employees.           But he has not been listening to

   13   Mr. Rajan, who is the CEO.

   14              THE COURT:    Okay.        Well, who was running this before

   15   bankruptcy?

   16              MR. ALEXANDER:       The receiver was giving the

   17   instructions.

   18              THE COURT:    To who?         I'm sure he wasn't down there

   19   doing it himself.

   20              MR. ALEXANDER:       No.      He was -- I believe he was

   21   coordinating with Mr. Thune.

   22              THE COURT:    With Mr. who?

   23              MR. ALEXANDER:       Mr. Thune.            Patrick Thune.

   24              THE COURT:    Okay.        So --

   25              MR. ALEXANDER:       And so our view is once the receiver


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    1   was displaced by the bankruptcy filing, aside from the fact

    2   that the Debtors didn't step back in and Mr. Rajan was the CEO

    3   of --

    4              THE COURT:    And who -- well, who was the CEO before

    5   the receiver was appointed?

    6              MR. ALEXANDER:       Mr. Rajan.

    7              MR. MAZZA:    Your Honor, we disagree with that.

    8   That's part of the dispute that we talked at length about

    9   earlier.

   10              UNIDENTIFIED SPEAKER:             Mister -- I won't interrupt,

   11   Your Honor.    I'll wait.

   12              MR. ALEXANDER:       So Mr. Rajan was the CEO prior to the

   13   receivership being appointed -- I'm sorry, the receiver being

   14   appointed, not the receivership.              The receiver being appointed.

   15   And so we attempted to then discuss and work on operating in

   16   the Netherlands, and that's when we were hit with the

   17   resistance in terms of Mr. Thune indicating that he was taking

   18   direction from Mr. Stastney, but the receiver --

   19              THE CLERK:    The Judge got cut off.                Sorry.

   20              MR. ALEXANDER:       Okay.        Yeah.       No problem.    Thank you

   21   for letting me know.

   22              THE CLERK:    So that was the last thing we heard, if

   23   you want to backtrack --

   24              UNIDENTIFIED SPEAKER:             Your bankruptcy for now.          But

   25   Matthew filed it when the receiver --


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    1              THE CLERK:    Someone is speaking with --

    2              THE COURT:    Counsel, I'm back.                    I guess I went for a

    3   record of three today.

    4              MR. ALEXANDER:       I --

    5              THE COURT:    And now, when I came back it said I had

    6   originally 35 participants, now I'm down to four.

    7              MR. ALEXANDER:       The lucky four.                 On a Friday

    8   afternoon.

    9              MR. CAPONI:     It's a Friday afternoon.

   10              MR. ALEXANDER:       Yep, there you go.

   11              THE COURT:    All right.           So let's try to get -- so my

   12   question to Mr. Alexander was, who was the CEO before the

   13   receiver was appointed?

   14              MR. ALEXANDER:       It's the Debtor's position based on

   15   corporate resolutions that Mr. Rajan --

   16              THE COURT:    Counsel.          Counsel.            I did not ask you

   17   what the Debtor -- at the time the receiver was appointed who

   18   was the CEO?

   19              MR. ALEXANDER:       Mathu Rajan.

   20              THE COURT:    -- at the time the -- Mr. Rajan --

   21              MR. ALEXANDER:       Mathu Rajan.

   22              THE COURT:    -- was the CEO?

   23              MR. ALEXANDER:       Mathu Rajan.

   24              THE COURT:    So that's a different -- is that somebody

   25   different than --


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    1              MR. ALEXANDER:       No.      Mr. -- I called him Mr. Rajan

    2   before, but his name is Mathu Rajan.

    3              THE COURT:    So at the time the receiver was

    4   appointed, Mr. Mathu Rajan was the CEO?

    5              MR. ALEXANDER:       That is correct.

    6              THE COURT:    Okay.       And he continued to be the CEO

    7   after the receiver was appointed?

    8              MR. ALEXANDER:       Well, no --

    9              THE COURT:    He was dismissed?

   10              MR. ALEXANDER:       Yes.       He continued to be because it

   11   was a status quo.     So the answer's yes.

   12              THE COURT:    Okay.

   13              MR. MAZZA:    Sorry to interrupt, Your Honor.             Mr.

   14   Mazza again.     That's part of the dispute in the Netherlands.

   15              THE COURT:    Okay.

   16              MR. ALEXANDER:       But as the upstream equity holder,

   17   Technovative gets to appoint all the downstream officers,

   18   directors.     So that's how it works when they get to appoint the

   19   downstream ones.

   20              MR. MAZZA:    Right, but you have to comply with such

   21   law in order to put people downstream --

   22              MR. ALEXANDER:       Understood.

   23              THE COURT:    Well, I don't -- listen.              I don't know

   24   what you have to do, because that may override anything.                   I

   25   don't know.     I don't know what the point -- because when you


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    1   sign an agreement that says we can do all of this, that may

    2   override anything else you do.             I don't know.        No clue.

    3               MR. CAPONI:    Your Honor.

    4               THE COURT:    Yes?

    5               MR. CAPONI:    Steve Caponi.              And I think, you know,

    6   given the hour and the day of the week to try to bring some

    7   closure.    I think what I heard debtors counsel agree that on

    8   the ultra vires filing issue, that's something Your Honor can

    9   address on the papers maybe with the parties filing some

   10   supplemental briefing on that.             And I think that is a clear

   11   path with a rare instance of agreement.

   12               On the balance of the motion and whether we have an

   13   evidentiary hearing or not, I think -- Your Honor, I think

   14   there's also agreement that there is tremendous uncertainty

   15   around whether there's going to be a funding of payroll, who

   16   would do it, and how they would do it.                   And even if debtor's

   17   counsel is correct, that, you know, the Debtor can get the

   18   money from VSI, you still then have a related party transaction

   19   within it -- with an insider with an entity controlled by Mr.

   20   Rajan.     That needs to get vetted and why --

   21               THE COURT:    Well --

   22               MR. CAPONI:    That hasn't been filed with the Court by

   23   now so the parties can kick the tires on it.                   I don't -- that's

   24   not -- my point, Your Honor, is that's not something you file

   25   the day before payroll's due.            Why is Mr. Rajan running


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    1   around --

    2               THE COURT:    Well, counsel --

    3               MR. CAPONI:    -- and not dealing with those important

    4   issues?     That needs to get addressed.

    5               THE COURT:    Well, it doesn't matter whether it's

    6   inside or outside or whoever, you can't get funding without

    7   filing an appropriate motion on the 354(b).                      I don't care who

    8   they're funding with.      And that's why I'm here.                  So I don't

    9   know how they plan on doing that.               And the funding is till the

   10   end of the month, so somebody needs to do something.

   11               I mean, at the end of the day, you know,

   12   360 -- 1112(b)(3) says I shall commence the hearing not later

   13   than 30 days after filing of the motion.                       I don't know this

   14   considered commencing the hearing and not later than 15 days

   15   after commencement of such hearing.

   16               I mean, I don't know how that's going to work,

   17   because you could have a hearing that started today, and it

   18   takes me three -- a month to finish the trial.                      So I don't

   19   know.     If the parties express any consent to the continuous for

   20   a specific period of time, or compelling circumstances prevent

   21   the Court from meeting the guidelines established via the

   22   paragraph.     I'm sure there are cases that state what compelling

   23   circumstances are.

   24               So the best I could do is say if everybody consents

   25   that we have a continued hearing to a specific time, that's


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    1   really going to tie my hands because I don't necessarily --

    2   that now means I have to put this issue of dismissal to the

    3   front of other things I'm working on to meet -- unless we do a

    4   specific date by which we would have a trial, and then that

    5   would give me X amount of time to rule on the legal issues.

    6   And if I -- yes?

    7              MR. CALLAHAN:      Your Honor, this is Kevin Callahan on

    8   behalf of the United States Trustee.                  I appreciate the time you

    9   offer for us today.     And I appreciate counsel presenting their

   10   respective positions.      The United States Trustee does not take

   11   a position at this time.        However, I'm a little familiar with

   12   the Court's procedures with respect to evidentiary hearings.                        I

   13   appreciate counsel's requests that this be heard promptly.                       And

   14   of course, I'm aware of the Court's busy calendar.

   15              Nevertheless, I don't think counsel may be aware of

   16   the Court's procedure on handling evidentiary hearings.                    And

   17   simply as a suggestion or an observation, it may be a good idea

   18   if the Court were to let parties aware of the evidentiary

   19   hearing protocol that the Court has instituted, if the hearing

   20   is going to be on Zoom.       That would allow --

   21              THE COURT:    Well, they put -- well, this one -- well,

   22   Mr. Callahan, this one will likely not be.                     This is one that I

   23   likely would come into the court for.

   24              MR. CALLAHAN:      Oh, that's fine.

   25              THE COURT:    This is too complicated to try to do this


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    1   over Zoom.

    2               MR. CALLAHAN:     Well, saying that, Your Honor, I

    3   really appreciate that.       And I think that might be the

    4   preference for most attorneys, probably most of the attorneys

    5   here.     But certainly the Court's website offers suggestions on

    6   how to present a briefing schedule.                 And also a scheduling

    7   order, which may give the parties here the opportunity to fully

    8   vet their positions.

    9               I noticed that there are many declarations and

   10   documents attached to the pleadings.                  As of right this moment,

   11   they're not in evidence.        And of course, if they were to

   12   be -- if counsel for both sides, were able to agree on perhaps

   13   the list of the exhibits that could be admitted without

   14   opposition, that would be a start.                And of course, those

   15   exhibits and testimony or other evidence that would be

   16   contested, at least to let all parties know what's going to be

   17   argued.     I also agree, Your Honor, that what -- I'm sorry, I'd

   18   also add that next week is another hearing on a motion for

   19   relief.     Possibly the Court might entertain --

   20               THE COURT:   Is --

   21               MR. CALLAHAN:     Possibly the Court may entertain

   22   consolidating the three issues that are before the Court

   23   presently into one consolidated hearing.                       I think that might be

   24   helpful not only to the Court, but to the parties to fully

   25   resolve these issues.


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    1               THE COURT:   Counsel, I have not even looked at my

    2   schedule for next week, because my courtroom deputy is on

    3   vacation.    She usually sends it to me on Friday.                     And maybe she

    4   did, and I just haven't seen it because it's Friday, and I

    5   haven't had a chance to look at my mail.                       And so let's see.

    6   Okay.   I don't see any -- nope.             I don't see anything yet.

    7               So thank you, Mr. Callahan, for pointing out that

    8   there's another hearing in this matter next week.                       But what I

    9   would like to do is, if we could pick -- everybody consents to

   10   a trial date, or the parties confer.                  And I don't mean in

   11   August, because that is not happening.                   I'm talking May

   12   sometime.    Because I don't want this case dragging out if it's

   13   something that is not properly before me.                       And so that needs to

   14   be done on an -- agree on an expedited basis.

   15               Because if this motion had been filed, it was filed

   16   last week, we would have had our first hearing sometime in

   17   maybe the end of the month, beginning of May, would have

   18   scheduled a hearing sometime in June.                  We a little bit above

   19   that.   So I want to try to get this done sometime in May.                         That

   20   will give me an opportunity to have the parties submit briefs.

   21   An opportunity for us to go over the legal issues.

   22               Because I don't think there's a dispute that they're

   23   basing -- they meaning the parties -- the moving parties in the

   24   motion to dismiss, are relying on the judge or the judge's

   25   decision in the chancery court, or a judge's order rather


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    1   appointing the receiver and what that means on the Delaware law

    2   -- staying that order no matter what it said is improper

    3   because it strips the Debtors of their authority to file

    4   bankruptcy.

    5               I've looked at the issue briefly, know what the cases

    6   say.    But I don't know, the -- I mean, I know what, you know,

    7   what does that explicitly do?            You have to explicitly say you

    8   have the sole authority to file.              Nobody else can file.   I

    9   don't know, you know, for cases that I have had some exclusive

   10   language.     I don't know.     I don't know what that means.          So and

   11   I don't think there's any dispute that this -- that the issue

   12   of the authority is relying on that order and the appointment

   13   of the receiver unless somebody is telling me different.

   14               So I don't think that anybody would argue that this

   15   is what I need to look at in deciding whether it was authorized

   16   or not.     And that whether the receiver has a way -- I don't

   17   know.     And whether or whether that order in of itself

   18   was -- I'm going to use the word void, because it didn't -- you

   19   couldn't take away the Debtor's rights to file.                I don't know.

   20   No clue.

   21               And so I would need a time frame to get the briefs

   22   and then schedule a trial, sometime thereafter -- two weeks

   23   thereafter gives me an opportunity to read the briefs and do

   24   some reading, do my own research, look at your cases, and

   25   hopefully be able to render a decision and say trial will


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    1   proceed or trial is canceled.            I don't know.

    2               So do the parties want to confer and try to set some

    3   deadline or that they would -- that would work for them?                     Or

    4   they want me to set some.         I think it would make sense for the

    5   parties to try to look at their schedules and come up with some

    6   dates.     And if you can't, I most certainly will.                Which one do

    7   you want to do?

    8               MR. CAPONI:    Your Honor, this is Steve Caponi again,

    9   for Hawk.     I think the -- so I appreciate the guidance you just

   10   gave.    And I'm confident the parties can work out a schedule,

   11   if we know what the end date is.              So if there was -- if there

   12   would be a way for Your Honor just to say, here's the date in

   13   May that we're going to have a hearing, I know I'm confident we

   14   can work backwards and get everything to you within two weeks

   15   prior to that.

   16               THE COURT:    Well, counsel, I don't -- my courtroom

   17   deputy is not in today.       And she is the keeper of the calendar.

   18   And I --

   19               MR. CAPONI:    Can you reach out on Monday?

   20               THE COURT:    Yes, reach out Monday to Ms. Godfrey and

   21   pull -- let me just look initially at my calendar, because as I

   22   said, I would prefer to have this in person.                   This is too

   23   complicated to do over Zoom.           Not complicated, but I think it's

   24   too many moving parts.      May.       That's Memorial Day.          We'd like

   25   to have it before Memorial Day.              Up to you guys.


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    1              MR. CAPONI:     Yes, Your Honor.

    2              THE COURT:    Not the Friday before Memorial Day.

    3   What's the Monday?      The Monday is the 22nd.                   I just have to

    4   figure out -- counsel, just give me a minute.                       I have a

    5   standing appointment -- doctor's appointment every other Monday

    6   for medication.     And I just have to figure out where I am in

    7   that schedule.

    8              Let's see.    I went on Monday.                 So I think the next

    9   one's the 24th.     Why doesn't it say 24th on here?                    Wait a

   10   minute.   Did I go on Monday?          No, because it's on Wednesday.

   11   Went on the 12th.     The next one should be the 26th.                    Yes.

   12   Okay, hold on.    Let me calculate from there.                     The 24th.     Okay,

   13   I'm good if we can do the 22nd of May, because that will give

   14   everybody enough time.      Or the next one would be the 20 -- no,

   15   that's Memorial Day.      It would have to be --

   16              MR. CAPONI:     How does the 22nd work, Your Honor?

   17              THE COURT:    Let me see the 22nd, if that's a -- I

   18   just my calculations.      The 22nd is fine.                   That should work,

   19   because I think I'm --

   20              MR. CAPONI:     Is this for the -- this would be the

   21   final trial date, Your Honor.            Is that what you --

   22              THE COURT:    That would be the final trial date

   23   on -- the problem as I see it is that we will be doing a

   24   consolidated trial evidentiary record on the motion for -- and

   25   that may take longer than a day.              Their motion for violation of


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    1   the stay, the motion to dismiss.               And I've heard Mr. Callahan

    2   say there's a motion for relief.               But that might be pushing it.

    3   You may just have to wait on that one.                    And because I may just

    4   have to wait on that.       I don't know whose motion it is.                   I

    5   think we may have to wait on that.                 So maybe we reserve the

    6   22nd the whole day.       What's on the 23rd?                   And maybe the half of

    7   the 23rd?     Hello?   Counsel?

    8               MR. CAPONI:     Yes, Your Honor.                That works for Hawk,

    9   Your Honor.

   10               MR. ALEXANDER:       I'm checking with my -- this is

   11   Vincent Alexander for the Debtors.                 I'm checking with my side

   12   regarding -- what was that date?

   13               MR. MAZZA:    It works for SeeCubic, Your Honor.                      Jim

   14   Mazza here.

   15               THE COURT:    Okay.       So that would be all day on the

   16   22nd.    And on the 23rd a half a day.                 I guess maybe we -- you

   17   think we should reserve 24th a half a day?                        Let's see what we

   18   got on the calendar.       Okay.      It's a pretrial conference.                  All

   19   right.

   20         (Court and Deputy confer)

   21               THE COURT:     So we start at 12:30 on the 23rd and

   22   12:30 on the 24th, to the extent we need it.                        So that means

   23   that I would have to have briefs two weeks before the 22nd,

   24   which would mean briefs would be due on the 8th.

   25               UNIDENTIFIED SPEAKER:             Okay.


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    1               THE COURT:   5 p.m. on the 8th, briefs.              Well, we

    2   cutting it close for me trying to get a response.                 that doesn't

    3   give me much time to try to get an answer in -- a decision, but

    4   I'm sure I'll start looking at it before that.                 Okay.    Now, so

    5   with respect to the motion for the stay, I want everything to

    6   just wait.

    7               I want the matters in the Netherlands, which is

    8   scheduled for next week to just hold on a minute, because I'm

    9   concerned that this is going to have some impact on what I'm

   10   doing.     It's going to have some impact on whether the Debtor

   11   believes to have their rights here in this Court, and it

   12   belongs to them here.      And I need to protect those rights with

   13   respect to their ability to control these things.

   14               I will be honest.        I ultimately will not decide that.

   15   I ultimately -- if that is an issue, I'm going to send you guys

   16   to the Netherlands to have them because they understand --

   17   unless I look at the original agreement and find that the

   18   original agreements with the parties where they say they have a

   19   underlying agreement where they can appoint it.                 And that that

   20   supersedes anything.     I could make that finding.              I don't know

   21   yet.     I don't know, because you're argument was it doesn't

   22   matter what they agree, they have to abide by the statute, the

   23   state or the country they're in.              I don't know whether I'll

   24   find that.

   25               I could say well, that's superseded in this


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    1   agreement, gave them the authority notwithstanding anything.                         I

    2   don't know.    Because I don't know what it said.                    So I don't

    3   want -- I want everything to just stay until we can get some

    4   feel for where we are on this thing.                  Mr. -- nobody's turning

    5   over anything.     Because I'm not quite sure how, with respect

    6   to -- I'm only hearing the parties saying that they can work

    7   this out with respect to turning over the bonding equipment

    8   that -- you know, you got to have insurance.                      And I mean,

    9   that's a requirement.

   10              And so I don't know, you know, if I can facilitate

   11   some sort of settlement and discussion on that, purely, or if

   12   you want me to refer you to one of my colleagues to try to come

   13   up with a settlement with respect to that bonding equipment.

   14   That's fine.     Because I think one of the big issues I can see

   15   in this is in the Netherlands, was that there was some concern

   16   that Mr. Rajan was having the company turn over this bonding

   17   equipment, and he believed he was taking away their assets.

   18              Well, I'm going to decide that.                     So I don't know what

   19   to tell them, except they need to hold on.                      Mr. Rajan, I don't

   20   want you doing anything.        Nobody's to do anything, except

   21   somebody's got to figure out how to pay these people or you're

   22   not going to -- you're going to be fighting over nothing.

   23   Nobody is to transfer assets, nobody's to take technology.

   24   Nobody could take trade.        Nothing.          Everything stands still.

   25              And if somebody believes that somebody is moving


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    1   something, file something.          Because no.            You can't come to

    2   bankruptcy and say I'm going to -- anybody.                    Even the people

    3   in -- you know, I don't know.            I don't know if I have

    4   jurisdiction over people over whatever assets are over there.

    5   That asset we're talking about right now is in China.                      So I'm

    6   not uncomfortable, I don't feel -- I'm comfortable saying just

    7   everybody stop.    Don't do anything until we can get at least to

    8   find out, one, is this a legitimate filing.                    Legitimate meaning

    9   authorized.    I don't mean -- and also, who has what.                    What

   10   assets that -- you know, if the Debtor believes that they have

   11   the exclusive right to appoint somebody, and that's the asset

   12   that belongs to the estate, I don't want anybody saying

   13   anything about it.      I get to say something first.                So

   14   everything is stayed.      Nobody is to touch anything.                And you

   15   guys try to work on the issue with respect to the bonding

   16   equipment.

   17              UNIDENTIFIED SPEAKER:             Understood, Your Honor.

   18              THE COURT:    Okay.

   19              MR. ALEXANDER:       Your Honor, understood.              Your Honor,

   20   one question.

   21              THE COURT:    Wait a minute.               Somebody has a question.

   22   Hold on.

   23              MR. ALEXANDER:       To the extent -- this is Vincent

   24   Alexander, Your Honor.      To the extent the parties can't come to

   25   an agreement on the bonding equipment, which I'm hopeful we


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    1   can, did you say that one of -- either you or you can refer

    2   that quickly to one of your colleagues to help facilitate that?

    3               THE COURT:     I'm volunteering them.

    4               MR. ALEXANDER:        Well, I hope we can come to a

    5   resolution quickly on that issue.

    6               THE COURT:     Right.       I would encourage you to do so

    7   because I think that's the gist of all of the big problems in

    8   the Netherlands and problems here.                 You know, maybe you guys

    9   agree that, you know, that it gets put somewhere and everybody

   10   gets to use it.     I don't know.           I don't know what to tell you.

   11   But I get the issue.       Okay.

   12               MR. DEMARCO:     If I may, this is Andrew DeMarco with

   13   Rembrandt.

   14               THE COURT:     Yes.      I'm sorry.           You didn't get to say

   15   anything.     I'm sorry.    Go ahead.

   16               MR. DEMARCO:     I appreciate that, Your Honor.               Well, I

   17   won't keep everyone here much longer.                   We've covered a great

   18   deal of ground.     But there were two things I simply wanted to

   19   address.     In the upcoming hearing regarding the motion to

   20   dismiss, I just wanted to request that Rembrandt may have some

   21   time to present, you know, its arguments against that issue.

   22   And I just want to raise that.

   23               I also just wanted to note to Your Honor's question

   24   you've been asked earlier about who owns the intellectual

   25   property, and I just wanted to raise for the Court and make


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    1   sure it was on the record.           That's actually a matter of dispute

    2   there is an ongoing lawsuit in the district of Delaware on that

    3   matter.

    4               It is Rembrandt's contention that Rembrandt owns the

    5   intellectual property that is at issue in the suit.                        So

    6   particularly the trade secrets, that are at issue in that case.

    7   So I just want to make sure that Your Honor was aware of that.

    8   In fact --

    9               THE COURT:     The --

   10               MR. DEMARCO:     I apologize, Your Honor.                   You had a

   11   question?

   12               THE COURT:     Who -- you said there was ongoing

   13   litigation.     Between who and who?

   14               MR. DEMARCO:     Yes, Your Honor.                   That would be a

   15   Stream and Hawk.     Stream, Hawk, and Technovative.                     However,

   16   with the automatic stay, that has been the stay.

   17               THE COURT:     Okay.      So Stream, Technovative, and Hawk

   18   are the plaintiffs, defendants?               What are they?

   19               MR. DEMARCO:     They are the defendants.                   Rembrandt is

   20   the plaintiff.

   21               THE COURT:     Okay.      So Rembrandt is suing these

   22   parties saying that it owns the intellectual property and is

   23   suing Stream.     I'm not sure how Hawk fits in there, but

   24   technically, which is the Debtors, right?                        The two debtors.

   25               MR. DEMARCO:     Sure.        We can get into the full details


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    1   probably during that motion to dismiss, but it is in our -- in

    2   the objection documents that we provided.                      So we can provide

    3   the further detail there.         But the short version, Your Honor,

    4   is Rembrandt provided a license to Stream for the underlying

    5   technology.    And now, it is our understanding based on public

    6   statements that have been put forth by Stream and by Hawk, that

    7   they are seeking to take some of that technology claiming

    8   ownership of that technology that is rightfully Rembrandt.

    9   So --

   10              THE COURT:     Okay.      So --

   11              MR. DEMARCO:     -- to Stream.

   12              MR. ZAHRALDDIN:        Your Honor, Raphael's arguing from

   13   the Debtor, excuse me for one second.                  Let me just give some

   14   clarity.   I believe that when Technovative was sued by

   15   Rembrandt, the receiver was in charge of that.                      There is no and

   16   there never has been any indication that we are not going to

   17   follow through on our license or our license, or respect our

   18   license with Philips.      So I just want to make sure that Your

   19   Honor understands that issue.            And we haven't been able to

   20   discuss because that action has been stayed with the

   21   bankruptcy.    We haven't been able to discuss anything with

   22   Rembrandt as to what's happening after the bankruptcy because

   23   we've been preoccupied with these matters.                      So I just wanted to

   24   put that

   25              THE COURT:     Okay.      Well -- okay.              Well, right.    It's


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    1   property of the estate and who owns it.                    I get that.     Mister --

    2   I'm sorry, counsel.     I didn't write your name.                    You started and

    3   I started writing it down and I didn't later.                       What's your name

    4   again?

    5              MR. DEMARCO:     No worries, Your Honor.                   My name is

    6   Andrew DeMarco.    It's D-E-M-A-R-C-O.

    7              THE COURT:     Okay.      So Mr. DeMarco, are you in favor

    8   of dismissal or against dismissal?

    9              MR. DEMARCO:     We are against dismissal here, Your

   10   Honor.

   11              THE COURT:     All right.          So then you need to

   12   file -- you can file something too if you want.                       You don't have

   13   to.   If you want to say you're in favor and you believe it's

   14   valid, you're free to file and present your arguments in

   15   support.   You don't have to, but if you do, it's due by May 8th

   16   at 5 p.m., and if we have a trial you are definitely -- because

   17   you have filed something in opposition, you definitely can

   18   present whatever evidence.          You can question.               You can argue

   19   whatever you want, to the extent we have a hearing because I

   20   don't know yet, on the 22nd, 23rd, and 24th.                       Okay?

   21              MR. DEMARCO:     Yes, Your Honor.                   I appreciate that

   22   greatly.

   23         (Proceedings adjourned)

   24

   25


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                                 C E R T I F I C A T E



                     I hereby certify that the foregoing is a true and

        correct transcript from the electronic sound recording of the

        proceedings in the above-entitled matter.




               /s/
              _________________________
              John Buckley, CET-623
              Digital Court Proofreader




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